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  23-0905-cv
      United States Court of Appeals
                                     for the

                     Second Circuit
                STRUCTURED ASSET SALES, LLC,
                                                                Plaintiff-Appellant,
                                      – v. –
 EDWARD CHRISTOPHER SHEERAN, personally known as Ed Sheeran,
  SONY/ATV MUSIC PUBLISHING, LLC, ATLANTIC RECORDING
CORPORATION, DBA Atlantic Records, BDI MUSIC LTD., BUCKS MUSIC
GROUP LTD., THE ROYALTY NETWORK, INC., DAVID PLATZ MUSIC
           (USA) INC., AMY WADGE, JAKE GOSLING,
                                               Defendants-Appellees,
ED SHEERAN LIMITED, GINGERBREAD MAN RECORDS, AMY WADGE
 RECORDS, STICKY STUDIOS, SONY/ATV MUSIC PUBLISHING, LTD.
  UK, ATLANTIC RECORDS UK, BDI MUSIC, BUCKS MUSIC GROUP,
    WARNER MUSIC GROUP CORPORATION, DBA Asylum Records,
          WARNER MUSIC GROUP, LTD UK, DOES 1-10,
                                                  Defendants.
                ––––––––––––––––––––––––––––––
       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK

 DEFENDANTS-APPELLEES’ OPPOSITION TO MOTION
       FOR LEAVE TO FILE AMICUS BRIEF

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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure:

      1.     Defendant-Appellee Sony/ATV Music Publishing LLC n/k/a Sony

Music Publishing (US) LLC (“SATV”) identifies its parent corporation(s) and any

publicly held company that owns 10% or more of its stock as follows: SATV is a

wholly-owned, indirect subsidiary of Sony Group Corporation, a publicly traded

company organized under the laws of Japan.

      2.     Defendant-Appellee Atlantic Recording Corporation d/b/a Atlantic

Records (“Atlantic”) identifies its parent corporation(s) and any publicly held

company that owns 10% or more of its stock as follows: Atlantic is a wholly-owned,

indirect subsidiary of Warner Music Group Corp. (“WMG”), a Delaware corporation;

WMG is a publicly traded company with more than 10% of its stock owned by AI

Entertainment Holdings LLC and certain affiliates, which are not publicly traded

companies.

      3.     Defendant-Appellee Bucks Music Group Ltd. (“Bucks”) identifies its

parent corporation(s) and any publicly held company that owns 10% or more of its

stock as follows: a private individual owns 100% of the stock of Bucks; no public

company owns any portion of Bucks.

      4.     Defendant-Appellee BDi Music Ltd. (“BDi”) identifies its parent

corporation(s) and any publicly held company that owns 10% or more of its stock as
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follows:      Bucks and a private individual (distinct from the one alluded to in

paragraph 3 above) each own more than 10% of the stock of BDi; a private individual

owns 100% of the stock of Bucks; no public company owns any portion of BDi or

Bucks.

         5.    Defendant-Appellee David Platz Music (USA) Inc. (“DPMI”)

identifies its parent corporation(s) and any publicly held company that owns 10% or

more of its stock as follows: Bucks owns 100% of the stock of DPMI; a private

individual owns 100% of the stock of Bucks; no public company owns any portion

of DPMI or Bucks.

         6.    Defendant-Appellee The Royalty Network, Inc. states that it has no

parent corporation and that no publicly held corporation owns 10% or more of its

stock.
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      Defendants-Appellees Edward Christopher Sheeran, Sony/ATV Music

Publishing LLC (n/k/a Sony Music Publishing (US) LLC), Atlantic Recording

Corporation, BDi Music Ltd., Bucks Music Group Ltd., The Royalty Network, Inc.,

David Platz Music (USA) Inc., Amy Wadge and Jake Gosling (collectively,

“Appellees”) respectfully oppose the motion of Randy Craig Wolfe Trust (the

“Trust”) and Sound And Color, LLC (“S&C,” together with the Trust, the

“Movants”) for leave to file an amicus curiae brief (the “Motion”).

I.    THE MOTION SHOULD BE DENIED BECAUSE
      THE PROPOSED AMICUS BRIEF IS NOT DESIRABLE

      Appellees are mindful that leave to file an amicus brief is commonly permitted.

Here, however, the Movants are ill-suited to submit an amicus brief and cannot

satisfy the requirement of demonstrating, among other things, “the reason why an

amicus brief is desirable.” FRAP 29(a)(3)(B).

      First, as discussed more fully below, the Trust already has had more than a

full and fair opportunity to have its arguments heard. Represented by the same

counsel that filed the Motion, the Trust advanced these very same arguments to the

Ninth Circuit in Michael Skidmore, As Trustee For The Randy Craig Wolfe Trust v.

Led Zeppelin, et al., No. 16-56057 (9th Cir.). (See Exhibit 1 to the Declaration of

Donald S. Zakarin dated October 16, 2023 (“Zakarin Decl.”) at 20, 30-36; id. at

Exhibit 2 at 13, 16, 17-18). The Trust then sought certiorari, which the United States

Supreme Court rejected, and the Supreme Court denied the Trust’s subsequent
                                          1
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petition for rehearing. See 141 S. Ct. 453 (2020);141 S. Ct. 946 (2020).1

          Movants are seeking the status of amici in order to present an objectively false

argument to this Court, one that has been fully aired and rejected, which confirms

that the proposed amicus brief is not “desirable.”

          In an attempt to establish desirability, Movants contend their “amicus brief is

desirable because it explains the history of copyright law and the 1909 Act, as well

as history of the 1976 Act … .” (Motion at 4). Yet, just as the Trust misrepresented

the law to the Ninth Circuit and the Supreme Court, so too does it misrepresent the

law here in its Motion and proposed amicus brief.

          Specifically, Movants falsely contend that “[t]he common law protected

works from the moment they were created as they were created,” and that “authors

could then federally register the works meaning that the works received additional

federal protections under the 1909 Act.” (Motion at 2; emphasis added). 2 The

defendants in Skidmore and the United States Department of Justice, on behalf of

the Copyright Office, as amicus curiae, submitted briefs conclusively refuting the

Trust’s invented claims regarding common law copyright. (See Skidmore Appellate




1
 Plaintiff-Appellant Structured Asset Sales, LLC (“SAS”) also had a full opportunity to air its
equally unfounded “deposit copy” arguments in that case, as it filed amicus briefs with both the
Ninth Circuit and Supreme Court. (See Zakarin Decl. ¶ 6).
2
    SAS offers this same falsehood in its opening brief. (SAS Br. at 15 n.6).
                                                  2
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ECF 29 at 41, Appellate ECF 155 at 14-16 and Appellate ECF 129 at 17-18).3

       Consistent with the position of the Copyright Office, the plain text of the 1909

Act and the Compendium of U.S. Copyright Office Practices, the Ninth Circuit, en

banc, held that “to claim copyright in a musical work under the 1909 Act, the work

had to be reduced to sheet music or other manuscript form.” Michael Skidmore, As

Trustee For The Randy Craig Wolfe Trust v. Led Zeppelin, 952 F.3d 1051, 1062 (9th

Cir. 2020) (quoting 1 M. Nimmer & D. Nimmer, Nimmer on Copyright § 2.05[A]

(2017)). The Court of Appeals ruled that “under the 1909 Act … the [ ] deposit copy”

– corresponding to a visibly perceptible writing, i.e., sheet music – “circumscribes

the scope of the copyright.” Id. at 1063-64; see also Parker v. Hinton, No. 22-5348,

2023 WL 370910, at *4 (6th Cir. Jan. 24, 2023) (endorsing Skidmore’s ruling

regarding scope of copyright under 1909 Act) (unpublished).

       To be clear, the Trust’s assertion that the 1909 Act provided “additional

protections to common law copyrights once they were published or federally

registered” (Proposed Brief at 8), is flatly false. It has long been well-settled that

upon securing copyright under the 1909 Act, any preexisting common law rights

were extinguished. See Roy Export Co. Estab. of Vaduz v. Columbia Broad. Sys.,

672 F.2d 1095, 1101 (2d Cir. 1982) (assessing work copyrighted under 1909 Act



3
  To avoid inundating the Court with paper, Appellees have not filed copies of these Briefs, but
they can provide them upon request of the Court.
                                               3
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and explaining that “State law protection begins with a work’s creation and

continues until the work is ‘published,’ at which point state protection is lost”)

(emphasis added); Shoptalk, Ltd. v. Concorde-New Horizons Corp., 168 F.3d 586,

590 (2d Cir. 1999) (“the securing of a statutory copyright [under the 1909 Act],

either by general publication with a proper notice or by registration of the work,

ended the common-law protection”) (2d Cir. 1999) (citations omitted; emphasis

added); Societe Civile Succession Guino v. Renoir, 549 F.3d 1182, 1185-86 (9th Cir.

2008) (“When a work was published [under the 1909 Act], it lost common law

protection”) (citation omitted; emphasis added); La Cienega Music Co. v. ZZ Top,

53 F.3d 950, 952 (9th Cir. 1995) (explaining that, under the 1909 Act, a copyright

owner could “obtain federal protection for the published work” – not some

amorphous common law copyright that could exist entirely in the mind of the author)

(citing Roy Export Co., 672 F.2d at 1101; emphasis added).4

       Moreover, the Constitutional requirement that a work be in “writing” (restated

in Section 4 of the 1909 Act, 17 U.S.C. § 4 (1947)) and the fixation requirement set

forth in Section 102(a) of the 1976 Act are not “applicable to common law copyright.”




4
  The 1976 Copyright Act codified this established law in Section 301, which, as of January 1,
1978, provided for preemption of all state laws providing legal or equitable rights equivalent to
the rights provided under the Copyright Act. See 17 U.S.C. § 301 (1976).
                                               4
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Nimmer § 2.02[B][1].5 For example, under California law, common law copyright

protection extends to bare ideas, “not fixed in any tangible medium of expression.”

See Cal. Civ. Code § 980 (emphasis added). Thus, to accept the argument that

securing federal copyright merely continued preexisting common law protections

would impermissibly allow for federal protection to extend to works that have not

been “fixed” in a tangible medium in contravention of the 1976 Act (17 U.S.C. §

102(a)) and to works that have never been reduced to writing in contravention of the

intellectual property clause of the Constitution (U.S. Const. art. I, § 8) and Section 4

of the 1909 Act. 17 U.S.C. § 4 (1947).6

       Further reinforcing the speciousness of Movants’ assertion is the fact that

“most” “States [did] not” even “grant copyright protection,” and “a copyright

granted by a particular State has effect only within its boundaries.” Goldstein v.




5
  In addition to various textual amendments, the section numbers to the 1909 Act, as originally
enacted, changed, often by one section number after its 1947 codification (e.g., Section 9 became
Section 10). Unless otherwise noted, all references to the 1909 Act correspond to the codified and
amended version in effect in 1973 when the proprietors of the copyrighted work at issue first
published written sheet music of the work and deposited “complete copies” of that sheet music
with the Copyright Office. The dates in parentheses that follow each statute section of the 1909
Act correspond to the date of the most recent amendment to such section prior to 1973. A copy of
the 1909 Act, as amended and revised through January 1, 1973, is included in the Addendum to
this Opposition and also available at: https://www.copyright.gov/history/1909act-1973.pdf.
6
  To avoid doubt, the meaning of “writings” is broader under the Constitution than it was under
the 1909 Act. See Goldstein v. California, 412 U.S. 546, 567-68 (1973). Until amendments passed
in 1971, the meaning of “writings” under the 1909 Act did not embrace sound recordings, piano
rolls or other phonorecords. Id.

                                                5
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California, 412 U.S. 546, 558 (1973).7

         Even prior to the 1909 Act, the Supreme Court recognized, “it is perfectly

well settled that the protection given to copyrights in this country is wholly statutory.”

White-Smith Music Publ’g Co. v. Apollo Co., 209 U.S. 1, 15 (1908) (citations

omitted); accord Wheaton v. Peters, 33 U.S. 591, 663-64 (1834) (“This right [in

copyright] … does not exist at common law – it originated, if at all, under the acts

of congress”); The House Report on the Copyright Act of 1909, 60th Congress, 2d

Session, Report No. 2222 (February 1909) (“The enactment of copyright legislation

by Congress under the terms of the Constitution is not based upon any natural right

that the author has in his writings, for the Supreme Court has held that such rights as

he has are purely statutory rights … .”).8

         In enacting the federal copyright laws, “Congress did not sanction an existing

right but created a new one.” Fox Film Corp. v. Doyal, 286 U.S. 123, 127 (1932)

(emphasis added); accord Caliga v. Inter Ocean Newspaper Co., 215 U.S. 182, 188



7
  Section 2 of the 1909 Act (17 U.S.C. § 2 (1947)), which Movants misleadingly paraphrase
(Proposed Brief at 14 n.4), merely clarifies that the 1909 Act did not “annul” rights already existing
at common law. As this Court has recognized, Section 2 of the 1909 Act did not address common
law copyrights at all (but only “the right of the author or proprietor of an unpublished work, at
common law or in equity”), and “the 1909 Act itself appeared clearly to use the term ‘copyright’
only when it was referring to the statutory copyright.” Shoptalk, 168 F.3d at 591; accord Batjac
Prods. Inc. v. GoodTimes Home Video Corp., 160 F.3d 1223, 1235-36 (9th Cir. 1998) (finding
author’s act of publication without required notices resulted in forfeiture of copyright under 1909
Act, and that Section 2 of the 1909 Act does not act “as a talisman to protect common law
copyrights in this situation”).
8
    A copy of the 1909 House Report is available at: https://tinyurl.com/4ped2a6w.
                                                  6
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(1909) (“The [copyright] statute created a new property right … This statutory right

is obtained in a certain way and by the performance of certain acts which the statute

points out. That is, the author, having complied with the statute, and given up his

common-law right of exclusive duplication prior to general publication, obtained by

the method pointed out in the statute an exclusive right to multiply copies and

publish the same for the term of years named in the statute”) (citing Wheaton, 33

U.S. at 663-64; emphasis added).

      In accordance with Section 10 of the 1909 Act, SAS’s predecessor-in-interest

“secure[d]” – and thus created – “copyright” for the musical composition at issue by

“publication thereof with the notice of copyright required by this title” (17 U.S.C. §

10 (1947)), which notice was required to “be applied, in the case of … a musical

work either upon its title page or the first page of music.” 17 U.S.C. § 20 (1971).

Under Section 13 of the 1909 Act, proprietors of musical compositions then were

required to register the work and deposit with the Copyright Office “two complete

copies” of the “best edition” of the sheet music then published. 17 U.S.C. § 13

(1956).

      As this Court has recognized, “the ‘copyright’ that [Sections 10 and 13]

referred to as being ‘secured’ by publication could not refer to the common law right,”

and it would be “nonsensical[]” to conclude otherwise. Shoptalk, 168 F.3d at 592

(emphasis added).


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       Prior to the effective date of the 1976 Copyright Act (January 1, 1978), the

only way an author of a musical composition could “publish” the work with notice

was through sheet music or in another written, printed format. The distribution of

phonorecords did not publish the underlying musical composition: “[t]he

distribution before January 1, 1978, of a phonorecord shall not for any purpose

constitute a publication of any musical work, dramatic work, or literary work

embodied therein.” 17 U.S.C. § 303(b) (1997);9 see also Rosette v. Rainbo Record

Mfg. Corp., 546 F.2d 461, 463 (2d Cir. 1976).

       In this case, the owners of the musical composition Let’s Get It On – which,

at the time, included one of the authors, Ed Townsend (or his publishing company)

– published copies of written sheet music with the required copyright notice on the

“first page of music,” registered the copyright and, in accordance with Section 13 of

the 1909 Act, deposited with the Copyright Office “two complete copies of the best

edition thereof then published.” 17 U.S.C. § 13 (1956) (emphasis added). That

published sheet music – the deposit copy – is the copyrighted work.




9
  The 1976 Act excludes “phonorecords” from the definition of “copies” and defines
“phonorecords” to mean “material objects in which sounds, other than those accompanying a
motion picture or other audiovisual work, are fixed by any method now known or later developed,
and from which the sounds can be perceived, reproduced, or otherwise communicated, either
directly or with the aid of a machine or device.” 17 U.S.C. § 101 (1976).
                                              8
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          Seeking the status of amici in order to present an objectively false argument

to this Court confirms that the proposed amicus brief is not “desirable.” The Motion

should be denied because the central thesis of the brief is based on an argument that

one of these Movants already fully aired before both the Ninth Circuit and the

Supreme Court, and that argument, based on a false premise, has been soundly and

correctly rejected.10

                                         CONCLUSION

          For the foregoing reasons, Appellees respectfully submit that the Motion

should be denied.

Dated:           New York, New York
                 October 13, 2023
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                                                      Attorneys for Defendants-Appellees


10
     Movants’ collateral arguments are equally baseless.
                                                  9
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing memorandum of law complies with FRAP

27 and Local Rule 27, because it contains 1,733 words. In preparing this certification,

I have relied on the word processing software used to prepare this document.


                                              /s/ Donald S. Zakarin
                                              Donald S. Zakarin




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           ADDENDUM
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                 Copyright Law
                OF THE UNITED STATES
                      OF AMERICA
                    United States Code
                   Title 17- Copyrights
                              (Revised to January 1,1973)
Chap.                                                                                             Sec.
1. Registration of copyrights ------------------ - - - - - - - - - - -
                                                              ,-                                    1
2. Infringement p r o c e e d i n g s - - - - - - - - - - - - - - - - - - - - - - - - - - - - -   101
3. Copyright OfBce- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           201

              Chapter 1-Registration                          .of Copyrights
8 1. Exclusive rights as-to copyrighted works.
( 2. Rlghts of author or proprietor of unpubltshed work.
(a. Protection of component parts of work copyrighted; composite w o r b or
        periodicals.
8 4. All writings of author included.
8 6. Classification of works for re-glstration.
8 6. Registration of prints and labels.
(7. Capprlght on compllatlons of works in public domain or of copyrighted
        works ;subsisting copyrights not affected.
8 8. Copyright not to subsist in works in public domain, or published prior to
      July 1, 1909, and not already copyrlghted, or Government publications;
        publlcation by Government of copyrighted material.
( 9. Authors or proprietors, entitled ; aliens.
g 10. Pwblication of work with notice.
8 11. Registration of claim and issuance of certificate.
g12. Works not reproduced for sale.
( 13. Deposit of copies after publication; action or proceeding for infringe
       ment.
8 14. Same ; failure to deposit ; demand ;penalty.
8 15. Same; postmaster's receipt; transmlesion by mall without cost.
$16. Mechanical work to be done In United S t a h .
g 17. AdSdavit t o accompany copies.
8 18. Making false aflidavit.
8 19. Notice ;form.
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     8 20. Same; place of application of; one notice in each ~olumeor number of
            newBpaper or periodical.
    8 21. Same ; effect of accidental omhion from copy or eopiea
    8 22. Ad interim protection of book or periodical published abroad.
    $ 23. Same ; extension to N1 tern.
    $24. Duration ; renewal and externion.
    Q 25. Renewal of copyrights registered in Patent OfEce under repealed law.
    (i 28. Terms defined
    (i 27. Copyright distinct from property in object copyrighted; effect of mile of
              object, and of assignment of copyright.
    (1 28. Assignments and bequests
    g 29. Same; executed in foreign country ; acknowledgment and certificate.
     t 30. Same ; record.
    (i 31. Same ;certificate of record.
    (i 32. Same ;use of name of assignee in notice.

        g 1. E x c ~ u s mRI~HTSAS TO GPPRIGHTED     Woma-Any person en-
     titled thereto, upon complying with the provisions of this title, shall
     have the exclusive right :
        (a) To print, reprint, publish, copy, and vend the copyrighted work ;
        (b) To translat. the copyrighted work into other languages or
     dialects, or make any other version thereof, if it be a literary work; to
     dramatize it if it be a nondramatic work; to convert it into a novel or
     other nondramatic work if it be a drama; to amnge or adapt it if it be
     a musical work; to complete, execute, and finish it if it be a model or
     design for a work of art;
         (c) To deliver, authorize the delivery of, read, or present the copy-
     righted work in public for profit if it be a lecture, sermon, a d d m or
     similar production, or other nondramatic literary work; to make or
     procure the making of any transcriptioi~or record thereof by or from
     which, in whole or in part, it may in any manner or by any method be
     exhibited, delivered, presented, produced, or reproduced ; and to play
     or perform it in public for profit, and to exhibit, represent, produce, or
     reproduce it in any manner or by any method whatsoever. The dam-
     ages for the infringement by broadcast of any work referred to in this
     subsection shall not exceed the sum of $100 where the infringing
     broadcaster shows that he was not aware that he was infringing and
     that such infringement could not have been reasonably foreseen; and
         (d) To perform or represent the copyrighted work publicly if it be
     a drama or, if it be a dramatic n-ork and not reproduced in copies for
     sale, to vend any manuscript or any record whatsoever thereof; to
     make or to procure the making of any transcription or record thereof
     by or from which, in whole or in part, it may in any manner or by any
     method be exhibited, performed, represented, produced, or reproduced ;
     and to exhibit, perform, represent, prodnce, or reproduce it in any
     manner or by any method whatsoever ;and
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                        TITLE 17-THE   UNITED STATES CODE                    3
       (e) To perform the copyrighted work publicly for profit if it be a
    musical composition; and for the purpose of public performance for
    profit, and for the purposes set forth in subsection (a) h e m f , to make
    any arrangement or setting of it or of the melody of it in any system of
    notation or any form of record in which the thought of an author may
    be recorded and from which it may be read or reproduced : Pmvided,
    That the provisions of this title, so far as they secure copyright wn-
    trolling the parts of instruments serving t o reproduce mechanically
    the musical work, shall include only compositions published and copy-
    righted after July 1,1909, and shall not include the works of a foreign
    author or composer ullless the foreign state or nation of which such
    author or composer is a citizen or subject grants, either by tzeaty, con-
    vention, agreement, or law, to citizens of the United States similar
    rights. And as a condition of extending the copyright control to such
    mechanical reproductions, that whenever the owner of a musical copy-
    right has used or permitted or knowingly acquiesced in the use of the
    copyrighted work upon the parts of instruments serving to reproduce
    mechanically the musical work, any other person may make similar
    use of the copyrighted work upon the payment to the copyright pro-
    prietor of a royalty of 2 cents on each such part manufactured, to be
    paid by the manufacturer thereof; and the copyright proprietor may
    require, and if so the manufacturer shall furnish, a report under oath
    on the 20th day of each month on the number of parts of instruments
    manufactured during the previous month serving to reproduce me-
    chanically said musical work, and royalties shall be due on the parts
    manufactured during any month upon the 20th of the next succeeding
    month. The payment of the royalty provided for by this section shall
    free the articles or devices for which such royalty has been paid from
    further contribution to the copyright except in case of public per-
    formance for profit. I t shall be the duty of the copyright owner, if he
    uses the musical composition himself for the manufacture of parts of
                                                                                  '
    instruments serving to reproduce mechanically the musical work, or
    licenses others to do so, to file notice thereof, accompanied by a record-
    ing fee, in the copyright office, and any failure to file such notice shall
    be a complete defense to any snit, action, or proceeding for any in-
    fringement of such copyright.
       I n case of failure of such manufacturer b pay to the copyright pro-
    prietor within thirty days after demand in writing the full sum of
    royalties due at said rate a t the date of such demand, the court may
    award taxable costs to the plaintiff and a reasonable counsel fee, and
    the court may, in its discretion, enter judgment therein for any sum
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      in addition over the amount found to be due as royalty in ac+ordaace
      with the terns of this title, iiot exceeding three times such amount.
         The reproduction or rendition of a musical compositioii by or upon
      coin-operated machines shall not be deemed a public performance for
      profit unless a fee is charged for admiasion to the place where such
      reproduction or rendition occurs.
         (f) To reproduce and distribute to the public by sale or other
      transfer of ownership, or by rental, lease, or lending, reproductions
      of the copyrighted work if it be a sound recording: Provided, That
      the exclusive right of the owner of a capxright in a sound recording to
      ~sproduceit is limited to the right to duplicate the sound recording
      in a tangible form that d i r d l y or indirectly recaptures the actual
      souncle fixed in the recording : Provided further, That this right does
      not s x h d to the making or duplication of another sound recording
      that ir an independent fixation of other sounds, even though such
      eounL imitate or simulate those in the copyrighted sound recording;
      or to reproductions made by transmitting organizations exclusively for
      their own uee.
         8 2. RI~RTSOF AUTHOROR P R O ~OF R             UNPUBLISHED     WORK-.
      Nothing in this title shall be construed to annul or limit the right of
      the author or proprietor of an unpublished work, at common law or
      in equity, to prevent the copying, publication, or use of such unpub-
      lished work without his consent, and to obtain damages therefor.
         $ 3. F'ROTECIXON OF CQMPONENT      PARTE OF WORECOPPRIQHTED;        COX-
      POBITE WORKS    OR h i u o ~ ~ c ~ ~ ~ . copyright
                                               -The       provided by this title
      shall protect all the copyrightable component parts of the work copy-
      righted, and all matter therein in which copyright is already subsisting,
      but without extending the duration or scope of such copyright. The
      copyright upoii composite works or periodicals shall give to the pro-
      prietor thereof all the rights in respect thereto which he would have
      if each part were individually copyrighted under this title.
         5 4. ALL WRITINOBO F AUTHORINCLUDED.-T~~              WO&     for which
      copyright may be secured under this title shall include all the writings
      of an author.
         $5. CLA~SIFICATION   OF WORKS     FOR R m ~ s m m ~ . - T h eapplicatioii
      for registration shall specify to which of the following classes the
      work iii which copyright is claimed belongs :

         lrgectlon 1(f) was added by the Act of October 15, 1971, Pub. L 92-140, 85 Stat. 891.
      ThL act also added sectlon B(n), added a sentence at the end of sectlon 19, amended the
      first sentence of sectlon 20, and added three sentences at the end of aectlon 26. The Act
      specified that the prorlslons dted in thla footnote shall take d e e t four months after I b
      enactment, that these proriaions "shall apply only to sound recordings fixed, publiahcd.
      and copyrighted on and after the effective date of thL Act and before January 1. 1975,"
      and that nothing In tltlt 17. United Btatcr Code, M amended br theme prorLLonr "rball k
      applied retmpectlvely or be conrtrncd ar .Sect-       In any way rIghtr rith mpst to
      mnnd recordinn fixed before the &ctIve date of thL A&"
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                        TITLE 17-THE      UNITED STATES CODE                           5
   (a) Books, including composite and cyclopedic works, directories,
gazetteem, and other compilations.
   (b) Periodicals, including newspapers.
   (c) Lectures, sermons, addresses (prepared for oral delivery).
   (d) Dramatic or drarnatico-musicalcompositions.
   (e) Musical mpositions.
   i f ) Maps-
   (g) Works of art; modebor designs for w o r b of art.
   (h) Reproductions of a work of art.
   (i) Drawings or plastic works of a scientific or technical character.
   ( j ) Photographs.
   (k) Prints and pictorial illustrations including prints or labels
used for articles of merchandise.
   (1) Motion-picture photoplays.
   (m) Motion pictures other than ph-lays.
   (n) Sound recordings.
   The above specifications shall not be held to limit the subject matter
of copyright as defined in section 4 of this title, nor shall any error in
classification illvalidate or impair the copyright protectioil secured
under this title.
   $6. REGISTRATION    OF PRINTB    AND LAB-.--Commencing         July 1,
1940, the Register of Copyrights is charged with the registration of
claims to copyright properly presented, in all prints and labels pub-
lished in connection with the sale or advertisement of articles of mer-
chandise, including all claims to copyright in prints and labeis pend-
ing in the Patent Office and uncleared at the close of business June 30,
1940. There shall be paid for registering a claim of copyright in any
such print or label not a trade-mark $6, which sum shall cover the ex-
pense of furnishing a certificate of such registration, under the seal of
the Copyright Office, to the claimant of copyright.
   5 7. COPYRIGHT ON COMPILATIONS        OF WORHBIN PUBLIC        DOMAIN
OR OF COPYRIOHTED    IVORIES ; SWB~BTING   COPYRIOHTB   NOTAFFNXED.-
Compilations or abridgments, adaptations, arrangements, dramati-
zations, translations, or other versions of works in the public domain
or of copyrighted works when produced with the consent of the
proprietor of the copyright in such works, or works republished with
new matter, shall be regarded as new works subject to copyright under
tlm provisions of this title; but the publication of any such new works
shall not affect the force or validity of any subsisting copyright upon

    Beetion 5(n) was added by the Act oi October 16,1971, Pub. L 82140.85 Eltat. 3Bl. See
footnote 1, page 4, supm.
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    6                     COPYRIGHT LAW OF       me UNITED STATES
    the matter employed or any part thereof, or be co~lBtruedto imply
    an exclusive right to such use of the original works, or to secure or
    extend copyright in such original works.
       5 8. COPYRIGHT    NOT TO SWBIBTIN WORKSIN PUBLIC            DOMAIN,    OR
    P~LI~B          E DTO JULY 1, 1909, AND Nor A ~ E A DCOPYRIGHTED,
                  PRIOR                                            Y
    OR G O V E R N ~PUBLICATIONB
                       NT             ;PUBLICATION   BY GOVERNMENT    OF COPY-
    RIGHTED MATJ~UL-NO copyright shall subsist in the original text
    of any work which is in the public domain, or in any work which mas
    published in this county or any foreign country prior to July 1,1909,
    and has not been already copyrighted in the United States, or in any
    publication of the United States Government, or any reprint, in whole
    or in part, thereof, except that the Postmaster General may secure copy-
    right on behalf of the United States in the whole or any part of the
    publications authorized by section 2506 of title 39.l
       The publication or republication by the Government, either sepa-
    rately or in a public document, of any material in which copyright is
    subsisting shall not be taken to cause any abridgment or annulment of
    the copyright or to authorize any use or appropriation of such copy-
    right material without the consent of the copyright proprietor.
       9 9. AUTHORB    OR PROPRIETORS,   ENTITLED:ALIENS.-The author or
    proprietor of any work made the subject of copyright by this title, o r
    his executors, administrators, or assigns, shall have copyright for such
    work under the conditions and for the terms specified in this title:
    Provided, h e v e r , That the copyright secured by this title shall ex-
    tend to the work of an author or proprietor who is a citizen or subject
    of a foreign state or nation only under the conditions described in sub-
    sections (a), (b) ,or (c) below :
        (a) When an alien author or proprietor shall be domiciled within
    the United States at the time of the first publication of his work ;or
        (b) When the foreign state or nation of which such author or pro-
    prietor is a citizen or subject grants, either by treaty, convention, agree-
    ment, or law, to citizens of the United States the benefit of copyright
    on substantially the same basis as to its own citizens, or copyright pro-
    tection, substantially equal to the protection secured to such foreign
    author under this title or by treaty; or when such foreign state or
    nation is a party to an international agreement which provides for
     I-eciprocityin the granting of copyright, by the terms of which agree-
     ment the United States may, at its pleasure, become a party thereto.

      'A further exception was provided by a statute enacted in 1068. Pub. L. 00-3B6, 82
    Stat. 839, 3.40, amendlng Tltle 1.5 of the Unlted States Code (16 U.B.C. 273,).authorizing
    the F3eret.r~ of Commerce. at scetion 290(e). to secure copyright and renewal thereof on
    behali of the United Stateta a8 author or pmprletor 'In all a any b r t of any standard
    reference data which he p n p m or a u k a avallahle under thb chapter."
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   The existence of the reciprocal conditions aforesaid shall be detar-
mined by the President of the United Stah, by proclamation made
from time to time, as the purposes of this title may require: P r o v a d ,
That whenever the President shall find that the authors, copyright
owners, or proprietors of works first produced or published abroad and
subject to copyright or to renewal of wpyright under the laws of the
United States, including works subject to ad interim copyright, are or
may have been temporarily unable to comply with the conditions and
formalities prescribed with respect to such works by the copyright
laws of the United States, because of the disruption or suspension of
facilities essential for such compliance, he may by proclamation grant
such extension of time as he may deem appropriake for the fulfillment
of such conditions or formalities by authors, copyright owners, or pro-
prietors who are citizens of the United States or who are nationab of
countries which accord substantially equal treatment in this respect to
authors, wpyright owners, or proprietors who are citizens of the United
States :Prowided further, That no liability shall attach under this title
for lawful uses made or acts done prior to the effective date of such
proclamation in connection with such works, or in respect to the con-
tinuance for one year subsequent to such date of any business under-
taking or enterprise lawfully undertaken prior to such date invdving
expenditure or contractual obligation in connection with the exploita-
tion, production, reproduction, circulation, or performance of any such
work.
   The President may at any time terminate any proclamation author-
ized herein or any part thereof or suspend or extend its operation for
such period or periods of time as in his judgment the interests of the
United States may requim
   (c) When the Universal Copyright Convention, signed at Geneva on
September 6, 1952, shall lm in force between the United States of
America and the foreign stab or nation of which such author is a citi-
zen or subject, or in which the work was first published. Any work to
which copyright is extended pursuant to this subseotion shall be ex-
empt from the following provisions of this title: (1) The requirement
in section 1 (e) that a foreign state or nation must grant to Unated
States citizens mechanical reproduction rights similar to those specified
therein; (2) the obligatory deposit requirements of the first sentence
of section 13; (3) the provisions of sections 14,16,17, and 18; (4) the
import prohibitions of section 107, to the extent that they are related
to the manufacturing requirements of section 16; and (5) the require-

   'The Universal Copyright Conventlon came Into tom with m p e e t to the Unlted Stat-
of America on September 10, 1958. Bee tbe notice at the end of this circular, it further
iniormatlfsn b n e d d on thi. mbjmt.
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   ments of sections 19 and 20 :Provided, hozoewer, That such exemptions
   shall apply only if from the time of first publication all the copies of
   the work published with the authority of the author or other copyright
   proprietor shall bear the symbol @ accompanied by the name of the
   copyright proprietor and the year of first publication placed in such
   manner and location as to give reasonable notice of claim of copyright.
      Upon the coming into force of the Universal Copyright Convention
   in s, foreign state or nation as hereinbefore provided, every book or
   periodical of a citizen or subject thereof in which ad interim copyright
   was subsisting on the effective date of said coming into force shall have
   copyright for twenty-eight years from the data of first publication
   abroad without the necessity of complying with the further formalities
   specified in section 23 of this title.
      The provisions of this subsection shall not be extended to works of
   an author who is a citizen of, or domiciled in the United States of
   America regardless of place of first publication, or to works first pub-
   lished in the United States.
      $ 10. PUBLICATION    OF WORKWITH No~~cx.-Any person entitled
   thereto by this title may secure copyright for his work by publication
   thereof with the notice of copyright required by this title; and such
   notice shall be afiixed to each copy thereof published or offered for
   sale in the United States by authority of the copyright proprietor,
   except in the case of books seeking ad interim protection under sec-
   tion 22 of this title.
      $11. REQISTRATION     OF C u m AND ISSUANCE    OF C E ~ C A T E . - - S u c h
   person may obtain registration of his claim to copyright by comply-
   ing with the provisions of this title, including the deposit of copies,
   and upon such compliance the R e g i h r of Copyrights shall issue to
   him the certificatesprovided for in section 209 of this title.
      $ 12. WORKS    Nm REPRODUCED      FOR SALE.---Copyrightmay also be had
   of the works of an author, of which copies are not reproduced for
   sale, by the deposit, with claim of copyright, of one complete copy of
   such work if it be a lecture or similar production or a dramatic, musi-
   cal, or dramatico-musical composition; of a title and description, with
    one print taken from each scene or act, if the work be a motion-picture
    photoplay ; of a photographic print if the work be a photograph ; of
    a title and description, with not less than two prints taken from differ-
   ent sections of a complete motion picture, if the work be a motion pic-
   ture other than a photoplay; or of a photograph or other identifying
    reproduction thereof, if it be a work of art or a plastic work or draw-
    ing. But the privilege of registration of copyright secured hereunder
    shall not exempt the copyright proprietor from the deposit of copies,
    under sections 18 and 14 of this title, where the work is later repro-
    duced in copies for mIe.
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                         -
                         1        UNIIED STATES CODE                  9

  $13. D m r r OF C O PA~ ~ PUBLICATION
                              R          OR PROCEEDING
                                   ;ACTION
FOR INFRINGETHENT.-A~~~~
                    copyright has been 3@Curedby publ%ion
of the work with the notice of aopyright as provided in section 10 of
this title, there shall be promptly deposited in the Copyright Office or
in the mail addressed to the Register of Copyrights, Washington,
District of Columbia, two complete copies of the bast edition thereof
then published, or if the work is by an author who is a citizen or sub-
ject of a foreign state or natioii and has been published in a foreign
country, one complete copy of the best edition then published in such
foreign country, which copies or copy, if the work be a book or periodi-
cal, shall have been produced in accordance with the manufacturing
provisions specified in section 16 of this title; or if such work be a
contribution to a periodical, for which contribution special registra-
tion is requested, one copy of the issue or issues containingsuch contri-
bution; or if the work belone to a class specified in subsections (g),
 (h), (i) or (k) of section 5 of this title, and if the Register of Copy-
rights determines that it is impracticable to deposit copies because of
their size, weight, fragility, or monetary value he may permit &he
deposit of photographs or other identifying reproductions in lieu of
copies of the work as published under such rules and regulations as he
may prescribe with the approval of the Librarian of Congress; or if
the work is not reproduced in copies for sale there shall be deposited
the copy, print, photograph, or other identifying r e p d u c t i o n pro-
vided by section 12 of this title, such copies or copy, print, photograph,
or other reproduction to be accompanied in each case by a claim of
copyright. No action or proceeding shall be maintained for infringe-
ment of copyright in any work until the provisions of this title with
respect to the deposit of copies and registration of such work shall
have been complied with.
   $14. SAME; FAILURE        TO DEPOGIT;    DEMAND;P E N A L T Y . - S ~ O ~ ~
the copies called for by section 13 of this title not be promptly de-
posited as provided in this title, the Registar of Copyrighta may at
any time after the publication of the work, upon actual notice, re-
quire the proprietor of the copyright to deposit them, and after the
said demand shall have been made, in default of the deposit of copies
of the work within three months from any part of the United States,
except an outlying territorial possession of the United States, or within
six months from any outlying territorial possession of the United
States, or from any foreign country, the proprietor of the copyright
shall be liable to a fine of $100 nnd to pay to the Library of Congress
twice the amonnt of the retail price of the best edition of the work,
and the copyright shall become void.
   5 15. SAME;POBTMA~TER'S      WZIPT; TRANSMXMION        BY MAILWITH-
OUT Cos~.--The postmaster to whom are delivered the articles de-
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     posited as provided in sections 12 and 13of this title shall, if rqueated,
     give a receipt therefor and shall mail them to their destination with-
     out cost to thecopyright claimant.
        8 16. MECHANICAL     WORKTO BE DONEIN UNITEDSTATES.---Of the
     printed book or periodical specified in section 5, subsections (a) and
     (b) ,of this title, except the original text of a book or periodical of for-
     eign origin in a language or languages other than English, the text of
     all copies accorded protection under this title, except as below provided,
     shall be printed from type set within the limits of the United States,
     either by hand or by the aid of any kind of typesetting machine, or
     from plates made within the limits of the United States from type set
     therein, or, if the text be produced by lithographic process, or photo-
     engraving process, then by a process wholly performed within the
     limits of the United States, and the printing of the text and binding of
     the said book shall be performed within the limits of the United States;
     which requirements shall extend also to the illustrations within a book
     consisting of printed text and illustrations produced by lithographic
     process, or photoengraving process, and also to separate lithographs
     or photoengravings, except where in either case the subjecta repre-
     sented are located in a foreign country and illustrate a scientific work
     or reproduce a work of art: Provided, however, That said require-
     ments shall not apply to works in raised charac@rs for the use of the
     blind, or to books or periodicals of foreign origin in a language or
     languages other than English, or to works printed or produced in the
     United States by any other process than those above specified in this
     section, or to copies of books or periodicals, first published abroad in
     the English language, imported into the United States within five
     years after first publication in a foreign state or nation up to the
     number of fifteen hundred copies of each such book or periodical if
     said copies shall contain notice of copyright in accordance with sec-
     tions 10, 19, and 20 of this title and if ad interim copyright in said
     work shall have been obtained pursuant to section 22 of this title prior
     to the importation into the United States of any copy except those
     permitted by the provisions of section 107 of this title: Provided
     further, That the provisions of this section shall not affect the right of
     importation under the provisions of section 107 of this title.
          17. AFFIDAVIT   TOACCOMPANY      COPIEB.-In the case of the book the
     copies so deposited shall be accompanied by an affidavit under the
     officialseal of any officer authorized to administer oaths within the
     United States, duly made by the person claiming copyright or by his
     duly authorized agent or representative residing in the United States,
     or by the printer who has printed the book, setting forth that the copies
     deposited have t>een printed from type set within the limita of the
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   United States or from plates made within the limits of the United
   States from type set therein ;or, if the text be produced by lithographic
   process, or photoengraving process, that such proms was wholly per-
   formed within the limits of the United States and that the printing
   of the text and binding of the said book have also been performed
   within the limits of the United States. Such affidavit shall state also
   the place where and the establishment or establishments in which such
   type was set or plates made or lithographic process, or photoengraving
   process or printing and binding were performed and the date of the
   completion of the printing of the book or the date of publication.
      8 18. MAKINGFALSE    ~ I D A Y I T . - Aperson
                                                ~ ~ who, for the purpose of
   obtaining registration of a claim to copyright, shall knowingly make
   a false affidavit as to his having complied with the above conditions
   shall be deemed guilty of a misdemeanor, ctnd upon conviction thereof
   shall be punished by a fine of not more than $1,000, and all of his rights
   and privileges under said copyright shall thereafter be forfeited.
       8 19. NOTICE; FORM.'-The notice of copyright required by section
   10 of this title shall consist either of the word "Copyright", the ab-
   breviation "Copr.", or the symbol @, accompanied by the name of the
    copyright proprietor, and if the work be a printed literary, musical, or
   dramatic work, the notice shall include also the year in which the copy-
   right was secured by publication. I n the case, however, of copies of
   works specified in subsections ( f ) to (k), inclusive, of section 5 of this
   title, the notice may consist of the letter C enclosed within a circle,
    thus @, accompanied by the initials, monogram, mark, or symbol of
   the copyright proprietor: Provided, That on some accessible portion
   of such copies or of the margin, back, permanent base, or pedestal, or
    of the substance on which such copies shall be mounted, his name shall
    appear. But in the case of works in which copyright was subsisting on
   July 1,1909, the notice of copyright may be either in one of the forms
    prescribed herein or may consist of the following words: "Entered
    according to Act of Congress, in the year           ,by A. B., in the o h
    of the Librarian of Congress, a t Washington, D.C.," or, a t his option,
   the word "Copyright", together with the year the copyright was
    entered and the name of the party by whom it was taken out; thus,
   "Copyright, 19-, by A. B." I n the case of reproductions of works
    specified in subsection (n) of section 5 of this title, the notice shall con-
    sist of the symbol@ (the letter P in a circle), the year of first publica-
    tion of the sound recording, and the name of the owner of copyright
    in the sound recording, or an abbreviation by which the name can be
    recognized, or a generally known alternative designation of the owner:

     'The lut emtcnce of oectlan 18 was added by the Act of October 16, 19T1. Pub. L
   92-140. 86 Btat. 891. &e iootnote 1.  4. mpra
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   I2                   COPYRKinr LAW OP M E UMTED S A T E S

   Provided,That if the producer of the sound recording is named on the
   labels or containem of the reproduction, and if no other name appears
   in conjunction with the notice, his name shall be considered a part of
   the notice.
       $ 20. SAME; PLACE      OF APPLICATION     OF; ONE N ~ C IN     E EACH
   VOLUMEOR NUMBER          OF NEWBPAPER     OR %RIoDIcAL.'-T~~       notice of
   copyright shall be applied, in the case of a book or other printed publi-
   cation, upon its title page or the page immediately following, or if a
   periodical either upon the title page or upon the first page of text of
   each separate number or under the title heading, or if a musical work
   either upon its title page or the first page of music, or if a sound record-
   ing on the surface of reproductions thereof or on the label or con-
   tainer in such manner and location as to give reasonable notice of the
   claim of copyright. One notice of' copyright in each volume or in
   each number of a newspaper or periodical published shall sufiice.
       $21. S A ~ EFFECT
                       ;        OF ACCIDENTAL      OMISSIONFROM       COPY OR
   Cop~~a-Wherethe copyright proprietor has sought to comply with
   the provisions of this title with respect to notice, the omission by ac-
   cident or mistake of the prescribed notice from a particular copy or
   copies shall not invalidate the copyright or prevent recovery for in-
    fringement against any person who, after actual notice of the copy-
   right, begins an undertaking to infringe it, but shall prevent the
   recovery of damages against an innocent infringer who has been
    misled by the omission of the notice ;and in a suit for infringement no
   permanent injunction shall be had unless the copyright proprietor
   shall reimburse to the innocent infringer his reasonable outlay inno-
   cently incurred if the court, in its discretion, shall so direct.
       5 22. AD 1-         PROTECTION    OF BOOK OF PERIODICAL       PW~HED
   ~ R O A Dthe     . -case
                        I ~ of a book or periodical first published abroad
   in the English language, the deposit in the Copyright Office, not later
   than six months after its publication abroad, of one complete copy of
   the foreign edition, with a request for the reservation of the copyright
   and a statement of the name and nationality of the author and of the
   copyright proprietor and of the date of publication of the said book
    or periodical, shall secure to the author or proprietor an ad interim
    copyright therein, which shall have all the force and effect given to
    copyright by this title, and shall endure until the expiration of five
    years after the date of first publication abroad.
       5 23. SAXE;EXTENBION        TO FULLTERM.-Whenever within the
    period of such ad interim protection an authorized edition of such

     'The tlmt ltatence of m t b n 20 r a 8 amended by the Act of October 15, 1071, Pub. f*
   82-140.86 S t a t 881. Bsc footaotc 1,w e 4, #rwa
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                         TllLE 17-THE      UNITFD STATES CODE                             '3
books or periodicals shall be published within the United Stabs, in
accordance with the manufacturing provisions specified in section 1-6
of this title, and whenever the provisions of this title as to deposit of
copies, registration, filing of affidavits, and the printing of the copy-
right notice shall have be& duly complied with, the copyright shall be
extended to endure in such b k or periodical for the term provided
in this title.
   5 24. DURATION;RENEWALAND EXTENBION.~--T~~               copyright se-
cured by this title shall endure for twenty-eight years from the date of
first publication, whether the copyrighted work bears the author's
true name or is published anonymously or under an assumed name:
Proulded, That in the case of any posthumous work or of any period-
ical, cyclopedic, or other composite work upon which the copyright
was originally secured by the proprietor thereof, or of any work copy-
righted by a corporate body (otherwise than as assignee or licensee of
the individual author) or by an employer for whom such work is made
for hire, the proprietor of such copyright shall be entitled to a re-
newal and extension of the copyright in such work for the further
term of twenty-eight years when application for such renewal and
extension shall have been ma& to the copyright office and duly regis-
tered therein within one year prior io the expiration of the original
term of copyright :And provided further, That in the case of any other
copyrighted work, including a wntribution by an individual author
to a periodical or to a cyclopedic or other composite work, the author
of such work, if still living, or the widow, widower, or children of the
author, if the author be n& living, or if such author, widow, widower,
or children be not living, then the author's executors, or in the absence                         .
of a will, his next of kin shall bentitled to a renewal and extension of
the copyright in such work for a further term of twenty-eight yesre
when application for such renewal and extension shall have &en ma&
to the copyright office and duly registered therein within one year prior
to the expiration of the original term of copyright: * And prcwided
further, That in default of the registratio11 of such application for
renewal and extension, the copyria& in any work shall determine at
the expiration of twenty-eight years from first publication.

   1Prlvate Law 02-80, enacted December 16, 1971, provideo speelally for a term ot 75
rears from that date, or from the later date of tlmt publlcatlon, for tbe various edltions of
"Science and Health" by Mary Baker Eddy. See the notice at the end of t h b elrefl&, if
further information 1s needed on this subject.
     A serIe6 of eight acts, the most recent being the Act of October 25, 1972, Pub. L. 02-886,
88 Stat. 1170, whicb cites the seven earlier acts, has extended until December 31, 1974.
copyrights previously renewed In which the sewnd term would otherwise have exnlred h-
tween September 10, 1062 and December 81, 1074. Bee the notlce ot the end of this clrculnr,
if further lnformatkn b needed.
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       '4                 C(HI1IOHT LAW OF T E n D W l M C T A W

          $ 25. RENEWAL   OF COPYRIGHTS   REGISTERED      IN PATENT       OFFICEUNDER
       REPEALED     LAW.-Subsisting copyrights originally registered in the
       Patent Office prior to July 1,1940, under section 3 of the act of June 18,
       1874, shall. be subject to renewal in behalf of the proprietor upon
       application made to the Register of Copyrights within one year prior
       to the expiration of the original term of twenty-eight years.
          $ 26. TERMS  DEFZNED.'--~~    the interpretation and construction of
       this title "the date of publication" shall in the case of a work of
       which copies are reproduced for sale or distribution be held to be the
       earliest date when copies of the first authorized edition were placed on
       sale, sold, or publicly distributed by the proprietor of the copyright
       or under his authority, and the word "author" shall include an em-
       ployer in the case of works made for hire. For the purposes of this
       section and sections 10, 11, 13, 14,21, 101, 106, 109, 209, 215, but not
       for any other purpose, a reproduction of a work described in subsection
       5 (n) shall be considered to be a copy thereof. "Sound recordings" are
       works that result from the fixation of a series of musical, spoken, or
       other sounds, but not including the sounds accompanying a motion
       picture. "Reproductions of sound recordings" are material objects in
       which sounds other than those accompanying a motion picture are
       fixed by any method now known or later developed, and from which
       the sounds can be perceived, reproduced, or otherwise communicated,
       either directly or with the aid of a machine or device, and include the
       "parts of instruments serving to reproduce mechanically the musical
       work", "mechanical reproductions", and "interchangeable parts, such
       as discs or tapes for use in mechanical music-producing machines" re-
       ferred to in sections 1(e) and 101(e) of this title.
          $27. COPYRIGHT    DISTINCTFROM    PROPERTY       IN O        m COPYRIGHTED;
       EFFECTOF SALE     O F OBJECT,AND O F ASSIGNMENT          O F COPYRIQHT.-~~~
       copyright is distinct from the property in the material object copy-
       righted, and the sale or conveyance, by gift or otherwise, of the ma-
       terial object shall not of itself constitute a transfer of the copyright,
       nor shall the assignment of the copyright.constitute a transfer of the
       title to the material object; but nothing in this title shall be deemed to
       forbid, prevent, or restrict the transfer of any copy of a copyrighted
       work the possession of which has been lawfully obtained.
          $ 28. ASSIGNMENTS    AND B ~ ~ u ~ ~ r n . - - C o p y r isecured
                                                                     g h t under this
       title or previous copyright l a m of the United States may be assigned,
       granted, or mortgaged by an instrument in writing signed by the
       proprietor of the copyright, or may be bequeathed by will.

         'The Lut three senteneta of section 26 6 added by the Act of October 16, lW1.
       Pub. L 92-140,86 B a t . 891. &e footnote 1, page 4.8spra.
Case 23-905, Document 58, 10/13/2023, 3581210, Page32 of 221




                          TITLE 17-E       UNITED STATES WDE                            I5

    5 29. SAME; EXECUTEDI N FOREIGN COUNTRY;A C X N O ~ ~ A K E N T
 AND    CERTIFICATE.-Every assignment of copyright executed in a
 foreign country shall be acknowledged by the assignor before a con-
 sular officer or secretary of legation of the United States authorized by
 law to administer oaths or perform notarial acts. The certificate of
 such acknowledgment under the hand and official seal of such consular
 officer or secretary of legation shall be prima facie evidence of the
 execution of the instrument.
    § 30. SAME;REco~~.-Every assignment of copyright shall be
 recorded in the copyright office within three calendar months after its
 execution in the United States or within six calendar months after its
 execution without the limits of the United States, in default of which
 it shall be void as against any subsequent purchaser or mortgagee
 for a valuable consideration, without notice, whose assignment has
 been duly recorded.
    5 31. SAME;CERTIFICATE       OF RECORD.-T~~    Register of Copyrights
 shall, upon payment of the prescribed fee, record such assignment, and
 shall return it to the sender.with a certificate of record attached under
 seal of the copyright office, and upon the paymen.t of the fee prescribed
 by this title he shall furnish to any person requesting the same a certi-
 fied copy t h m f under the said -1.
    3 32. SAME;USE OF NAB^ OF A ~ ~ I Q NIN     E ENmc~.-When an as-
 signment of the copyright in a specified book or other work has been
 recorded the assignee may substitute his name for that of the assignor
 in the statutory notice of copyright prescribed by this title.

             Chapter 2-Infringement.                    Proceedings '
 f 101. Infringement :
      ( a ) Injunction.
      (b) Damages and profits ;amounts; other remedies.
      (c) Impounding during action.
      ( d ) Destruction of infringingcopiea and plates.
      ( e l Interchangeable parts for use in mechanical music-producing machines.
   104. Willful infringement for profit.
 1 105. Fraudulent notice of copyright, or remoyal or alteration of notice.
 1108. Importation of article bearing false notice or piratical copies of copy-
            righted work.
 8 107. Importation, during existence of copyright, of piratioel copies, or of copies
            not produced in accordance wlth section 16 of this title.
 f 108. Forfeiture and destruction of articles prohibited importation.
 f 109. Importation of prohibited articles ; regulations ; proof of deposit of copies
            by complainants.
     Sectlonr 101(f). 102. 108, 110. and 111 were repealed by the Act of June 25. 1948.
 ch. 846, 3 39. 82 Stet. 869, at 981, 986. and 996, eEectlve &ptember 1, 1048. However, .eo
 aectlonn 1888,1400,1498, and POTO, ntk 28, Unlted 8-        Coda.
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     16                  COPYRIGHT LAW OP TRE UNITED STATES

     f 112 Injunctions ;service and enforcement
     f 113. Transmission of certified copies of papers for enforcement of injnnction
             by other court.
     f 114. Review of orders, judgmenb, or decrees.
     f 115. Limitations.
     ) 116. Costa ;attorney'sfees.          I


        8 101. INFRINQEMENT.-If      any person shall infringe the copyright
     in any work protected under the copyright laws of the United States
     such person shall be liable :
        (a) I N J W N ~ ~ ~ O N .an
                                 - Tinjunction
                                    o           restraining such infringement;
        (b) DAMAQE~     AD h o r n ; AMOUNT;OTHER          REMEDXEE.-To pay
     to the copyright proprietor such damages as the copyright proprietor
     may have suffered due to the infringement, as well as all the profits
     which the infringer shall have made from such infringement, and in
     proving profits the plaintiff shall be required to prove sales only, and
     the defendant shall be required t o prove every element of cost which he
     claims, or in lieu of actual damages and profits, such damages as to the
     court shall appear to be just, and in assessing such damages the court
     may, in its discretion, allow the amounts as hereinafter stated, but in
     case of a newspaper reproduction of a copyrighted photograph, such
     damages shall not exceed the sum of $200 nor be less than the sum of
     $50, and in the case of the infringement of an u n d r a m a t i d or non-
     dramatic work by means of motion pictures, where the infringer shall
     show that he was not aware that he was infringing, and that such in-
     fringement could not have been reasonably foreseen, such damages
     shall not exceed the sum of $100; and in the case of an infringement of
     a copyrighted dramatic or dramatico-musical work by a maker of
     motion pictures and his agencies for distribution thereof to exhibitors,
     where such infringer shows that he was not aware that he was infring-
     ing a copyrighted work, and that such infringements could not reason-
     ably have been foreseen, the entire sum of such damages recoverable
     by the copyright proprietor from such infringing maker and his agen-
     cies for the distribution to exhibitors of such infringing motion picture
     shall not exceed the sum of $5,000 nor be less than $250, and such
     damages shall in no other case exceed the sum of $5,000 nor be less than
     the sum of $250, and shall not be regarded as a penalty. But the fore-
     going exceptions shall not deprive the copyright proprietor of any
     other remedy given him under ztltllis law, nor shall the limitation as to
     the amount of recovery apply to infringements occurring after the
     actual notice to a defendant, either by service of process in a suit or
     other written notice served upon him.
        First. I n the case of a painting, statue, or sculpture, $10 for every
     infringing copy made or sold by or foiind in the possession of the in-
      fringer or his agente or employees ;
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      Second. I n the case of any work enumerated in &ion 5 of this
   title, except a painting, statue, or sculpture, $1 for every infringing
   copy made or sold by or found in the possesion of the infringer or
   his agents or employees ;
      Third. I n the case of a lecture, sermon, or address, $50 for every
   infringing delivery ;
      Fourth. In the case of a dramatic or dramatico-musicalor a choral or
   orchestral composition, $100 for the first and $50 for every subsequent
   infringing performailce; in the case of other musical compositions $10
   for every infringing performance;
       (c) IMPOUNDING      Dmuh-r, ACTION.-TO deliver up on oath, to be
   impounded during the pendency of the action, upon such terms and
   conditions as the court may prescribe, all artides alleged to infringe
   a copyright ;
      (d) DESTRUCTION       OF I N F R I ~   COPZEB
                                                N GAND PLATES.-TO deliver
   up on oath for destruction all the infringing copies or devices, as well
   as all plates, molds, matrices, or other means for making such infring-
   ing copies as the court may order.
       (e) INTERCHANGEABLE       PARTS     FOR USEIN WHANICAL           MUBIC-
   ~ O D U C I NMACHINEEL-Interchangede
                    ~                             parts, such as discs or tapes
   for use in mechanical music-producing machines adapted to re-produce
   copyrighted musical works, shall be considered copies of the copy-
    righted musical works which they serve to reproduce mechanically
   for the purposes of this section 101 and sections 106 and 109 of this
   title, and the unauthorized manufacture, use, or sale of such inter-
   changeable parts shall constitnte an infringement of the copyrighted
   work rendering the infringer liable in accordance with all provisions
   of this title dealing with infringements of copyright and, in a case of
   willful infringement for profit, to criminal prosecution pursuant to
   section 104 of this title. Whenever any person, in the absence of a
   license agreement, intends to use a copyrighted musical composition
   upon the parts of instruments serving to reproduce mechanically the
   musical work, relying upon the compulsory license provision of this
   title, he shall serve notice of such intention, by registered mail, upon
   the copyright proprietor s t his last address disclosed by the records of
   the copyright office, sending to the copyright office a duplicate of such
   notice.
       [ ( f ) See footnote 1,page 15, e4lpra.I
       15 102. See footnote 1,page 15,eupm.j
       15 103. See footnote 1,page 15, mpra.]
       IThe former sectlon 101(e) was deleted In I t s entirety and the present language was
    substituted by the Act of October 16, 1071, P A L 92-140, 85 Strt. 8B1, eUeetlve irnme-
    cliately upon enactment.
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    r8               CVPYRXGHT LAW OF M E   unrm STATES
         104. WILLFULINFRINGEMENT         FOR P~o~rr.--Any person who mll-
    fully and for profit shall infringe any copyright secured by this title,
    or who shall knowingly and willfully aid or abet such infringement,
    shall Ibe deemed guilty of a misdemeanor, and upon conviction thereof
    shall be punished by imprisonment for not exceeding one year or by
    a fine of not less than $100 nor more than $1,000, or both, in the dis-
    cretion of the court: Provided, however, That nothing in this title
    shall be so construed as to prevent the performance of religious or
    secular works such a s oratorios, cantatas, masses, or octavo choruses
    by public schools, church choirs, or vocal societies, rented, borrowed,
    or obtained from some public library, public school, church choir,
    school choir, or vocal society, provided the performance is given for
    charitable or educational purposes and not for profit.
       § 105. FRAUDULENT      NOTICE   OF COPYRIGHT,  OR REMOVAL   OR ALTERA-
    TION OF NOTICE-A~~         person who, with fraudulent intent, shall insert
    or impress any notice of copyright required by this title, or words of
    the same purport, in or upon any uncopyrighted article, or with
    fraudulent intent shall remove or alter the copyright notice upon any
    article duly copyrighted shall be guilty of a misdemeanor, punishable
    by a fine of not less than $100 and not more than $1,000. Any person
    who shall knowingly issue or sell any article bearing a notice of United
    States copyright which has not been copyrighted in this country, or
    who shall knowingly import any article bearing such notice or words
    of the same purport, which has not been copyrighted in this country,
    shall be liable to a fine of $100.
       $106. I ~ R T A T       OFIARTICLE
                                   O N BEARING      FAME  NOTICEOR PIRATICAL
    COPIE~OF COPYRIGHTED           Worn.-The importation into the United
    States of any article bearing a false notice of copyright when there is
    no existing copyright thereon in the United States, or of any piratical
    copies of any work copyrighted in the United States, is prohibited.
       8 107. IMPORTATION,     DUR~NG   EXISTENCE  OF COPYRIGHT,OF PIRATICAL
    COPIES,OR OF COPIES NOTPRODUCED          IN ACCORDANCE  WITH SECTION     16
    OF THIS TITLE.-During         the existence of the American copyright in
    any book the importation into the United States of any piratical copies
    thereof or of any copies thereof (although authorized by the author
    or proprietor) which have not been produced in accordance with the
    manufacturing provisions specified in section 16 of this title, or any
    plates of the same not made from type 'set within the limits of the
    United States, or any copies thereof produced by lithographic or photo-
    engraving process not performed within the limits of the United
    States, in accordance with the provisions of section 16 of this title,
    is prohibited: P~ovictecl,hozoever, Thet, except as regards piratical
    copies, such prohibition shallpot apply :
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                      TITLE .I7*E   UNIT=   STATES CODE                 '9

      (a) To w o r k in raised characters for the use of the blind.
      (b) To a foreign newspaper o r magazine, although containing
   matter copyrighted in the United States printed or reprinted by
   authority of the copyright proprietor, u n k such newspaper or
   magazine contains also copyright matter printed or reprinted mith-
   out such authorization.
      (c) To the authorized edition of a book in a foreign language or
   languages of which only a translation into English has been copy-
   righted in this country.
      (d) To any book published abroad with the autl~orizationof the
   author or copyright proprietor when imported under the circum-
   stances stated in one of the four subdivisions following, that is to say :
      First. When imported, not more than one copy a t one time, for
   individual use and not for sale; but such privilege of importation shall
   not extend to a foreign reprint. of a book by an American author wpy-
   righted in the United States.
      Second. When imported by the authority or for the use of the
   United States.
      Third. When imported, for use and not for sale, not more than
   one copy of any such bodr in any one invoice, in good faith by or
   for any society or institution incorporated for educational, literary,
   philosophical, scientific,or religious purposes, or for the encourage-
   ment of the fine arts, or for any college, academy, school, or seminary
   of learning, or for any State, school, college, university, or free public
   library in the United States.
      Fourth. When such books form parts of libraries or collections
   purchased en Moc for the use of societies, institutions, or libraries
   designated in the foregoing paragraph, or form parts of the libraries
   or personal baggage belonging to persons or families arriving from
   foreign countries and are not intended for sale : Provided, That copies
   imported as above may not lawfully be used in any way to violate the
    rights of the proprietor of the American copyright or annul or limit
   the copyright protection secured by this title, and such unlawful use
   shall be deemed an infringement of copyright.
      9 108. FORFEITURE    AND DE~TRUCTION     OF ARTICLES    PROHIBITED IM-
    PORTATION.-A~~     and all articles prohibited importation by this title
    which are brought into the United States from any foreign country
    (except in the mails) shall be seized and forfeited by iike proceedings
    as those provided by law for the seizure and condemnation of property
    imported into the United States in violation of the customs revenue
    laws. Such articles when forfeited shall be destroyed in such manner
    aa the Secretary of the Treasury or the court, as the case may be, &all
    direct: Prouided, hozoswr, That all copies of authorized editions of
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     20               COPYRIGHT L A W OF M E UNIfED STATES


     copyright books imported in the mails or otherwise in violation of the
     provisions of this title may be exported and returned to the country
     of export whenever it is shown to the satisfaction of the Secretary
     of the Treasury, in a written application, that such importation does
     not involve willful negligence or fraud.
        5 109. IMPORTATION     OF P R O H IARTICLES
                                                 B ~ ; REGULATIONS     ; PROOF
     O F DEPOSITOF f i P I E S BY ~ ~ M P L A I N A N T B . -Secretary
                                                              T~~       of the
     Treasury and the Postmaster Genenl are hereby empowered and re-
     quired to make and enforce individually or jointly such rules and
     regulations as shall prevent the importation into the United States
     of articles prohibited importation by this title, and may require, as
     conditions precedent to exclusion of nny work in which copyright is
     claimed, the copyright proprietor or any person claiming actual or
     potential injury by reason of actual or contemplated importations of
     copies of such work to file with the Post Office Department or the
     Treasury Department a certificate of the Register of Copyrights that
     the provisions of section 13 of this title have been fully complied with,
     and to give notice of such compliance to postmasters or to customs
     officers at the p o d of entry in the United States in such form and
     accompanied by such exhibits as may be deemed necessary for the
     practical and efficient administration and enforcement of the provi-
     sions of sections 106 and 107 of this title.
        [§ 110. See footnote 1,page 15, %up]
        [§ 111. See footnotel,page15,%ilpru.]
        3 112. INJUN~ONS;        SERVICEAND E ~ m ~ m . ~ m . - A ncourt
                                                                     y men-
     tioned in section 1338 of Title 28 or judge thereof shall have power,
     npon complaint filed by any party aggrieved, to grant injunctions to
     prevent and restrain the violation of any right secured by this title,
     according to the course and principles of courts of equity, on such
     terms as said court or judge may deem reasonable. Any injunction that
     may be granted restraining and enjoining the doing of anything for-
     bidden by this title may be served on the parties against whom such
     injunction may be granted anywhere in the United States, and shall
     be operative throughout the United States and be enforceable by pro-
     ceedings in contempt or otherwise by any other court or judge pos-
     sessing jurisdiction of the. defendants.
        8 113. TRANS~SSION       OF CERTIFIED  COPIESOF PAPERS   FOR ENFORCE-
     MENT OF INJUNCI?ON BY OTHER&u~~.-The clerk of the court or
     judge granting the injunction, shall, when required so to do by the
     court hearing the application to enforce said injunction, transmit with-
     out delay to said court a certified copy of all the papers in said cause
     that are on file in his office.
        8 114. REVIEWOF ORDERS,       JUDOMENTB,    OR I)EcREES.-T~~orders,
     judgments, or decrees of any colirt mentioned in eectioli 1338 of Title
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    28 arising under the copyright laws of the United States may be re-
    viewed on appeal in the manner and to the extent now provided by law
    for the review of cases determined in said courts, respectively.
      5 115. LIMITATIONS.--(a) CRIMINAL      PROCEEDINOB.-NO    criminal pm-
    ceedings shall be maintained under the provisions of this title unless
    the same is commenced within three years after the came of action
    arose.
       (b) CIVILACTIONS.-NO civil action shall be maintained under the
    provisions of this title unless the same is commenced within three years
    after the claim accrued.
      § 116. COSTS;ATTORNET'S     F~~s.-111all actions, suits, or proceedings
    under this title, except when brought by or against the United States
    or any officer thereof, full costs shall be allowed, and the court may
    award to the prevailing party a reasollaMe attorney's fee as part of
    the costs.
                        Chapter 3--Copyright Oflice
    8 201. Copyright o w ; preservation of records.
    8 202. Register, assistant register. and subordinates.
    8 203. Same ;deposit of moneys received ;reports
    8 204. Same ;bond
    8 205. Same ;annual report.
    8 206. Seal of copyright oface.
    8 20'7. Rules for registration of claim.
    8 208 Record books in copyright o f k a
    8 208. Certificates of registration; eirect as evidence; receipt       for coplm
            deposited.
    8 210. Catalogs of copyright entries ;effe-ct as evidence.
    8 211 Same ;distribution and sale ;disposal of proceeds.
    8 212. Records and works deposited in copyright of0ce open to public inspection ;
            taklng copies of entries.
    8 213. Disposition of articles deposited in oface.
    8 214. Destruction of articles deposited in oface remaining undisposed of; removal
            of by author or proprietor; manuscripts d unpublished worka
    g n5.Fees.
    8 216. When the day for taking action falls on Saturday, Sunday, or a holiday.
       5 201. COPPRIDHTOFFICE;PRESERVATION       OF RECORDS.-All records
    and other things relating to copyrights required by law to be preserved
    shall be kept and preserved in the copyright office, Library of Con-
    gress, District of Columbia, and shall be under the control of the regis-
    ter of copyrights, who shall, under the direction and supervisioil of
    the Librarian of Congress, perform all the duties relating to the regis-
    tration of copyrights.
       4 202. REGISTER,ASSISTANTR ~ B T E R       , SUBORDINATEG.-T~
                                                AND
    shall be appointed by the Librarian of Coi~gressa Register of Copy-
    rights, and one Assistant Register of Copyrigk, who shall have au-
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     22                    COPYRIGHT LAW OF THE UNITED STATES

     thority during the absence of the Register of Copyrights to attach
     the copyright office seal to all papers issued from the said officeand to
     sign such certificates and other papers as may be necessary. There shall
     also be appointed by the Librarian such subordinate assistants to the
     register as may from time to time be authorized by law.
        $ 203. S a m ; D ~ ~ o sOF
                                 r rMONEYS  RECEIVED;   R ~ m ~ m . - T h eRegis-
     ter of Copyrights shall make daily deposits in some bank in the Dis-
     trict of Columbia, designated for this purpose by the Secretary of the
     Treasury as a national depository, of all moneys received to be applied
     as copyright fees, and shall make weekly deposits with the Secretary
     of the Treasury, in such manner as the latter shall direct, of all copy-
     right fees actually applied under the provisions of this title, and an-
     nual deposits of sums received which it has not been possible to apply
     as copyright fees or to return to the remitters, and shall also make
     monthly reports to the Secretary of the Treasury and to the Librarian
     of Congress of the applied copyright fees for each calendar month,
     together with a statement of all remittances received, trust funds on
     hand, moneys refunded, and unapplied balances.
        $204. SAME;BOND.--TheRegister of Copyrights shall give bond to
     the United States in the sum of $20,000, in form to be approved by the
     General Counsel for the Department of the Treasury and with sure-
     ties satisfactory to the Secretary of the Treasury, for the faithful dis-
     charge of his duties.
        $ 205. SAME;ANNUALR~m~~.--'l"he Register of Copyrights shall
     make an annual report to the Librarian of Congress, to be printed in
     the annual report on the Library of Congress, of all copyright business
     for the previous fiscal year, including the number and kind of works
     which have been deposited in the copyright office during the fiscal year,
     under the provisions of this title.
        8 206. SEAL  OF COPYRIGHT    OFFICE.-T~~seal used in the copyright
     office on July 1,1909, shall be the seal of the copyright office, and by i t
     all papers issued from the copyright office requiring authentication
     shall be authenticated.
        9 207. RULESFOR REGISTRATION       OF c~~x~s.'-Subjectto the a p
     proval of the Librarian of Congress, the Register of Copyrights shall
     be authorized to make rules and regulations for the registration of
     claims to copyrighlt as provided by this title.
        9 208. RECORDBoo118 IN COPYRIGHTOFFICE.-The Register of
     Copyrights shall provide and keep such record books in the copyright
     officeas are required to carry out the provisions of this title, and when-
      'Published in the F c d s r d ReWtur and Tltle 81 of the C d e of Fedsrrl R s q r b W .
     k the notice at tbe end of tbb circular, If further information Ir needed on thh aabket
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     ever deposit has been made in the copyright office of a copy of any
     work under the provisions of this title he shall make entry thereof.
        5 209. CERTIFICATE   O F REOXSTRATIOX  ;EFFECT    A 8 EVIDENCE;R E C ~ T
     FOR COPIEB   DEPOSITED.-111the case of each entry the person recorded
     as the claimant of the copyright shall be entitled to a certificate of
     registration under seal of the copyright office, to contain the name and
     address of said claimant, the name of the country of which the author
     of the work is a citizen or subject, and when an alien author domiciled
     in the United States at the time of said registration, then a statament
     of that fact, including his place of domicile, the name of the author
      (when the records of the copyright oflice shall show the same), the
     title of the work which is registered for which copyright is claimed,
     the date of t.he deposit of the copies of such work, the date of publi-
     cation if the work has been r e p r o d u d in copies for sale, or publicly
     distributed, and such marks as to class designation and entry number
     as shall fully identify the entry. I n the case of a book, the certificate
     shall also state the receipt of the affidavit, as provided by section 17 of
     this title, and the date of the completion of the printing, or +thedate
     of the publication of the book, as stated in the said affidavit. The
     Register of Copyrights shall prepare a printed form for the said
     certificate, to be filled out in each case as above provided for in the
     case of all registrations made after July 1,1909, and in the case of all
     previous registrations so far as the copyright 05m record books shall
     show such facts, which certificate, sealed with the seal of the copyright
     office, shall, upon payment of the prescribed fee, be given to any person
     making application for the same. Said cedificate shell be admitted
     in any court as prima facie evidence of the facts stated therein. I n
      addition to such certificate the register of copyrights shall furnish,
     upon request, without additional fee, a m i p t for the copies of the
      work deposited to complete the registration.
         8 210. CATALOG   OF COPYRIGHT   ENTR~EB  ; EFFEGT    AD 'JEvIDENcE.-T~~
      Register of Copyrights shall fully index all copyright registrations
     and assignments and shall print a t periodic intervals a catalog of the
     titles of articles deposited and registered for copyright, together with
     suitable indexes, and at stated intervals shall print complete and in-
      dexed catalog for each class of copyright entries, and may thereupon,
     if expedient, destroy the original manuscript catalog cards containing
      the titles included in such printed volumes and representing the en-
      tries made during such intervals. The current catalog of copyright
     entries and the index T-o-olumesherein provided for shall be admitted
      in any court as prima facie evidence of the facts stated therein as
      regards any copyright registration.
           211. SAME;DISTRIBUTION      AND SALE;   DIBPOBAL    OF PRocEEDs.-T~~
      said printed current catslogs as they are issued shall be promptly
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       "4               COPYRIGHT LAW OF THZ UNITED STATES

       distributed by the Superintendent of Documents to the collectors of
       customs of the United States and to the postmasters of all exchange
       officesof receipt of foreign mails, in accordance with revised list of
       such collectors of customs and postmasters prepared by the Secretary
       of the Treasury and the Postmaster General, and they shall also be
       furnished in whole or in part to all parties desiring them at a price
       to be determined by the Register of Copyrights for each part of the
       catalog not exceeding $75 for the complete yearly catalog of copy-
       right entries. The consolidated catalogs and indexes shall also be
       supplied to all persons ordering them at such prices as may be fixed
       by the Register of Copyrights, and all subscriptions for the catalogs
       shall be received by the Superintendent of Documents, who shall
       forward the said publications; and the moneys thus received shall be
       paid into the Treasury of the United States and accounted for under
       such laws and Treasury regulations as shall be in force at the time.
          5 212. RECORDS   AND WORKS     DEPOSITEDIN COPYRIGHT           OFFICEOPEN
        TO PUBLIC     I N G P E ~ O TAKING
                                     N;        COP= OF ENTRIES.-T~ record
       books of the copyright office, together with the indexes to such record
       books, and all works deposited and retained in the copyright office,
       shall be open to public inspection; and copies may be taken of the
       copyright entries actually made in such record books, subject to such
       safeguards and regulations as shall be prescribed by the Register of
       Copyrights and approved by the Librarian of Congress.
         5 213. DISPOS~ITON   OF ARTICLES   I)EPOSITED IN h c ~ . - - - - OUre
                                                                           f articles
       deposited in the copyright office nnder the provisions of the copyright
       laws of the United States, the Librarian of Congress shall determine
       what books and other articles shall be transferred to the permanent
       collections of the Library of Congress, including the law library, and
       what other books or articles shall be placed in the reserve collections of
       the Library of Congress for sale or exchange, or be transferred to other
       governmental libraries in the District of Columbia for use therein.
         5 214. DESTRUCTION      OF A R ~ C L EDEPOSITED
                                                 S         IN OFFICE REMAINING
       UNDISPOSED    OF;REMOVAL     OF BY AUTHOR    OR PROPRIETOR;      MANDBCRIP~B
       OF UNPUBLISHED     WORKS.---Ofany articles undisposed of as above prd-
       vided, together with all titles and correspondence d a t i n g thereto, the
       Librarian of Congress and the Register of Copyrights jointly shall, at
       suitable intervals, determine what of these received during any period
       of years it is desirable or useful to preserve in the permanent files of the
       copyright office, and, after due notice as hereinafter provided, may
       within their discretion cause the remaining articles and other things to
       be destroyed : Provided, That there shall be printed in the Catalog of
       Copyright Entries from Febrliary to November, inclusive, a statement
       of the years of receipt of such articles and a notice to permit any
       author, wpyright proprietor, or other lawful claimant to claim and
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 remove before the expiration of the month of December of that year
 anything found which rela* to any of his productions deposited or
 registered for wpyright within the period of years stated, not reserved
 or disposed of as provided for in this title. No manuscript of an unpub-
 lished work shall be destroyed during its term of copyright without
 specific notice to the copyright proprietor of record, permitting him to
 claim and remove it.
    9 215. h ~ s . - T h e Register of Copyrights shall receive, and the per-
 sons to whom the services designated are rendered shall pay, the fol-
 lowing fees :
    For the registration of a claim to copyright in any work, including a
 print or label used for articles of merchandise, $6; for the registration
 of a claim to renewal of copyright, $4 ; which fees shall include a cer-
 tScate for each registration :Provided, That only one registration fee
 shall be required in the case of several volumes of the same book pub-
 lished and deposited at the &me time: A n d provided further, That
 with respect to works of foreign origin, in lieu of payment of the copy-
 right fee of $6 together with one copy of the work and application, the
 foreign author or proprietor may at any time within six months from
 the date of fiF publication abroad deposit in the Copyright Oflice an
 application for registration and two wpies of the work which shall be
 accompanied by a catalog card in form and content satisfactory to the
 Register of Copyrights.
    For every additional certificate of registration, $2.
    For certifying a copy of an application for registration of wpyright,
 and for all other certifications, $3.
    For recording every assignment, agreement, power of attorney or
 other paper not exceeding six pages, $5; for each additional page or
 leas, 50 cents; for each title over one in the paper recorded, 50 cents
 additional.
    For recording a notice of use, or notice of intention to we, $3, for
 each notice of not more than five titles; and 50 cants for each additional
 title.
    For any requested search of Copyright Office records, works depos-
 ited, or other available material, or services rendered in connection
 therewith, $5, for each hour of time consumed.
    § 216. WHEN        THE DAYFOR TAKING      ACTIONFALIB     ON SATURDAY,
 SUNDAY,    OR A Hmm~x'.-When the last day for making any deposit or
 application, or for paying any fee, or for delivering any ather material
 to the Copyright Office falls on Satufday, Sunday, or a holiday within
 the District of Columbia, such action may be taken on the next s u d -
 ing business day.
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                 DECLARATION OF DONALD S. ZAKARIN

      I, DONALD S. ZAKARIN, declare under penalty of perjury as follows:

      1.     I am a member of Pryor Cashman LLP, counsel for Appellees-

Defendants Edward Christopher Sheeran, Sony/ATV Music Publishing LLC (n/k/a

Sony Music Publishing (US) LLC), Atlantic Recording Corporation, BDi Music Ltd.,

Bucks Music Group Ltd., The Royalty Network, Inc., David Platz Music (USA) Inc.,

Amy Wadge and Jake Gosling (collectively, “Appellees”).

      2.     I have personal knowledge of, and am fully familiar with, the facts set

forth in this Declaration, which I respectfully submit in opposition to the motion of

Randy Craig Wolfe Trust (the “Trust”) and Sound And Color, LLC (“S&C,”

together with the Trust, the “Movants”) for leave to file an amicus curiae brief (the

“Motion”).

      3.     Annexed as Exhibit 1 is a true copy of the Opening Brief submitted on

behalf of the Trust by Francis Alexander, LLC in the appeal captioned Michael

Skidmore, As Trustee For The Randy Craig Wolfe Trust v. Led Zeppelin, et al., No.

16-56057 (9th Cir.) (“Skidmore”).

      4.     Annexed as Exhibit 2 is a true copy of the “Combined Reply Brief And

Opening Brief Responding to Defendant’s Costs And Fees Appeal” submitted in

Skidmore on behalf of the Trust by Francis Alexander, LLC.
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      5.     Plaintiff-Appellant Structured Asset Sales, LLC filed amicus briefs

with both the Ninth Circuit and Supreme Court in Skidmore in which it aired its

“deposit copy” arguments.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Dated:       October 13, 2023
             New York, New York




                                             ________________________
                                              DONALD S. ZAKARIN




                                         2
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          EXHIBIT 1
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               United States Court of Appeals
                   For the Ninth Circuit
                                   C.A. 16-56057

                         __________________
                                Skidmore et al.
                           Michael Skidmore, Trustee for the
                              Randy Craig Wolfe Trust
                                 Plaintiff-Appellant


                                          v.
                              Led Zeppelin et al.
                                 Defendants-Appellees

                 __________________________
             Appellant’s Opening Brief
      _____________________________________
(Music copyright infringement, on appeal from the final Order dated June 23, 2016
  of the Honorable R. Gary Klausner, of the United States District Court for the
Central District of California. The case was docketed in the Central District at 15-
                                     cv-03462)

      _____________________________________


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                                Introduction
      This case is a copyright infringement action over the iconic rock and roll song,

““Stairway to Heaven”” by Led Zeppelin. Plaintiff Michael Skidmore alleges that

the creator of the famous introduction to ““Stairway to Heaven”” was not Led

Zeppelin guitarist Jimmy Page, but actually guitar prodigy Randy California (aka

Randy Wolfe) of the band Spirit. The alleged copying by Led Zeppelin was of Mr.

Wolfe’s composition ““Taurus”,” on Spirit’s eponymous first album from 1968—

which Mr. Page admits to possessing. Plaintiff Michael Skidmore is the trustee of the

trust that was created to preserve the late Randy California’s memory.

      A quick listen to the composition of ““Taurus”” on Spirit’s first album and

““Stairway to Heaven”” makes it quite clear that Mr. Page undoubtedly relied upon

““Taurus”” to create the nearly identical introduction to ““Stairway to

Heaven”.” Led Zeppelin not only opened for Spirit in 1968, played several shows

with them, covered a Spirit song, and owned several Spirit albums, but Mr. Page also

extensively praised Spirit in interviews before and after he created ““Stairway to

Heaven”” in 1971. Despite Led Zeppelin’s denials, the jury was unequivocally clear

that Led Zeppelin had access to ““Taurus”,” one of the key elements in a copyright

infringement case.

      Yet, the jury did not find that the songs were substantially similar, the other


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key element for finding copyright infringement, finding against Plaintiff on the

extrinsic analysis test.

       The reason for this is because the lower court made several evidentiary errors

and also erroneously instructed the jury on how to perform the extrinsic analysis.

The most important of these errors was that the trial court refused to let the jury

hear the full and complete composition of “Taurus” embodied in the sound

recordings that Jimmy Page possessed, instead limiting the comparison to an outline

of the “Taurus” composition in the deposit copy lead sheet. The jury was not

allowed to compare the complete “Taurus” composition that defendant James

Patrick Page possess and allegedly copied, but instead was forced to make an artificial

comparison between an inaccurate version of “Taurus” more dissimilar to

“Stairway to Heaven”. This was highly prejudicial and requires reversal.

       Furthermore, although the “Taurus” deposit copy and “Stairway to

Heaven” are substantially similar, the trial court gave a series of erroneous

instructions on the scope of copyright protection and the extrinsic test which told

the jury that virtually none of the protected expression in the “Taurus” was

protected and could not be substantially similar to “Stairway to Heaven” as a matter

of law.

       These errors, and several others, resulted in a trial verdict for the defense on


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substantial similarity that was unfounded. The trial verdict should be reversed,

vacated, and remanded for a new trial.

                     Statement of Jurisdiction
      This appeal arises from a music copyright infringement trial in the Central

District of California. Pursuant to the Copyright Act, 17 U.S.C. § 101 et seq., the

District Court had federal question jurisdiction over the copyright claims pursuant

to 28 U.S.C. § 1331. The Ninth Circuit Court of Appeals has appellate jurisdiction

over this appeal pursuant to 28 U.S.C. § 1291, as Plaintiffs-Appellant are appealing

the final order of the District Court entered on June 23, 2016. Appellant’s notice of

appeal of the final order was timely filed on July 23, 2016, within the 30-day deadline

prescribed by FRAP 4.




                    Request for Oral Argument
      Appellant affirms that he believes that oral argument would be beneficial to

resolving this appeal and the issues raised herein as they are not only complicated

but the resulting Appellate court decision could affect many copyrighted works

under the 1909 Copyright Act.




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     Statement of Issues Presented for Review
      1)    Whether the trial court erroneously precluded the composition of
“Taurus” as embodied in the sound recordings of “Taurus”, artificially limiting the
substantial similarity comparison to an outline of “Taurus’s” composition
submitted to the Copyright Office.
      2)    Whether the trial court committed reversible error by failing to admit
the sound recording of “Taurus” to prove access.
       3)    Whether the trial court committed reversible error by refusing to give
an instruction on the inverse ratio rule without any explanation or justification for
the exclusion.
      4)      Whether the trial court committed reversible error by failing to
instruct the jury that combinations and arrangements of unprotectable musical
elements are protectable.
      5)     Whether the trial court committed reversible error by erroneously
instructing the jury on originality and the scope of protection for certain musical
elements.
      6)     Whether the trial court erroneously failed to play requested and correct
version of the “Taurus” deposit copy for the jury during deliberations.
       7)     Whether the trial court committed reversible error and violated
Plaintiff’s due process rights by inflexibly limiting plaintiff’s time to present his case
to ten hours, inclusive of direct exam, cross exam, and rebuttal.
       8)    Whether the trial court committed reversible error by erroneously
refusing to preclude the testimony of defense musicologist Dr. Lawrence Ferrara
who concealed his prior employment by Plaintiff’s publisher to analyze “Taurus”
and “Stairway to Heaven”.

                     Pertinent Legal Authority
      The 1909 Copyright Act, specifically sections 1(e) and 12, is attached as an

addendum to this brief.



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                    Statement of the Case
                Writing of “Taurus” and “Stairway to Heaven”
    Randy Wolfe was a musical genius. (Excerpt 281). In early 1966, at age 15, his

family moved to New York where in June, he met Jimi Hendrix. (Excerpt 283). While

playing many shows with Hendrix, Hendrix nicknamed Wolfe “Randy California.”

(Excerpt 284). Hendrix invited Wolfe to play with The Jimi Hendrix Experience in

London, however, Randy’s mother thought he was too young so Randy’s family

moved back to California in September 1966. (Excerpt 285).

       In late 1966, Wolfe met a girl named Robin whom he fell in love with and later

married. (Excerpt 285-86). Her astrological sign was “Taurus”, so Randy named a

new song he wrote “Taurus”. (Excerpt 286). In late 1966 through the summer of

1967 Wolfe’s band Spirit played every week in Hollywood at a club called the Ash

Grove. (Excerpt 287-88). One of the songs they played every night was “Taurus”.

(Excerpt 288). The recordings of Spirit playing the Ash Grove show that the

composition of “Taurus” was in a concrete, definite, and final form in early to mid-

1967. (Audio Exhibits 32-39).1 Later in early 1967, Wolfe met a producer named Lou

Adler who signed the band to a recording contract on August 29, 1967. (Excerpt 289-




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  All referenced audio exhibits and trial exhibits were submitted by way of a
concurrently filed Motion to Transmit to Physical Exhibits.
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90). The first Spirit album was released in late 1967. (Excerpt 317). Hollenbeck then

filed a copyright for “Taurus” that listed Randy California as the author. (Excerpt

2639, 2754). The composition of “Taurus” on the album recording was the same as

the earlier shows played at the Ash Grove. As part of the registration packet, a

deposit copy lead sheet was transcribed by “B. Hansen.” (Trial Exhibit 2058;

Excerpt 2642).

      The band later embarked that same year on a lengthy tour in support of the

album, which features, among other cuts, “Taurus” and another song called “Fresh

Garbage.” (Excerpt 289). The new group Led Zeppelin, consisting of Page, Plant,

bassist John Paul Jones, and drummer John Bonham (now deceased), was at that time

just starting. (Excerpt 309). On December 26, 1968, Led Zeppelin performed its first

show in the United States in Denver, Colorado. Zeppelin was the opening act that

night for Spirit and covered a Spirit song named “Fresh Garbage.” (Excerpt 309,

484-87) (Trial Exhibit 313).

      Led Zeppelin and Spirit continued to play shows together (Excerpt 314), and

even when the members of Led Zeppelin were not performing, they came to Spirit

shows to watch. (Excerpt 360-61; Trial Exhibit 321). In interviews at the time, Page

expressed his affection for Spirit, their music, and their performances, stating that

Spirit struck him on an “emotional level.” (Trial Exhibits 157, 160). In homage to


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Spirit, Led Zeppelin had been performing the Spirit song Fresh Garbage at its own

shows even before Zeppelin opened for Spirit on December 26, 1968. (Excerpt 484-

87)

      Led Zeppelin wrote “Stairway to Heaven” in 1970 and 1971, as part of the

unnamed album commonly known as Led Zeppelin IV. (Excerpt 650). Defendants

Page and Plant have writing credit for “Stairway to Heaven,” which is one of the

most successful songs in history. (Excerpt 694). A former Spirit band member, Larry

Knight, testified that in 1973 he spoke with defendant Page in 1973 at an after party

for a Spirit show, where Page gushed how much he liked the band. (Excerpt 711-12).

Knight also testified that he saw Randy California and defendant Page interacting at

the after party. (Excerpt 713-14)

                      Filing of Lawsuit, Litigation, and Trial
      After Randy Wolfe’s drowning death in 1997, his mother set up the Randy

Craig Wolfe Trust. (Excerpt 293-94). All of Randy California’s intellectual property,

including his ownership in “Taurus”, was transferred to the Trust. (Excerpt 846).

After the decision in Petrella v. MGM stating that copyright infringement lawsuits

could be filed for infringement within the last three years, the Trust filed suit against

Led Zeppelin for infringing Wolfe’s song “Taurus” in the famous song “Stairway

to Heaven.” (Excerpt 2713). The specific musical expression at issue were the iconic


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opening notes of “Stairway to Heaven” which Plaintiff alleges are substantially

similar to “Stairway to Heaven’s” opening notes.

      Defendants disputed ownership, access, and substantial similarity, and also

alleged several affirmative defenses such as unclean hands and independent creation.

(Excerpt 2645, 2681, 1868). After discovery, Defendants filed for summary

judgment alleging, inter alia, that the songs were not substantially similar, and also

that the only protectable expression in Taurus was in the deposit copy lead sheet.

(Excerpt 2598). Plaintiff responded in opposition to the motion, noting that his

experts had found that the protectable composition in the Taurus copyright was

nearly identical to Stairway to Heaven’s iconic opening notes. (Excerpt 2412, 2504,

2180, 2199, 2231; Audio Exhibits 7-11 [Taurus/Stairway Comparison], 40-44 [same

but temp synced]).

      The Court denied summary judgment and found that there were triable issues

of fact on ownership, access, and substantial similarity. (Excerpt 117). However, at

summary judgment, over Plaintiff’s opposition (Excerpt 2436-37), the court stated

that the protected composition of “Taurus” was limited to the deposit copy lead

sheet of “Taurus.” (Excerpt 133).

      After motions in limine were filed, the Court further ruled (again over

Plaintiff’s objections) that only the exact notes on the deposit copy of “Taurus” had


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protection under the 1909 Act and that no sound recordings of “Taurus” could be

admitted. (Excerpt 73-74, 1865, 1866-67). The Court also precluded any sound

recording of “Taurus” to prove access, and also precluded any and all expert

testimony on access by comparing the sonic landscapes and production techniques

utilized in “Taurus” and “Stairway to Heaven.” Id. Plaintiff contended the sound

recordings, even if precluded (erroneously) for substantial similarity, nevertheless

demonstrated striking similarity for proving access and lack of independent creation.

(Excerpt 1831, 2101, 2114).

         At trial, the Court imposed rigid, inflexible time limits on the parties, stating

that Plaintiff would only be entitled to 10 hours of trial time for all direct, cross, and

rebuttal examination---and erroneously refused to meaningfully extend the limits.

(Excerpt 89, 1064-65). An approximately five day jury trial then took place.

Plaintiff’s experts were musicologist Dr. Alexander Stewart (Excerpt 771) and

master guitarist Kevin Hanson (Excerpt 726). Defendant’s experts were Dr.

Lawrence Ferrara (Excerpt 929), and master guitarist Robert Mathes (Excerpt

1090).

         Following the trial, the court instructed the jury. (Excerpt 11-44, 1372).

Plaintiff’s contends that the Court gave several erroneous or inadequate

instructions, including a misleading and confusing description of the extrinsic test


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and the scope of protection in copyright law. The jury returned a defense verdict,

finding that Plaintiff had proven ownership of “Taurus” and that Defendants had in

fact had access had access to “Taurus”, but that Plaintiff had not satisfied the

extrinsic test for substantial similarity. (Excerpt 3-6).

      This appeal timely followed.

                        Summary of Argument

      1. The Court Erroneously Precluded the Composition of “Taurus” as
         Embodied in the Sound Recordings of “Taurus”, Artificially Limiting
         the Substantial Similarity Comparison to an Outline of “Taurus’s”
         Composition Submitted to the Copyright Office
      The first reversible error of the trial court was its refusal to allow the jury to

consider the actual composition of “Taurus” by Randy California and recordings

which evidenced the same. The jury never heard “Taurus” as Jimmy Page (and the

rest of the public) heard the song in 1967-68 and in which Plaintiff had protection. The

jury was made to artificially compare a version of “Taurus” more dissimilar to

“Stairway to Heaven” than the complete composition.

      The lower court incorrectly held that the composition of “Taurus” was

strictly limited to the exact notes indicated on a simplistic archival lead sheet of

“Taurus” that had been submitted to the Copyright Office in 1967 as part of the

registration packet, but which had never been performed or seen by anyone other


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than the transcriptionist. The Court precluded any and all evidence regarding the

actual album recording and composition of “Taurus” which Defendants had heard

and copied and in which Plaintiff had copyright protection.

       These rulings were plainly incorrect. For works created prior to the

Copyright Act of 1976, and governed by the 1909 Copyright Act, a work had

common law copyright protection for its composition in the song’s final version at

the moment of creation. Upon registration with the Copyright Office, the common

law copyright protection then became a federal copyright. The 1909 Copyright Act

specifically defines the scope of protectable compositional expression in a musical

work as “any system of notation or any form of record in which the thought of an

author might be recorded and from which it may be read or reproduced.” 1909 Act,

§ 1(e). This includes piano rolls, recordings, sheet music, and any other form of

expression. The 1909 Act was specifically enacted to open up the scope of protected

expression beyond merely sheet music. There is no indication that federally

registering the common law copyright could in anyway result in the limitation of the

scope of the copyright.

       The lower court based its decision on an erroneous belief that only written

sheet music has compositional protection. The court thus thought that when the

1909 Act required that “complete copy” of the work being copyrighted be


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submitted to the Copyright office with the registration application, that such copy

delimited the scope of protection in the work. See 1909 Act, § 12. But, nowhere in

the case law or the 1909 Act, is it contemplated that this purely archival requirement

governs the scope of the composition in the work. The Seventh and Ninth Circuit

Courts, who have examined this deposit requirement, both hold that the substantial

similarity comparison is not limited to the notes on the deposit copy lead sheet and

that sound recordings are admissible to prove that protected expression was copied.

       The result at trial was that Plaintiff and his experts were forced to compare a

more dissimilar and inaccurate version of “Taurus” to “Stairway to Heaven”,

instead of the correct and complete composition in the album version of “Taurus”

which is practically identical to “Stairway to Heaven”. This was highly prejudicial,

unprecedented, and requires vacation, reversal and remand.

      2. The Trial Court Committed Reversible Error by Failing to Admit the
         Sound Recording of “Taurus” to Prove Access
      The court also precluded the sound recordings of “Taurus” to prove access,

despite admitting that it was relevant for this purpose. In this case, Led Zeppelin was

disputing that they had access to “Taurus” or had ever heard it prior to creating

“Stairway to Heaven”. Plaintiff presented much evidence of access, including that

Led Zeppelin opened for Spirit, extensively praised Spirit, and owned Spirit albums

(including one with “Taurus” on it). However, the centerpiece of the access case


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was the fact that the sonic landscapes of “Taurus’s” album recording and “Stairway

to Heaven’s” album recording are practically identical and preclude independent

creation.

      Plaintiff therefore intended to play the “Taurus” album version that Jimmy

Page admits to owning for Page, and ask if Page and Plant heard “Taurus” before

creating “Stairway to Heaven”. It would be up to the jury to evaluate Page and

Plant’s credibility. Plaintiff also intended to demonstrate through expert testimony

that the sonic landscape of the two songs was strikingly similar and precluded

independent creation. Yet, the trial court simply refused to let the jury hear the

sound recording that Page had listened to and used to create the infringing song

“Stairway to Heaven”, finding that it would be “unduly prejudicial” to the

substantial similarity comparison.

      It was Defendants’ choice to contest access. Their contest of access made the

album recording of “Taurus” relevant. It was not for the court to preclude the jury

from hearing this highly relevant evidence, and to prevent expert testimony on this

topic, when Plaintiff had to prove this element. This is an example of the Court

bending over backwards to preclude evidence that damaged Defendants’ case. The

court’s ruling that the album recording is “unduly prejudicial” to the substantial

similarity comparison is a de facto admission that the album version of “Taurus”


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that was improperly precluded for both access and substantial similarity was nearly

identical to “Stairway to Heaven”.

       Plaintiff notes that although the jury found that he did prove access, the

court’s decision to preclude the sound recording prevented Plaintiff from otherwise

establishing a higher a degree of access. The degree of access is important under the

Inverse Ratio Rule.

       3. The Court Committed Reversible Error by Refusing to Give an
          Instruction on the Inverse Ratio Rule Without Any Explanation or
          Justification for the Exclusion
       The lower court’s third reversible error was that the trial failed to give an

instruction on the Inverse Ratio Rule, which states that the higher degree of access

proven by the plaintiff requires the jury to concomitantly lower the burden of proof

for the plaintiff on proving substantial similarity.

       Plaintiff spent a great deal of its case proving access (and was successful in

doing so) relying on the fact that the Inverse Ratio Rule has been the law in the Ninth

Circuit for decades. The inverse ratio rule provides that the higher the degree of

access proven by Plaintiff lowers Plaintiff’s burden to prove substantial similarity.

       The failure to give this important instruction enervated a huge part of

Plaintiff’s trial strategy and was reversible error. It is impossible that the jury reached

an informed decision on substantial similarity when it was never instructed by the

trial court on how to determine the appropriate burden for substantial similarity.
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Access and substantial similarity are inextricably linked, yet the jury was asked to

render a verdict without a key instruction that describes this relationship.

      4. The Trial Court Committed Reversible Error by Failing to Instruct the
         Jury that Combinations and Arrangements of Unprotectable Musical
         Elements are Protectable
      The Court erroneously told the jury how to conduct the extrinsic substantial

similarity test. The jury was never told that combinations of otherwise unprotectable

elements can themselves be afforded protection. This is a key concept to

understanding the protectability of compositions and the extrinsic test and was a

large basis for Plaintiff’s expert musicologist’s opinion.

      Despite Plaintiff and Defendants both asking for this standard instruction, the

trial court simply failed to give the instruction at all, without explanation. The failure

to give this instruction failed to inform the jury about a key copyright concept

without which the jury’s conclusion, that the extrinsic test was not satisfied, could

not have been based on an informed understanding of what expression is protectable

and capable of being copied. This was highly prejudicial, reversible error.

      5. The Court Committed Reversible Error by Erroneously Instructing
         the Jury on Originality and the Scope of Protection for Certain Musical
         Elements
      The trial court erroneously instructed the jury on originality, stating that if a

musical element or device appeared in the prior art, it was unprotectable. This is, in

fact, not true under binding Ninth Circuit precedent. As long as the element in

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question was independently created by the artist, it is original and protectable.

      In addition, the jury was told by the lower court that certain musical elements,

such as descending chromatic scales, are not protectable as a matter of law. This was

actually incorrect and unsupported by any case law; the expert testimony made it

clear that the way the descending chord was used in “Taurus”, and copied in

“Stairway to Heaven”, was in fact unique and protectable.

      Thus, the jury was erroneously told that a vast swath of musical expression in

“Taurus” was not protected under copyright law as a matter of law. This instruction

compounded the court’s error in not instructing the jury that combinations and

arrangements of protected and unprotected elements are protectable and was

reversible error

      6. The Trial Court Erroneously Failed to Play Requested and Correct
         Version of the “Taurus” Deposit Copy During Deliberations
      The jury requested that Plaintiff’s guitar version of the “Taurus” deposit

copy be played during deliberations, along with “Stairway to Heaven”. Plaintiff

argued that the jury obviously meant the bass clef of the “Taurus” deposition, which

is similar to “Stairway to Heaven” and was played throughout trial---not the version

of the “Taurus” deposit copy which combined the bass and treble clef which

Defendants advocated for (the two clefs are supposed to be played separately and

this version was only played once during trial). Upon being asked by the court, one

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juror told the court that he wanted the bass clef played as Plaintiff had argued, while

another stated that it wanted the version Defendants advocated for.

       The court erroneously only played the version more favorable to Defendants,

after which the jury found in favor of defendants on substantial similarity. This was

highly prejudicial reversible error.

       7. The Trial Court Committed Reversible Error and Violated Plaintiff’s
          Due Process Rights by Inflexibly Limiting Plaintiff’s Time to Present
          His Case to Ten Hours, Inclusive of Direct Exam, Cross Exam, and
          Rebuttal
       The trial court stated at the beginning of the case that it was limiting Plaintiff

to ten hours to try the entire case, including direct, cross, and rebuttal witnesses.

This extremely short time limit to try a very complicated case is unjustifiable and

arbitrary. In this case, nearly every element of the copyright claims were in dispute

and there were multiple affirmative defenses to contend with. Plaintiff had the

burden of establishing at trial the elements of ownership, access, and substantial

similarity, yet was only allotted approximately 5 to 6 hours by the trial court to do so.

       Moreover, the Court was incredibly inflexible in adjusting these time limits as

necessary, which severely harmed Plaintiff’s substantial similarity case in particular.

The court allowed Plaintiff’s counsel just minutes to cross examine the main defense

musicologist, and refused to allow any rebuttal witnesses on substantial similarity.

Plaintiff lost this case on substantial similarity.

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      These extremely short time restrictions are unprecedented in a trial of this

complexity, where Defendants contested nearly every element of the claim. Plaintiff

is entitled to a sufficient amount of time to carry his burden and dispute Defendants’

evidence; a ten hour limitation on a case of this complexity is arbitrary, clearly

erroneous, and is reversible error.

      8. The Trial Court Committed Reversible Error by Erroneously
         Refusing to Preclude the Testimony of Defense Musicologist Dr.
         Lawrence Ferrara who Concealed His Prior Employment by
         Plaintiff’s Publisher
      The court should have precluded the appearance and testimony of defense

expert musicologist Dr. Lawrence Ferrara in its entirety, or granted a negative

inference against him. Shortly before the case went to trial, Plaintiff discovered that

Defendants and defense counsel were concealing the fact that their lead

musicological expert, Dr. Lawrence Ferrara, had previously conducted a

musicological analysis of “Taurus” and “Stairway to Heaven” for Plaintiff’s

publisher and fiduciary. Plaintiff has asked for any and all such information and

reports in discovery, but this was never produced or disclosed.

      Although Plaintiff both filed a motion for sanctions and raised this objection

at trial, the Court improperly failed to preclude Dr. Ferrara’s testimony despite the

fact that there was an undeniable conflict of interest which was improperly hidden.




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                                   Argument

   1. The Full Composition of “Taurus” as embodied in the Album Recording
      Should Have Been Admitted at Trial for the Substantial Similarity
      Comparison; The Archival Deposit Lead Sheet Does Not Limit the Scope
      of Protectability in a 1909 Act Musical Work
         a.    Standard of Review

         Rulings at summary judgment are reviewed de novo. Villiarimo v. Aloha Island

Air, Inc., 281 F. 3d 1054, 1061 (9th Cir. 2002).

         Erroneous evidentiary rulings can be the basis to reverse a jury verdict and

order a new trial. Ruvalcaba v. City of Los Angeles, 64 F. 3d 1323 (9th Cir. 1995)

(citing United States v. 99.66 Acres of Land, 970 F.2d 651, 658 (9th Cir. 1992)); see

also Advanced Display Sys., Inc. v. Kent State Univ., 212 F.3d 1272, 1275 (Fed. Cir.

2000); Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197, 206-208 (9th Cir.

1989).

         Evidentiary rulings based on legal errors are reviewed de novo. US v. Hinkson,

585 F. 3d 1247, 1260 (9th Cir. 2009). This erroneous evidentiary ruling is legal in

nature and should be reviewed de novo.

         b.    Objection Raised Below

         The trial court ruled over Plaintiff’s objection at summary judgment and on

motions in limine that only the exact notes on the deposit copy lead sheet constitute

the protectable composition of “Taurus”. (Excerpt 73, 613-14, 635, 736). The jury

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instructions erroneously told the jury “plaintiff has no rights in any sound recording

of “Taurus”, and claims rights only in the musical composition “Taurus” as

transcribed in the deposit copy.” (Excerpt 29). Plaintiff opposed this argument and

ruling at, inter alia, summary judgment (Excerpt 2149-52, 2436-38, 2516), motions

in limine (Excerpt 2115-17, 2122-23, 2095-2097), in the disputed jury instructions

(Excerpt 2015-16), and at trial. (Excerpt 597-98, 734-36).

      c.     Argument - The Trial Court Erroneously Failed to Admit the
             Sound Recordings of “Taurus”, and the Composition Thereof, for
             the Substantial Similarity Comparison; the Jury Was Made to
             Compare an Artificial, Inaccurate Version of “Taurus” to
             “Stairway to Heaven”, Resulting in a Defense Verdict of
             Substantial Similarity

      The Court improperly did not admit the correct and complete composition of

“Taurus”. The correct and complete composition of “Taurus” was that embodied

in the album recording of “Taurus” released to the public in 1967-68. (Excerpt 2122,

Audio Exhibit 32 - “Taurus” [submitted by way of Motion to Transmit Physical

Exhibit]). This was the version of “Taurus” that Jimmy Page owned, heard from the

album, heard live in concert, and copied. (Excerpt 493, 462, 553-56). The

composition contained and represented in the “Taurus” album recording (and other

live “Taurus” recordings) was the best evidence for the substantial similarity

comparison between “Taurus” and “Stairway to Heaven”.


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      However, the trial court erroneously ruled that the only composition of

“Taurus” that was admissible for the substantial similarity comparison were the

exact notes on the archival deposit copy of “Taurus” submitted to the Copyright

Office in 1967 for the song’s federal copyright registration. (Excerpt 73, 613-14, 635,

736). The ruling by the court, that only the exact notes on the archival lead sheet

constituted the protected expression in “Taurus”, was clearly erroneous as a matter

of law. The Court’s ruling was unprecedented and directly contradicts Ninth Circuit

precedent.

      This was an unduly prejudicial evidentiary ruling which prevented Plaintiff

from using the composition of “Taurus” most similar to “Stairway to Heaven”.

                i. The Scope of Protection for Musical Works Under the 1909
                   Copyright Act Extends to the Compositional Parts of the
                   Work Consistently Played the Same from Performance to
                   Performance

      The 1909 Act was implemented because Congress believed that limiting

copyright protection to sheet music alone was too restrictive with the advent of new

ways of recording music such as piano player rolls. Compare Copyright Act of 1909,

35 Stat. 1075 (1909) (repealed 1978) with White-Smith Music Publ’g Co. v. Apollo

Co., 209 U.S. 1, 10-11 (1908) (holding that the only musical expression protected

under 1831 Copyright Act was sheet music and inviting Congress to expand scope of



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protection). Thus, Congress moved to expand the scope of copyright protection in

the 1909 Act by defining the scope of protection in musical works as:

             any system of notation or any form of record in which the
             thought of an author might be recorded and from which it may
             be read or reproduced.
1909 Act, § 1(e). The composition of a musical work is defined as those parts of a

work consistently played the same. Newton v. Diamond, 204 F. Supp. 2d 1244, 1259

(C.D. Cal. 2002) (“A musical composition’s copyright protects the generic sound

that would necessarily result from any performance of the piece.”).2 (See also

Excerpt 2122, 2095-99).

      “Under the 1909 Act, a work was protected by common law copyright from

the moment of its creation.” Summary Judgment Opinion (Excerpt 126) (citing

Societe Civile Succession Guino v. Renoir, S49 F .3d 1182, 1185 (9th Cir. 2008)).

However, common law copyright protection was divested, and federal copyright

protection began, when the work was published and/or registered with the Copyright

Office. Id. (citing Williams v. Bridgeport Music, Inc., No. LA CV13-06004, 2014

WL 7877773, at *8 (C.D. Cal. Oct. 30, 2014); Cosmetic Ideas, Inc. v.

IAC/lnteractivecorp., 606 F.3d 612, 618 (9th Cir. 2010)).


2
 Plaintiff wanted to introduce multiple recordings of “Taurus”, both live and in the
studio, to illustrate what compositional elements of “Taurus” necessarily resulted
from any rendition of the piece, excluding any performance related aspects which do not
deserve protection. (Excerpt 2095-99 - Declaration of Erik Johnson).
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               ii. The Deposit Copy Lead Sheet Does Not Limit the Scope of
                   Copyright in a Musical Work Created by Common Law and
                   Defined in 1909 Act, §1(e)

      As part of the registration process another section of the 1909 Act requires

that a “complete” copy of the work being copyrighted be submitted with the

copyright office. 1909 Act, §12. However, this deposit requirement has always been

purely archival in nature and was never intended to affect the scope of copyright

protection provided for in §1(e). 2 NIMMER ON COPYRIGHT §7.17[A] (2016).

There is no case law anywhere which states that the scope of common law copyright

protection that works obtain once created, Societe Civile Succession, S49 F .3d at

1185, could somehow be limited by registering the copyright with the Copyright

Office. The very notion is absurd.

      The Seventh Circuit noted that the 1976 Copyright Act (substantively

identical, in this respect, to the corresponding predecessor sections of the 1909 Act)

does not require a deposit copy be submitted for the purpose of disclosing and

establishing any claimed scope of copyright protection:

             [the Copyright Act] when viewed as a whole negates the notion
             that deposit requirements are for the purpose of delineating the
             scope of a copyright through public disclosure.
National Conference of Bar Examiners v. Multistate Legal Studies, 692 F. 2d 478

(7th Cir. 1982). Indeed, nowhere does the 1909 Act state that the deposit copy


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submitted pursuant to §12 governs the scope of copyright protection, nor does any

appellate case law. Instead, registration (which includes the deposit copy

requirement) is simply a “precondition” to filing a copyright infringement lawsuit.

See Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154, 157–69 (2010). It is not

substantive.

      Ninth Circuit precedent conforms with the Seventh Circuit’s National

Conference of Bar Examiners opinion that the deposit copy lead sheet does not

define the scope of copyright. In Three Boys Music Corp. v. Bolton, 212 F.3d 477

(9th Cir. 2000), the Ninth Circuit was confronted with what a “complete copy”

means for a musical work under the 1909 Act. The Court held that

               Although the 1909 Copyright Act requires the owner to deposit
               a ``complete copy'' of the work with the copyright office, our
               definition of a ``complete copy'' is broad and deferential:
               ``Absent intent to defraud and prejudice, inaccuracies in
               copyright registrations do not bar actions for infringement.''
               Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir.1984)
               (citations omitted).
Id. at 486-87. The Ninth Circuit then permitted an extensive analysis in Three Boys

Music of the composition of the album recording of the underlying song and this

Circuit did not limit the comparison to the deposit lead sheet or preclude the

sound recordings. Id. at 485-86. In that case the defendants were making a highly

similar argument to the one in this case, that the inaccurate/incomplete deposit copy


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lead sheet should have controlled the litigation. Id. at 486-87 (“[defendants] claimed

that the deposit copy does not include the majority of the musical elements that were

part of the infringement claim”).

      The Ninth Circuit’s holding simply noted that when an incomplete or

inaccurate deposit copy had been submitted for a nonfraudulent reason, and all the

parties were well aware of the underlying work that was alleged to have been copied,

it is simply not prejudicial to focus the case on the actual composition of the musical

work embodied in the album version of the song, instead of an inaccurate version of

the deposit lead sheet. Id. at 486-87. The Three Boys Music approach not only

comports with the entire purpose and language of the 1909 Act, but avoids elevating

form over substance, something decried by the Supreme Court. See Copperweld

Corp. v. Independence Tube Corp., 467 US 752, 762-63 ( 1984) (disapproving of

legal doctrine that “‘makes but an artificial distinction’ at the expense of

substance”); United Housing Foundation, Inc. v. Forman, 421 US 837, 848 (1975);

Graver Mfg. Co. v. Linde Co., 339 US 605, 607 (1950).

      Numerous other cases confronted with more or less the same question have

held that the deposit copy does not control what the work is: Scentsy, Inc. v. B.R.

Chase, LLC, 942 F. Supp. 2d 1045, 1051 (D. Idaho 2013), aff’d in part & rev’d in part

on other grounds sub nom., Scentsy, Inc. v. Harmony Brands, LLC, 585 F. App’x 621


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(9th Cir. 2014); Sylvestre v. Oswald, No. 91 Civ. 5060, 1993 U.S. Dist. LEXIS 7002

at *4 (S.D.N.Y. May 18, 1993); KnowledgePlex v. Placebase, Inc., No. C 08-4267,

2008 U.S. Dist. LEXIS 103915, at 29–30 (N.D. Cal. Dec. 17, 2008);3 see also

Washingtonian Publ’g Co. v. Pearson, 306 U.S. 30, 41 (1939) (“the requirement for

deposit is not for the purpose of a permanent record of copyrighted publications and

. . . such record is not indispensable to the existence of the copyright”).

      The defense expert himself, Dr. Lawrence Ferrara, testified in his deposition

that “Stairway to Heaven’s” “finished composition” is embodied in the album

recording of that song not the deposit copy. (Excerpt 1650). Indeed, the trial court

allowed the full composition of “Stairway to Heaven” to be played ad nauseam.

      Note that deposit copy lead sheets submitted to the Copyright Office are

almost always outlines of the registered work and almost never represent the entirety


3
  The trial court stated that Three Boy Music and KnowledgePlex’s rulings are
distinguishable because the deposit copy requirement is jurisdictional in nature.
(Excerpt 132). First, this is not accurate. The Supreme Court ruled in Reed Elsevier,
559 U.S. at 157–69 (that registration requirements are not jurisdictional, but simply
are preconditions to suit. Second, regardless whether the requirement is
jurisdictional, a precondition, or substantive, it is a distinction without a difference.
There is no reason to distinguish between jurisdictional or substantive reasons what
“complete” means under the 1909 Act. Clearly, under the 1909 Act, the common
law, and the applicable case law, the deposit copy was never intended to define the
scope of the composition of a copyright. Third, if the registration deposit
requirement is jurisdictional or a precondition, this actually supports Plaintiff’s
point. A jurisdictional requirement of the 1909 Act should not be used to delimit the
scope of copyright protection in a work.
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of the protected composition covered by §1(e). (Excerpt 2515-16 - Plaintiff’s Expert

Report); KnowledgePlex, C 08-4267 JF (RS), 2008 WL 5245484, at *9. For

example, the lead sheet deposit copy submitted for “Stairway to Heaven” is

significantly incomplete when compared to the actual composition of the song in the

album recording. (Excerpt 1649-51). The “Stairway to Heaven” deposit copy does

not even include the iconic opening notes, and defense musicological expert Dr.

Lawrence Ferrara admitted that the transcription he made of “Stairway to

Heaven’s” “finished composition” in the album recording was around 11,000 notes,

while the “Stairway” deposit copy was just 400. (Excerpt 1649-51).

      All of the foregoing illustrates that neither Congress, the courts, nor the music

community ever intended or thought that the deposit copy being submitted to the

Copyright Office (as a simple prerequisite to obtain federal copyright) in anyway

could limit the common law copyright that vested in the song at the time of creation.




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               iii. Despite the Case Law and 1909 Act Being Clear that the
                    Deposit Copy Does Not Limit the Scope of Protection in a
                    Musical Work, The Court Ruled that Plaintiff Could only
                    Compare the Exact Notes of the “Taurus” Deposit Copy to
                    the “Stairway to Heaven” Album Recordings and Could Not
                    Play Sound Recordings of the Song

      The trial court badly misunderstood basic copyright law principles leading to

the erroneous ruling. This is illustrated by how the court chose to instruct the jury

on musical compositions:

             A musical composition consists of rhythm, harmony and melody
             as transcribed in written form. The performance of a musical
             composition can be recorded, but under the law musical
             composition and sound recordings are different works with
             different potential copyrights.
(Excerpt 29). It is flat wrong to state that a musical composition only exists as

transcribed in written form and explicitly contradicts 1909 Act, §1(e). There is no

case law to support such a statement. It contradicts black letter copyright law and

binding Ninth Circuit precedent. Swirsky v. Carey, 376 F.3d 841, 849 (9th Cir.

2004); Three Boys Music, 212 F.3d at 485; see also Newton, 204 F. Supp. 2d at

1259. A protected musical composition can obviously exist wholly independent of

written sheet music in a piano roll, a sound recording, or a video. Id. In Bridgeport

Music, Inc. v. UMG Recordings, Inc., the Sixth Circuit observed that a song’s

composition could be “embedded in the sound recording,” independent of any sheet

music. 585 F.3d 267, 276 (6th Cir. 2009).
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      Because of this failure to understand basic copyright principals, the trial court

ruled that the scope of copyright protection in a work is strictly limited to only the

exact notes on the written deposit copy lead sheet. (Excerpt 73, 613-14, 635, 736)

(stating to Plaintiff’s expert Kevin Hanson: “You can play notes of the deposit copy

only.”).

      This was the first time in history such a restrictive ruling had been made and

there was no support for it in the 1909 Act, the common law, or the case law applying

the same. The Court even prevented Plaintiff from presenting evidence on the tempo

and genre of “Taurus”, clearly protectable compositional elements under the 1909

Act, because they were not written on the deposit copy. (Excerpt 512, 1048-49). All

of this can be connected to the court’s erroneous belief that a musical composition

only exists in written form.

      The Court erroneously imported into §12 of the 1909 Act a meaning and

purpose it was never intended to have (to limit the scope of copyright), which was

instead a task explicitly addressed by §1(e) and the common law. Indeed, in the last

century, no court has ever so limited a copyright infringement substantial similarity

comparison as this court did. The trial court’s decisions were based on a thoroughly

erroneous view of basic copyright law principles.




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               iv. At a Minimum the District Court Should Have Ruled that
                   Composition in the Sound Recording is Admissible to the
                   Extent Represented in the Deposit Copy

      After the court erroneously ruled at summary judgment that the deposit copy

limited the scope of copyright protection in “Taurus” from the protection it was

originally afforded under common law and section 1(e), Plaintiff also argued that the

court should adopt the approach of the court in the Williams v. Bridgeport case

(Blurred Lines). See (Excerpt 2115-17) [Plaintiff’s Response to Defense MIL 3]

(citing Williams v. Bridgeport, Order Denying Post-Trial Motions, 13-cv-6004 (Doc.

No. 423), at p7. (7/14/2015) (“I think [the Gaye Parties’ expert] testimony is going

to have to be based on the deposit copy. It's not to say they can't have listened to the

sound recording as part of their analysis. They simply can't present to the jury an

opinion that says, ‘[b]ecause I listened to the sound recording, I've reached this

conclusion.’”)).

      The trial court in that case held that as long as there was expert testimony that

the composition in the sound recordings were represented in some way in the deposit

copy, that the compositions in the recordings were admissible to the extent

embodied in the deposit copy. Id. Plaintiff made the same argument as Bridgeport at

motions in limine Id. Plaintiff’s experts opined that all pertinent elements of

“Taurus”, especially the guitar melody central to the case, are represented on the


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deposit copy and that those compositional elements are also present in the “Taurus”

sound recording. (Excerpt 2122-23). Plaintiff’s argument was disregarded by the trial

court. (Excerpt 73-74).

      These incredibly restrictive rulings are clearly a result of the court’s erroneous

belief that only written sheet music can constitute musical composition. Even if this

Circuit holds that the deposit copy can in some way limit the scope of copyright

protection, it should reverse the trial verdict because Plaintiff was not allowed to

produce evidence of what compositional elements from the “Taurus” album version

were embodied and represented in the deposit copy.

                v. The Substantial Similarity Comparison Mandated by the
                   Trial Court was Completely Artificial and Highly Prejudicial

      Plaintiff, the experts, and the jury were made to compare a version of

“Taurus” which had never been heard or played by anyone (the deposit copy),

including Randy Wolfe and defendant Jimmy Page. Consider, how can a defendant

copy a work he has not seen and did not have access to? How can a piece of paper

the defendant never saw be the basis of the substantial similarity comparison? The

district court’s ruling creates a nonsensical, artificial comparison.

      The artificial, highly prejudicial comparison in this case resulted in a

comparison between a version of “Taurus” more dissimilar to “Stairway to

Heaven” than the actual composition from the album version of “Taurus”,

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something noted by both Plaintiff’s expert and defense expert Robert Mathes. See

Declarations of Experts (Excerpts 2515, 2359, 2192, 2204-07, 2122-23, 2096-99).

      Indeed, Plaintiff’s experts stated that the compositions of the album versions

of both “Taurus” and Stairway are nearly identical. (Excerpts 2515, 2359, 2192).

Furthermore, Plaintiff’s expert Brian Bricklin took defense expert Mathes’s

performance of the compositions in the “Taurus” album version and the “Stairway

to Heaven” album version and overlaid them on top of each other. Mr. Bricklin

observed that the two compositions are indistinguishable and are the same

“underlying composition.” (Excerpt 2192, Audio Exhibits 45-47 [Submitted by

Motion to Transmit Physical Exhibits]). However, due to the trial court’s erroneous

rulings precluding the “Taurus” sound recordings and compositions, the jury never

heard any of this highly probative evidence.

      Should the district court’s decision be affirmed, in approximately 100% of pre-

1976 Act cases the substantial similarity comparison will be between a deposit copy

the defendant will have never seen or heard, and the allegedl infringing song. Artists

simply do not go into the Copyright Office’s archives to see what someone wrote

down on paper. They listen to the underlying source song that is publicly available.

Page admitted that he had never asked the Copyright Office for the lead sheet of

“Taurus”. (Excerpt 507-08). It is therefore ridiculous and artificial to base the


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substantial similarity comparison on the deposit copy that no defendant will have

ever seen.

      It is important not to lose the forest for the trees. The purpose of the copyright

infringement comparison is to protect the rights of creators and originators of

original expression by cracking down on those who steal another’s work. The

artificial comparison the lower court instructed the jury to undertake was not the

comparison mandated by law or the underlying purpose of copyright law. The

substantial similarity comparison in this trial was artificial, highly prejudicial, and

must be redone.

               vi. The Implications of the District Court’s Rulings are Wide
                   Ranging and Unprecedented

      There are many, many works made prior to the 1976 Act which would be

affected by the ruling of this court: that only the exact notes in the deposit copy are

protectable.

                    A. An Affirmance of the Court’s Ruling Means that A Sound
                       Recording of An Underlying Song Can Never Be Played to
                       a Jury in a Copyright Infringement Case

      The district court’s ruling in effect means that a sound recording of a pre-1978

composition can never be played to the jury in a copyright infringement case and that

the only relevant evidence to prove a composition of a 1909 Act song is the deposit

copy. This is absurd and has never been the law. Copyright infringement trials

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routinely play the songs in question to the jury and then use experts to identify what

parts of the composition of the song are protectable and copied. See Three Boys

Music, supra. The notion that a recording of the composition at issue cannot be

played and instead only the deposit copy must be relied upon is bizarre. It is vital and

crucial to the future of copyright law that this Circuit overturn the district court’s

clearly erroneous ruling and remand for a new, unfettered trial.


                    B. Vast Amounts of Musical Expression would Lose
                       Protection, Exactly the Opposite of the Purpose of the
                       Copyright Acts, if the Trial Court’s Rulings are Upheld

       Many songs were and are not composed on paper and are instead composed

on musical instruments. Their lead sheets, made after the songs were composed

solely for purpose of registering the copyright, were never intended to represent the

totality of the song’s protection, only to satisfy the archival function of the Copyright

Act.

       This was the case of “Taurus”, where Randy California composed it on his

guitar and did not write the deposit copy lead sheet. (Excerpt 2642 - “Taurus”

Deposit Transcribed by “B. Hansen 1967”; Trial Exhibit 2058). This was the case

for “Stairway to Heaven”, where the song was composed by Led Zeppelin over

several different takes without utilizing sheet music. (Excerpt 651-52). This was the

case in the Blurred Lines case, again because Marvin Gaye composed music in the

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studio. Williams v. Bridgeport, 13-06004, Doc. No. 232-1, at p.15 of 29. This was the

case in UMG Recordings, Inc., where the Sixth Circuit observed that the artist wrote

the songs in the studio. 585 F.3d at 276.

      Affirming the district court’s ruling that the deposit copy requirement limits

the scope of copyright would divest copyright protection from massive amounts of

expression and completely upend a century of case law interpreting the 1909 Act.

                    C. The Copyright Office Does Not Keep the Deposit Copies
                       Indefinitely; What Happens to those Works for Which the
                       Deposit Copies Have Been Lost?

      If the district court’s rulings are affirmed, what happens if the deposit copy no

longer exists? The Library of Congress need not add all deposited works to its

collection and their retention is purely discretionary, "for the longest period

considered practical and desirable by the Register of Copyrights and the Librarian of

Congress." Nimmer on Copyright, § 7.17[a] (1981). Moreover, at least one Circuit

court has observed that the deposit copy is not indispensable to the existence of the

copyright. Pearson, 306 U.S. 30, 41 (1939) (“the requirement for deposit is not for

the purpose of a permanent record of copyrighted publications and . . . such record

is not indispensable to the existence of the copyright”).

      If this Circuit affirms the district court’s ruling that all protectable expression

is embodied in the deposit copy, then what happens to the scope of protectability of


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a work when there is no longer a deposit copy? The district court held that no other

evidence was admissible to prove the composition of a song. Plaintiff does not have

an answer to this question, except to note that it has always been up to experts to

discern and ascertain what is the protected compositional expression in a musical

work by looking at the best evidence, usually sound recordings of the song. See Three

Boys Music, supra; Newton, supra.

                   D. Submitting 100% Accurate Deposit Copies of Musical
                      Works would Have Been Prohibitively Expensive for
                      Artists

      Retaining someone to score a 100% accurate copy of a sound recording would

be an incredibly expensive endeavor, especially when many artists had little

resources and the deposit copy requirement was widely considered to be an archival

formality. Dr. Ferrara himself charges $395.00 dollars per hour to transcribe songs.

(Excerpt 1034). To accurately transcribe all 11,000 notes of “Stairway to Heaven”,

as opposed to just the 400 in the “Stairway to Heaven” deposit copy (Excerpt 2404-

07), defense expert Dr. Ferrara charged thousands of dollars. In fact, it would be so

expensive that it would make copyrighting music nearly impossible for an individual

who was not wealth or did not read and expertly write music.

      Thus, an affirmance of the district court’s ruling would divest a large body of

work from copyright protection simply because (1) no one understood the deposit


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copy requirement to be substantive at that time, and (2) because it would be

extremely expensive to score music in such a manner. There is no indication that the

1909 Congress intended musical copyright registration to be reserve for the elite and

wealthy.

2.    The Trial Court Erroneously Precluded the Sound Recordings of
      “Taurus” Despite the Fact that the Court Itself Admitted They were
      Relevant to Prove Access, Which was Disputed by Defendants

           a. Scope of Review

      Erroneous evidentiary rulings can be the basis for a new trial. Ruvalcaba v., 64

F. 3d 1323 (citing 99.66 Acres of Land, 970 F.2d at 658); see also Advanced Display

Sys., Inc, 212 F.3d at 1275; Harper House, Inc. v, 889 F.2d at 206-08.

       Evidentiary rulings based on the application of facts to law are reviewed de

novo. Hinkson, 585 F. 3d 1247. Evidentiary ruling solely based in fact are reviewed

under an abuse of discretion standard. Ruvalcaba, 64 F. 3d at 1323. When a court

uses the wrong standard to analyze the admissibility of evidence, that is also a legal

error reviewed de novo. US v. WR Grace, 504 F.3d 745 (2007). Plaintiff contends

that this error was an erroneous evidentiary ruling that is legal in nature and should

be reviewed de novo.

      In a copyright case, the song that the Defendants had access to and allegedly

copied must be admitted to prove access. The Court’s use of Rule 403 to preclude


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the album recording of “Taurus” was erroneous as a matter of law.

      b.     Objection Raised Below

      The court initially ruled over Plaintiff’s opposition (Excerpt 2118-19, 2104-05,

1536, 1563) that the sound recordings of “Taurus” were not relevant to prove access,

and that expert testimony on the similarities of the sonic landscapes/production

between “Taurus” and “Stairway to Heaven” to prove access and lack of

independent creation was not admissible. (Excerpt 73-74). During trial, the court

partially reconsidered and admitted that the sound recording was relevant to access,

but did not admit it into evidence or allow expert testimony on the similarities of the

production techniques in the two songs. (Excerpt 67-68).

      c.     Argument

      The sound recordings of “Taurus” should also have been admitted to prove

access, even if they were properly precluded from the substantial similarity

comparison (although they were not). The lower court repeatedly refused to permit

plaintiff to play the sound recording to the jury, or admit it into evidence, for

purposes of establishing access---despite admitting that the sound recording was

relevant to prove access.

      At the motion in limine stage, and during trial, Plaintiff argued that the sound

recordings were admissible so that Plaintiff could ask defendant Page if he had heard


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and copied the songs, and also to show that the recordings’ sonic landscapes and

production techniques were so similar that they precluded independent creation of

“Stairway to Heaven”:

               the sonic landscape in the sound recording of “Taurus” and its
               similarity to “Stairway to Heaven”, although not copyrightable
               under the 1909 Act, is evidence that Defendants had access to
               “Taurus”. Even though the Court discounted striking similarity in
               the summary judgment opinion based on the compositions of the
               song, the fact that the sound recordings of the songs use a nearly
               identical sonic landscape and techniques—as attested to by
               Brian Bricklin, Stewart, and Erik Johnson—are admissible to raise
               the question of fact of whether the similarities between two
               songs are the result of coincidence or not.
(Excerpt 2118). The trial court erroneously ruled against Plaintiff on this issue at

MILs, but during the trial reconsidered. When Plaintiff argued that he should be

allowed to play the sound recordings of “Taurus” and ask defendant Page if he ever

heard them before, the trial court ruled that the recorded versions of “Taurus”

could be played for Page:

               Hearing the performance and testifying whether he [defendant
               Page] has ever heard it or not, [plaintiff’s] counsel's right, that
               can come in for access . . . .
(Excerpt 67-68). However, despite admitting the clear relevance of the sound

recording to access, the Court ruled that the sound recording should not be admitted

and refused to let the jury hear the version of “Taurus” that Page copied. The court

stated:

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             We will play the performance here in court, not in front of the jury, but
             have the witness here, and then when we bring the jury in, you can ask
             him, have we just played the performance for you, have you listened to
             it, is it similar or not? The Court finds it is much too prejudicial for the
             jury [under Rule 403] to hear that composition, so we're not going to
             allow the jury to hear that composition, but you can have the witness
             hear that composition, and then you can ask him questions in front of
             the jury about it.
(Excerpt 67-68) (emphasis added). This ruling does not make any sense. A trial is

put on for the jury. How can the jury evaluate the credibility of defendant Page’s

answer if it does not have the opportunity to listen to the song that Page is being

asked about?4

      Plaintiff’s counsel raised this issue with the Court:

             MR. KULIK:          I understand the Court's ruling this morning,
                                 but how can the jury assess the witness's
                                 credibility when you ask him, okay, now ‐‐ the
                                 question, the ultimate question ‐‐ after the
                                 jury comes back into the courtroom ‐‐
             THE COURT:          Okay.
             MR. KULIK:          ‐‐ and Mr. Page is on the stand, for example,
                                 and we ask him a question, how can the jury
                                 assess his credibility ‐‐
             THE COURT:          He may not be, then, Counsel. Then my ruling
                                 would be, if we don't do it this way, it is much
4
 Note that the Court’s ruling that playing the “Taurus” album recording would be
unduly prejudicial for the substantial similarity comparison is an admission of sorts
that the album recording of “Taurus” is nearly identical to “Stairway to Heaven”.
This is nothing less than an inadvertent admission by the Court that the album
recording of “Taurus” would have proven that Page had access to “Taurus” and
wrote “Stairway to Heaven” using “Taurus”.
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                                 more prejudicial than it is probative, and it
                                 doesn't come in at all. Because there's no
                                 question in the Court's mind that that would
                                 confuse the jury and they may very well be
                                 comparing the production to the infringing ‐‐
                                 or alleged infringing composition.
             MR. KULIK:          But Your Honor, don't you think the
                                 production itself can be highly relevant to the
                                 question of access? For example, if there are
                                 certain elements ‐‐
             THE COURT:          Counsel, your minute is long gone. We can sit
                                 here and debate this forever on it, but there's
                                 no question in my mind that it is much more
                                 prejudicial under 403, and I'm telling you
                                 right now, I would keep out the jury hearing
                                 the production.
(Excerpt 605).

      The Court’s ruling is incorrect. First, playing the album recording outside of

the presence of the jury, then asking Page if he had heard the album recording in the

presence of the jury, is nonsensical. There is no possible way for the jury to evaluate

the truthfulness of Page’s answer when they have not heard the recording he is being

asked about. The Court’s choices contradict the purpose of a jury trial.

      Second, the Court’s refusal to allow Plaintiff’s experts to analyze the

production of the “Taurus” album version and compare it to “Stairway to Heaven”,

so that access could be established, was erroneous in light of the Court’s admission

that the sound recording of “Taurus” was relevant to prove access. Note that this


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analysis of the production and sonic landscapes of the songs should have been

allowed regardless of whether the sound recordings were admitted or not. WR Grace, 504

F.3d at 763 (stating that experts “may rely on inadmissible evidence in forming an

opinion or delivering testimony”). Plaintiff’s experts would have testified that the

production and sonic landscape of “Taurus” and “Stairway to Heaven” was so

strikingly similar that it precluded independent creation. (Excerpt 2188-92, 2205,

1831 [Bricklin stating “by comparing the sound recordings and sonic landscape,

production techniques, and engineering methods, . . . there is no possibility STH

was created independently from T.”]).

      Third, the trial court’s ruling that the sound recording was relevant to access,

but could nevertheless be precluded because it was unduly prejudicial under Fed. RE

403 to the substantial similarity comparison, is unfounded and erroneous as a matter

of law. It was also clearly erroneous and abused the court’s discretion.

      There were, inter alia, two elements in dispute at trial: access and substantial

similarity. It is the very foundation of copyright law that the most relevant evidence

for access is the song that was allegedly copied by Defendants (and which Jimmy

Page admits to possessing). (Excerpt 2188-92, 2205, 1831). In a copyright case, as a

matter of law, the court simply cannot keep the jury from hearing the song that was

copied and comparing it to the allegedly infringing song if access is in dispute. The


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Court’s ruling essentially tied Plaintiff’s hand behind his back to prove a contested

element. When the Court improperly analyzes the admissible of evidence governed

by one rule of law (plaintiff entitle to prove dispute of access) with an inapplicable

Rule 403 analysis, that is an error of law. Cf. WR Grace, 504 F.3d at 765 (holding

that preclusion of evidence pursuant to Rule 403 erroneous because Rule 703 should

have been used).

      Moreover, even if this ruling is viewed under the abuse of discretion standard,

it was clearly erroneous. The probative value of using the very song that defendant

Page owns, and had access to, to establish access is extraordinarily high under Rule

403. The probative value of admitting the song to prove access far outweighed any

confusion that could have affected the substantial similarity comparison. Note that

the court issued limiting instructions repeatedly and told the jury: “plaintiff has no

rights in any sound recording of “Taurus”, and claims rights only in the musical

composition “Taurus” as transcribed in the deposit copy.” (Excerpt 29). This

Circuit is clear that a court cannot preclude probative evidence without taking into

account less extreme remedies to correct any prejudice. See WR Grace, 504 F.3d at

765 (stating “the court substantially underestimated the capacity of jury instructions

to distinguish these relationships, and the potential efficacy of a limiting

instruction”). The preclusion of the sound recordings because of Fed. Rule of Evid.


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403 were clearly erroneous, abused the court’s discretion, and severely damaged

Plaintiff’s attempt to prove a high degree of access.

      Plaintiff notes that even though Plaintiff did successfully prove that

defendants had a reasonable degree of access to “Taurus” at trial, the erroneous

preclusion of the sound recordings severely hindered Plaintiff’s attempts to prove a

higher degree of access, which is critically important to the inverse ratio rule addressed

immediately infra. The jury was deprived of the ability to decide what was mere

inspiration and what crossed the line into impermissible copying.

3. The Lower Court Failed to Give the Standard, Black-Letter Law Inverse
   Ratio Rule Instruction and Erroneously Failed to Tell the Jury that the
   Burden of Proof for Substantial Similarity is Dependent on the Degree of
   Access Proven
          a. Scope of Review

      “The reviewing court's inquiry is ‘whether, considering the charges as a

whole, the court's instructions fairly and adequately covered the issues presented,

correctly stated the law, and were not misleading.’” Oviatt By and Through Waugh,

954 F. 2d 1470 (quoting Thorsted v. Kelly, 858 F.2d at 573 (9th Cir. 1988)). A new

trial has been permitted where the Court’s evidentiary rulings and jury instructions

are erroneous or inadequate. Murphy, 914 F.2d 183) (stating “erroneous jury

instructions, as well as the failure to give adequate instructions, are also bases for a

new trial”); Rinker v, 831 F.2d at 832 (erroneous instructions); Cleveland, 436 F.2d

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at 80-81 (inadequate instructions).

      b.     Objection Raised Below

      Plaintiff repeatedly asked for an instruction on the inverse ratio rule, which

not even Defendants substantively objected to. (Excerpt 1974-76, 50-51). However,

the court refused to give the instruction without explanation.

      c.     Argument

      “In the Ninth Circuit, the access and substantial similarity elements of

infringement are ‘inextricably linked’ by an inverse ratio rule.” Ninth Circuit Model

Instruction 17,16 supp. (quoting Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620,

625 (9th Cir.2010)). Simply stated the rule provides that the higher degree of access

Plaintiff proves, the lower the burden to prove substantial similarity. Id.

      Plaintiff based a large portion of his trial strategy on the inverse ratio rule. As

access was disputed, and Defendants were claiming independent creation, Plaintiff

devoted much trial time to proving a high degree of access, which should have

concomitantly lowered Plaintiff’s burden to prove substantial similarity.5




5
 Plaintiff maintains he did show a high degree of access given that Led Zeppelin and
defendant Page opened for Spirit, attended their shows, praised them in newspaper
interviews, covered their songs, and owned many Spirit albums including the one
that “Taurus” is on, but it is impossible to know how much access the jury thought
there was.
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      However, despite Plaintiff repeatedly asking for this instruction, the court

pointedly refused to instruct the jury on the inverse ratio rule. (Excerpt 50-51).

Defendants did not even dispute that the inverse ratio rule is a legitimate instruction

and only quibbled with the wording. (Excerpt 1974-76).

      The prejudice that resulted from the failure to give this instruction was high

and requires a new trial. First, there is no possible way the jury knew the correct

standard to apply to substantial similarity, and that access and substantial similarity

are inextricably intertwined. The jury’s substantial similarity analysis could not have

been done correctly without knowing the correct burden to apply. Second, Plaintiff

contends that he proved a high degree of access and that the jury’s verdict would

have been different if the jury had known that the more access Plaintiff proved, the

burden was concomitantly lowered to prove substantial similarity.

      The failure to give this instruction requires a new trial.

4. The Court Erroneously Instructed the Jury on How to Perform the Extrinsic
   Test, Completely Omitting the Crucial Instruction that Combinations of
   Unprotected Elements are Themselves Afforded Protectability
          a. Scope of Review

      “The reviewing court's inquiry is ‘whether, considering the charges as a

whole, the court's instructions fairly and adequately covered the issues presented,

correctly stated the law, and were not misleading.’” Pearce, 954 F. 2d 1470 (quoting

Thorsted v. Kelly, 858 F.2d 571, 573 (9th Cir.1988)). A new trial has been permitted
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where the Court’s evidentiary rulings and jury instructions are erroneous or

inadequate. Murphy, 914 F. 2d 183 (stating “erroneous jury instructions, as well as

the failure to give adequate instructions, are also bases for a new trial”); Rinker, 831

F.2d at 832 (erroneous instructions); Cleveland, 436 F.2d at 80-81 (inadequate

instructions).


      b.     Objection Raised Below

      Plaintiff’s proposed jury instructions specifically and repeatedly asked that

that the jury be instructed on this important part of the Extrinsic Test. (Excerpt 1956-

57, 1961, 1968).

      c.     Argument - The Jury Instructions Erroneously Described the
             Extrinsic Test by Omitting that Unprotectable Elements, when
             Used Together, are Copyrightable

      The trial court’s instructions failed to tell the jury that the arrangement of

unprotectable and protectable elements, if used in combination with each other, can

itself be protectable. Such was the case, for instance, in Three Boys Music. See

Swirsky, 376 F.3d at 849. Such an instruction is so standard to the extrinsic

substantial similarity test that even Defendants proposed an instruction on this point

of law. (Excerpt 2032). Nevertheless, the Court inexplicably failed to instruct the

jury on this crucial component of the extrinsic test. As a result there is no possible

way the jury performed the extrinsic test correctly, especially considering the other

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erroneous instructions identified in this appeal. Given that the jury found against

Plaintiff on the extrinsic test, the trial verdict must be vacated.

                 i. Legal Standard

      The Ninth Circuit has held:

                     There is no one magical combination of these factors
             that will automatically substantiate a musical infringement suit;
             each allegation of infringement will be unique. So long as the
             plaintiff can demonstrate, through expert testimony that
             addresses some or all of these elements and supports its
             employment of them, that the similarity was "substantial" and
             to "protected elements" of the copyrighted work, the extrinsic
             test is satisfied.
                    For example, in Three Boys we upheld a jury finding of
             substantial similarity based on the combination of five
             otherwise unprotectable elements: (1) the title hook phrase
             (including the lyric, rhythm, and pitch); (2) the shifted cadence;
             (3) the instrumental figures; (4) the verse/chorus relationship;
             and (5) the fade ending.
Swirsky, 376 F.3d at 849.

                ii. This Basic Instruction Was Not Given Despite Being
                    Requested by Plaintiff and Plaintiff’s Musicological Expert
                    Testifying that the Combination of Musical Elements in
                    “Taurus” Gave the Song Protection

      This instruction is a crucial component of the extrinsic analysis the jury was

supposed to perform. Even Defendants proposed that the jury should have been

given an instruction on this part of the extrinsic test (albeit erroneously modified).

(Excerpt 2032). This is the very core of the analytical extrinsic test and the failure to

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tell the jury how to perform the extrinsic test requires that the jury’s defense verdict

on substantial similarity be overturned.

       Plaintiff’s expert’s opinion were substantially based on the fact that the

arrangement of protectable and unprotectable elements is afforded copyright

protection. (Excerpt 748, 763, 781-82, 834-36). Dr. Alexander Stewart specifically

opined that there were as a combination of five elements in “Taurus” that were

protectable and had been copied in “Stairway to Heaven”: (1) “minor chromatic line

and associated chords,” (Trial Exhibit 501-1, 502-1, 503-1) (2) durations of pitches

of minor chromatic line, (3) melody placed over the descending chromatic line

consisting of combination of arpeggios and two-note pairs (Trial Exhibit 506-1), (4)

rhythm of steady 8th note beats, and (5) pitch collection (Trial Exhibit 511-1).

(Excerpt 779-80). Dr. Stewart testified that none of the prior art had these five

characteristics, and that they were unique “in combination.” (Excerpt 780-82)

(Trial Exhibit 501-1). Dr. Stewart reaffirmed this point later in his testimony.

(Excerpt 835). This was a central element of Plaintiff’s substantial similarity case.

Yet, the jury was never given an instruction on this basic part of the substantial

similarity test.

       The Court’s failure to give any instruction on this important part of the

extrinsic test completely negated Dr. Stewart’s opinions and conclusions and was


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highly prejudicial. The jury could not have come to the correct conclusion without

knowing about this crucial part of the extrinsic test. The failure to give this important

instruction was reversible error, especially when taking into account the other

erroneous instructions complained of immediately infra.

5. The Trial Court Erroneously Instructed the Jury on Originality and the
   Scope of Protectability of Musical Elements; The Erroneous Instructions are
   in Direct Contravention of This Circuit’s Swirsky Decision and Constitute
   Reversible Error
           a. Scope of Review

      “The reviewing court's inquiry is ‘whether, considering the charges as a

whole, the court's instructions fairly and adequately covered the issues presented,

correctly stated the law, and were not misleading.’” Pearce, 954 F. 2d 1470 (quoting

Thorsted, 858 F.2d at 573)). A new trial has been permitted where the Court’s

evidentiary rulings and jury instructions are erroneous or inadequate. Murphy, 914

F. 2d 183 (stating “erroneous jury instructions, as well as the failure to give adequate

instructions, are also bases for a new trial”); Rinker, 831 F.2d at 832 (erroneous

instructions); Cleveland, 436 F.2d at 80-81 (inadequate instructions).


      b.     Objection Raised Below

      Plaintiff asked the court to correctly instruct the jury on originality. (Excerpt

1946). Plaintiff also objected to Defendants’ incorrect instruction on originality.

(Excerpt 2030).

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      In addition to asking that the jury be correctly instructed on originality,

Plaintiff also objected to the entirety of Defendants’ proposed instruction on

Introduction to a Copyright Claim, which incorrectly told the jury that specific

musical elements, like descending chromatic scales and short sequences of notes, can

never be afforded copyright protection. (Excerpt 2009). This was not the standard

instruction and should not have been given.

      c.     Argument

      The court seriously misled the jury on the scope of what can be considered

protected expression. Specifically the Court misdefined originality, and baselessly

instructed the jury that certain musical elements (such as descending chromatic

scales) could never be given protection as a matter of law.

                i. The Court Seriously Erred when Defining Originality

      “Original, as the term is used in copyright, means only that the work was

independently created by the author, as opposed to copied from other works, and

that it possesses at least some minimal degree of creativity.” Feist Publications, Inc.

v. Rural Telephone Service Co., Inc., 499 U.S. 340, 345-46 (1991). “In this circuit,

the definition of originality is broad, and originality means little more than a

prohibition of actual copying.” Swirsky, 376 F.3d at 851 (quotation marks omitted).

      The trial incorrectly instructed the jury on originality, in contravention of


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Feist and Swirsky. Specifically, the erroneous instruction states:

             “An original work may include or incorporate elements taken
             from prior works or works from the public domain. However, any
             elements from prior works or the public domain are not considered
             original parts and not protected by copyright.”
(Excerpt 31) (emphasis added). The bolded sentence directly conflicts with Feist and

Swirsky. This sentence was a custom addition by defendants and, in addition to being

vague and ambiguous, has no support in the law.

      Compounding the impact of the erroneous instruction, the Court also deleted

at Defendants’ behest a standard part of the instruction which accurately described

originality for the jury. The deleted section of the standard instruction reads:

             “In copyright law, the ‘original’ part of a work need not be new
             or novel.”
(Excerpt 2029-30). This deleted section directly comports with Feist and Swirsky.

For some unexplained reason the court did not give this part of the instruction, and

instead gave a definition at odds with binding Supreme Court and Ninth Circuit

precedent.

      The prejudice caused by this instruction cannot be overstated. The originality

and protectability of the expression in “Taurus”, as copied in “Stairway to

Heaven”, was hotly contested throughout the trial. Dr. Stewart addressed this at

length at trial and opined that Randy Wolfe’s use of a specific descending chromatic

scale in “Taurus” was an original compositional element and was copied in
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“Stairway to Heaven”. (Excerpt 753, 786-87). On the other hand, defense expert Dr.

Lawrence Ferrara testified that because chromatic scales had allegedly been used in

the prior art it was unoriginal and not protectable at all (there was no evidence

introduced by Defendants that Randy Wolfe had copied this musical element from

another work). (Excerpt 963-64). There was therefore a dispute of fact on the

originality and protectability of this key compositional element.

       Yet, the jury was given a thoroughly erroneous definition of originality. The

erroneous instruction essentially told the jury that Dr. Ferrara was correct and Dr.

Stewart was wrong and that the descending chromatic scale was not protectable as a

matter of law. At a minimum, the custom defense language included by the court,

with the deletion of the standard language, was extremely confusing for any juror. As

a result there is simply no way the jury could have correctly conducted the extrinsic

test analysis.

       This instruction on originality was a serious misstatement of the law and

requires a reversal of the defense verdict on substantial similarity.

                 ii. The Court Erroneously told the Jury, Without Any Legal
                     Support, that Certain Key Musical Elements in “Taurus”
                     Do Not Have Copyright Protection

       The court’s “Introduction to Copyright” instruction incorrectly described

what can constitute protected musical elements. The court selected a custom jury


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instruction, proffered by Defendants, which erroneously states that copyright law

does not ever protect the very musical elements at issue in this case:

              “such as descending chromatic scales, arpeggios or short
              sequences of three notes.”
(Excerpt 28). These are the exact musical elements in dispute in this case and this

instruction essentially told the jury, erroneously, that “Taurus” was unprotectable

expression. This instruction constitutes reversible error for several reasons.

      First, the instruction contradicts binding precedent. The Ninth Circuit stated

in Swirsky:

      Although it is true that a single musical note would be too small a unit to
      attract copyright protection (one would not want to give the first author a
      monopoly over the note of B‐flat for example), an arrangement of a limited
      number of notes can garner copyright protection.
Swirsky, at 849 (emphases added).

      Second, as the trial court was well aware, Plaintiff’s expert had testified that

the notes and chords in “Taurus”, and copied in “Stairway to Heaven”, were in fact

used in a unique way that was protectable:

      MR. MALOFIY:               Okay. Let's go to the minor chromatic line. You
                                 identified this as one thing that's unique and
                                 memorable. Can you share why the minor
                                 chromatic line is used in a unique and memorable
                                 way?
      DR. STEWART:               You know, the minor chromatic line is something
                                 that's been used in music for quite a long time, and
                                 like a lot of the building blocks of music, the

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                                 challenge for any composer is to use it in a new and
                                 creative way, an original and creative way.
                                 And I think that in both of these works, "“Taurus”"
                                 and "Stairway," the composers ‐‐ at least in
                                 "“Taurus”," the composer found a way to use it in a
                                 way that is unlike other works that use this line.
                                 And one of the things that's very different is instead
                                 of going through all six pitches of the chromatic line,
                                 all the way to the E ....
                                 So one of the important ways that I think that you
                                 see this similarity between these two works is that
                                 they both do this very unusual thing. In fact, I don't
                                 know any other pieces that do it, and the defense
                                 hasn't come up with any that do treat this line the
                                 way that they [“Taurus” and Stairway] do.
(Excerpt 786-87) (Trial Exhibit 501-1, 502-1, 503-1). Plaintiff’s expert Kevin Hanson

also testified the descending chromatic line was used in an original and creative way

in “Taurus”. (Excerpt 748, 753, 755).

      Plainly, any musical element, including a descending chromatic scale or

arpeggio, used in an original and creative way, can be protectable---as Plaintiff’s

experts testified at trial. Note that it is black letter law that copyright protection

attaches upon a showing of a modicum of creativity; it is not a high bar. Feist, supra;

Swirsky, supra. Yet, the Court’s extremely confusing instruction singled out the

specific elements at issue in this case and falsely told the jury they were not ever

protectable. This is unduly prejudicial reversible error.

      Second, the specific language and examples in this instruction given by the

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Court (e.g, the reference to descending chromatic scales being unprotectable) are

based only on Copyright Office Compendiums, which have no force of law. (Excerpt

2007-08). In fact, the Compendiums’ statement of the law is incorrect. See Swirsky,

supra.

         When the Court’s erroneous instructions on originality are looked at in

conjunction with the failure to give an instruction telling the jury that a combination

of elements can be protectable, the instructions excluded massive amounts of

protected material from the extrinsic test analysis. The Court basically instructed

the jury to rule against Plaintiff on the extrinsic test and the jury instructions

therefore constitute highly prejudicial, reversible error.

6. The Trial Court Erroneously Disregarded a Juror’s Request to Hear the
   Requested and Correct Version of the “Taurus” Deposit Copy During
   Deliberations
            a. Scope of Review

         “The reviewing court's inquiry is ‘whether, considering the charges as a

whole, the court's instructions fairly and adequately covered the issues presented,

correctly stated the law, and were not misleading.’” Oviatt By and Through Waugh,

954 F. 2d 1470 (9th Cir. 1992) (quoting Thorsted, 858 F.2d 571, 573 (9th

Cir.1988)).A new trial has been permitted where the Court’s evidentiary rulings and

jury instructions are erroneous or inadequate. Murphy, 914 F. 2d 183 (stating

“erroneous jury instructions, as well as the failure to give adequate instructions, are
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also bases for a new trial”); Rinker, 831 F.2d at 832 (erroneous instructions);

Cleveland v, 436 F.2d at 80-81 (inadequate instructions).

      b.     Objection Raised Below

      During deliberations, the jury asked to hear the guitar version of “Taurus”

and then “Stairway to Heaven.” Plaintiff argued to the Court that the jury obviously

meant the bass clef version of “Taurus” (Trial Exhibit 527V), as that was what was

used throughout trial. (Excerpt 1405-10). Defendants wanted a version of the

“Taurus” deposit copy played one time at trial where both the bass and treble clefs

were artificially played together on one guitar (which Plaintiff’s guitar expert

testified would never normally be done as the bass and treble clef lines were “two

distinct melodies occurring simultaneously” - Excerpt 739-42) (Trial Exhibit 525V).

      When the court asked the jury what version of “Taurus” they wanted played

one juror stated the “bass clef,” while another stated they wanted 525V. (Excerpt

1411). The Court however only played 525V, the defense favorable and artificial

“Taurus” version, for the jury.

      c.     Argument

      Plaintiff lost this case on substantial similarity. Before the jury’s verdict a note

was submitted asking to listen to “Plaintiff’s audio of “Taurus” (guitar).” (Excerpt

1496). Plaintiff argued to the Court that the jury was obviously requesting to hear


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Trial Exhibit 527V, the bass clef of “Taurus” which was played on the guitar

repeatedly throughout trial. (Excerpt 1405-10). The defense argued that the jury

wanted to hear a version of the “Taurus” deposit copy which had been played just

one time, and which did not accurately reflect how “Taurus” would sound. (Excerpt

739-42) (Trial Exhibit 525V).

      When asked, two jurors gave conflicting answers. One juror stated they

wanted to hear 527V, the bass clef. (Excerpt 1411). Another stated they wanted to

hear the 525V. Id. However, the court then only played the 525V version more

favorable to defendants. Shortly thereafter, the jury ruled against Plaintiff on

substantial similarity.

      This was a highly prejudicial error which requires a new trial. Listening to

527V as compared to “Stairway to Heaven”, as compared to 525V as compared to

“Stairway to Heaven” makes clear the prejudice.

7.    The Trial Court’s Order Limiting Plaintiff’s Trial Time to 10 Hours
      Violated Due Process and was Not Even Close to An Adequate Amount
      of Time to Try this Case

          a. Scope of Review

      The Ninth Circuit has held that time limits on a trial are reviewed for abuses

of discretion. Monotype Corp., PLC v. Int'l Typeface Corp., 43 F.3d 443, 451 (9th

Cir.1994); see also Sec’y of Labor v. DeSisto, 929 F.2d 789, 795 (1st Cir. 1991) (citing


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MCI Commc’ns Corp. v. American Tel. & Tel. Co., 708 F.2d 1081, 1171 (7th Cir.

1983)).

        b.     Objection Raised Below

        Plaintiff’s objection to this trial time limits were discussed extensively with

the trial court and the trial court repeatedly acknowledged that Plaintiff had

preserved his objection. See, e.g., (Excerpt 850).

        c.     Argument

        The impossibly short trial time limits allotted by the trial court bore no relation

to the time that was actually needed to try this complicated case. Plaintiff does not

dispute that courts have the inherent power to set trial time limits; however, the

limits in this case were imposed inflexibly and prevented the fair adjudication of this

case.

                  i.   Legal Standard

        “A crowded docket does not justify an infringement on the right to reasonably

develop a case.” Monotype Corp., 43 F.3d at 451. “[T]he time limits should be

sufficiently flexible to accommodate adjustment if it appears during trial that the

court’s initial assessment was too restrictive.” MCI Commc’ns Corp., 708 F.2d at

1171.

        Judge Posner noted that "to impose arbitrary limitations, enforce them

inflexibly and by these means turn a federal trial into a relay race is to sacrifice too
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much of one good-accuracy of factual determination-to obtain another-minimization

of the time and expense of litigation." Mc-Knight v. General Motors Corp., 908 F.2d

104, 115 (7th Cir. 1990), cert. denied, 111 S. Ct. 1306 (1991); Flaminio v. Honda Motor

Co., 733 F.2d 463 (7th Cir. 1984) (discouraging an “unhealthy preoccupation” with

the trial clock); see also John E. Rumel, “The Hourglass and Due Process: The

Propriety of Time Limits on Civil Trials,” University of San Francisco

Law Review, at p.253 (Winter 1992).

      Precluding a rebuttal witness on a key issue, solely because of time limits, is

highly prejudicial and reflects an impermissible inflexibility. Woody v. Woody, 127

N.C. App. 626, 492 S.E.2d 382 (1997).6 “The objecting party must show there was

harm incurred as a result.” Monotype Corp., 43 F.3d at 451.

                ii.   The Court Imposed Clearly Inadequate, Inflexible Time
                      Limits on Plaintiff which were Highly Unreasonable and
                      Clearly Erroneous

      At the pre-trial conference, the court imposed on Plaintiff and Defendants a

ten-hour time limit to conduct direct, cross, and rebuttal examinations. (Excerpt 89-

91). The trial court incorrectly assessed the time needed to try this case at the outset

of the trial: “even if you spend a couple of hours on copyright and a couple of hours


6
 Here, Plaintiff intended to call musicologist Dr. Alexander Stewart on rebuttal to
refute defense expert Dr. Ferrara’s testimony, but such a request was summarily
denied by the trial court, as discussed infra.
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on access, three or four hours on similarities between the songs, couple hours in

damages, you're looking at about ten hours on this case.” Pre-Trial Conference

Hearing Transcript, at p.5.

      Yet, the Court’s logic, that Plaintiff’s case in chief could be presented in ten

hours, does not pass even cursory muster; it does not account for the fact that the

ten hour limit also included all cross and rebuttal examination. Thus, in reality,

Plaintiff had to attempt to somehow present an incredibly complicated case in chief

in 5 or 6 hours.

      The Court stated that in 14 years of imposing trial time limits on every case

before him, he had adjusted the time limits just one time during the case. (Excerpt

91). This reflects, at the outset, an impermissible inflexibility in the Court’s approach

to trial time limits disapproved of by the appellate courts. MCI Commc’ns Corp.,

708 F.2d at 1171. This inflexibility was borne out at trial when the Court severely

limited Plaintiff’s time to try the case on the merits.

      With all due respect, this was not a slip and fall case. This was a case for which

the taking of depositions had spanned the entire United States and the Atlantic, and

one in which there were approximately 60,000 pages of discovery. Both sides spent

hundreds of thousands of dollars preparing the case for trial. Witnesses testified at

trial from all over the United States and the world. It was also a case where every


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element was disputed and there were several affirmative defenses. Note that at the

outset of the case nearly every element of the copyright claims were in dispute, and

Defendants were also advancing multiple affirmative defenses. To allot 5 or six hours

for Plaintiff’s case in chief was completely unreasonable.

      Consider, to make out just a prima facie copyright case Plaintiff needed to

establish:

            Ownership of the Copyright and Validity of the Trust
            Song Creation of “Taurus” and “Stairway to Heaven”
            Access (hotly contested, extremely important to prove high degree of
             access for the inverse ratio rule)
            Substantial Similarity (at least two experts)
            Damages
(Excerpt 1868-1897). In addition, Defendants were making numerous affirmative

defenses for which Plaintiff had to present witnesses in its case in chief given the high

probability he would not have time for rebuttal or that it would not be allowed,

including:

            Independent Creation of “Stairway to Heaven”
            Innocence
            Fair Use
            Unclean Hands
Id. Despite the extensive prima facie case it was incumbent on Plaintiff to make out,

the Court essentially kept a countdown on Plaintiff’s case in chief, repeatedly
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reminding counsel that the clock was ticking on the exceedingly short limits.

(Excerpts 567, 849); see also Flaminio, 733 F.2d 463 (decrying “an unhealthy

preoccupation with the clock”).

      The court disapproved of much testimony Plaintiff saw as crucial, and instead

took an extremely antiseptic, theoretical view of trial strategy and refused to expand

the time limits because of such testimony. (Excerpts 567, 849-51). For instance,

Plaintiff introduced testimony from Randy Wolfe’s sister, Janet Wolfe, which the

Court considered unnecessary. Ms. Wolfe’s testimony was presented to establish

that (1) “Taurus” was written by Randy Wolfe in 1966, (2) that “Taurus” was

played extensively live in the late 1960s (the frequency with which “Taurus” was

played live and in concert was a key issue in dispute), (3) to establish that Randy

Wolfe was a guitar prodigy recognized by Jimi Hendrix (Defendants had been

disparaging Wolfe’s stature as a guitarist and the likelihood he could have produced

significant music), (4) to establish what happened to Randy Wolfe’s estate and

intellectual property after he died in 1997, (5) the modification of the Trust over the

years, and (6) Mr. Skidmore’s validity as Trustee of the Trust. (Excerpt 279-299).

      In addition, Led Zeppelin’s members denied knowing much of anything about

Spirit or its music and said they did not have access to the song. (Excerpt 666, 1216-

17, 1231-32). However, contrary to this denial, it was reported in newspaper articles


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in early 1971 that defendant Robert Plant was involved in a car accident when

returning from a Spirit concert, thus objectively establishing that Plant knew of Spirit

and had heard its music before “Stairway to Heaven” was written. (Excerpt 2409)

(Trial Exhibit 321). This corroborated testimony by a Sprit’s member, Mark Andes,

that they played snooker and drank with defendant Plant that evening. (Excerpt 417-

18).

       The Court disagreed that any of this about Ms. Wolfe or the accident was

relevant and explicitly stated on the record that it would not allow Plaintiff any

significant additional time to develop its case, or cross examine defense witnesses,

because the court thought that Plaintiff had wasted his time with Janet Wolfe and

with questions on the accident:

       MR. KULIK:          We don't think ten hours, including cross‐examination, in
                           a case like this is fair or reasonable.
       ....
       THE COURT:          We have gotten into all kinds of background information
                           and things that really aren't relevant to this case. And that's
                           okay if you want to do it, but it's not necessary for the
                           presentation of this case.
       ....
       MR. KULIK:          I just ‐‐ I feel that the Court may not be fully grasping some
                           of the subtleties and complexities of the case. I believe ‐‐
                           we've only had two days of testimony.
       ....




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      THE COURT:           Anyway, so those are the things that ‐‐ is it ‐‐ how relevant
                           is it that there was a traffic accident and somebody
                           [Robert Plant] got hurt during the traffic accident? ...
                           So go ahead, counsel. I'm sorry.
      MR. KULIK:           You know, the fact that Mr. Plant was in an unfortunate
                           accident on his way back from a Spirit show I think is
                           relevant, Your Honor.
      THE COURT:           Well, I don't.
      MR. KULIK:           That Janet Wolfe was able to testify that she attended a
                           lot of shows at which "“Taurus”" was played, we had to lay
                           a foundation for her doing that and ‐‐
      THE COURT:           Counsel, you could have done that in one or two questions,
                           but it just went on and on and on. As I said, this thing could
                           have been presented much more efficiently than it was
                           presented.
      ....
      MR. KULIK:           Your Honor, again, in a case where access is incredibly
                           contested or independent creation is an issue, I just think
                           some of the subtleties may not be clear to the Court.
(Excerpt 850-53). To be clear, the testimony elicited from Ms. Wolfe was not

superfluous, went directly to how “Taurus” was created by Randy Wolfe, and was

highly relevant. The testimony regarding Mr. Plant’s accident was likely some of the

most important evidence of access in the entire case (especially because the sound

recording was precluded). The Court was focused more on having the case tried

within its arbitrary time limits than on letting Plaintiff try the case on the merits.

      It was not as if Plaintiff was given two weeks and did not use that time wisely;

he was given just 5-6 hours to put on a case in chief!


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                iii.   The Court’s Time Limits were Severely Prejudicial and
                       Especially Harmed Plaintiff’s Efforts to Prove Substantial
                       Similarity

      The real harm from the Court’s time limits and refusal to extend the limits

occurred during Defendants’ case in chief, and rebuttal, when it did not allow

Plaintiff to fully develop and address substantial similarity. Remember, the jury ruled

against Plaintiff on the extrinsic test. It is therefore significant that the trial court

severely limited Plaintiff’s attempt to cross examine Dr. Ferrara on substantial

similarity, and also precluded Plaintiff from calling an expert musicological witness

on rebuttal.

      The defense musicologist, Dr. Ferrara, had testified at length for Defendants.

(Excerpt 929-1038). After just a few minutes on cross examination of Dr. Ferrara,

Trial Transcript, at p.1038-57), the Court abruptly stopped the trial and told the jury

that Plaintiff’s counsel was violating his time limits. Id. at 1057 (“At this time, we

have a serious time problem as far as conforming to the Court rules on it.”). The

Court told Plaintiff’s counsel that because Plaintiff had gone over his time limit, he

was limiting the rest of Plaintiff’s questioning of the most important defense witness

to just two additional minutes. (Excerpt 1064-65). The Court also informed Plaintiff

he would only be entitled to cross examine any other defense witness for just ten

minutes. Id. Plaintiff was also told there would be no rebuttal witnesses on substantial


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similarity (despite the fact that the defense case in chief was not complete and it was

unknown what rebuttal testimony might be needed). Id. It must be noted again that

Plaintiff lost the trial on substantial similarity, the very issue where he was precluded,

because of the court’s inflexible time limits, from crossing the defense musicological

expert and presenting a rebuttal witness to refute the defense musicological expert’s

claims.

      This is an astounding restriction given how short the initial time limits were

and requires reversal. This caused real prejudice. Despite the Court’s prior ruling

that no rebuttal witnesses would be allowed (a ruling made before the defense case

in chief had even been fully put on), Plaintiff asked the court for permission to put

on two rebuttal witnesses, including Plaintiff’s musicologist Dr. Alexander Stewart.

(Excerpt 1268-69). This was summarily denied. Id. Stewart was going to testify in

rebuttal that:

             His opinion was unchanged after reading Dr. Ferrara’s testimony and
              that none of the prior art examples were as similar to “Taurus” and
              Stairway as “Taurus” and Stairway are to each other
             Dr. Ferrara had failed to address all five characteristics that Dr. Stewart
              opined were shared by “Taurus” and “Stairway to Heaven”.
             Dr. Stewart disagreed with Dr. Ferrara’s assessment of his pitch
              collection. He would have testified that while pitch collections do not
              by themselves prove substantial similarity, they are highly probative.
              None of the prior art Dr. Ferrara refers to has the same pitch collection,
              except one, which means the prior art cannot spell the melodic and
              harmonic expression shared by “Taurus” and “Stairway to Heaven”.
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           The one song in the prior art that shares the same pitch collection as
            “Taurus” and “Stairway to Heaven”, To Catch a Shad, occurs in a
            brief interlude for just a few seconds. Dr. Ferrara focused on this song
            as being significant.
           To Catch a Shad is in a very different genre than Stairway and
            “Taurus” (it is folk and jazz) and is also in a different key with different
            instrumentation.
           Dr. Ferrara’s analysis of To Catch a Shad fails to note key and tempo,
            and he misidentifies a banjo as a guitar. It also fails to accurately
            transcribe the chromatic line, obscuring that it is different than
            “Taurus” and “Stairway to Heaven”. Shad also has different two note
            pairs, and a different melody. The only 2 actual similarities out of the 5
            Dr. Stewart identified are the steady eighth note rhythms and the pitch
            collection.
           Dr. Ferrara selectively analyzed the data, and he ignores more than 55%
            of the notes in the deposit copy.
           Dr. Ferrara’s note pair analysis stated that these were the most creative
            and memorable parts in Stairway. Yet, Dr. Ferrara cannot dispute that
            most of the note pairs are exactly the same both rhythmically and
            metrically.
           Dr. Ferrara mentioned a book he published called Keyboard Harmony.
            It appears it is 30 years old and out of print. In addition, nowhere in Dr.
            Ferrara’s book does he discuss minor chromatic lines.
Plaintiff’s counsel would have crossed Dr. Ferrara on substantially the same topics

and material had he been permitted the time to do so.

      Note that the prior order precluding any rebuttal witnesses was made just part

way through the defense case in chief. A trial court must be flexible with time limits

under the law and not impose them rigidly. By ruling that rebuttal witnesses were

not necessary, before it could even be known what rebuttal was needed to refute the

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defense case in chief, the court showed that it was too inflexibly applying its already

very short time limits. The time limits abused the Court’s discretion and were

reversible error as they prohibited Plaintiff from addressing significant aspects of the

substantial similarity analysis, the subject he lost on.

8.    The Court Committed Reversible Error by Erroneously Refusing to
      Preclude the Testimony of Defense Musicologist Dr. Ferrara, or Grant a
      Negative Inference, Because Ferrara Had a Conflict of Interest which was
      Deliberately Concealed by Defense Counsel

           a. Scope of Review

      It is within a court’s discretion to exclude or admit expert testimony.

Campbell Industries v. Gemini, 619 F.2d 24 (9th Cir. 1980) (citing Salem v. United

States Lines Co., 370 U.S. 31, 35, 82 S.Ct. 1119, 1122, 8 L.Ed.2d 313 (1962); Williams

v. Fenix & Scisson, Inc., 608 F.2d 1205, 1209 (9th Cir. 1979). Furthermore, a court

has the power to exclude testimony of witnesses whose use at trial is in bad faith or

would unfairly prejudice an opposing party. Id. (citing Clark v. Pennsylvania R.R.

Co., 328 F.2d at 594-95). Courts should not tolerate flagrant abuses of the discovery

process. Id.

      b.       Objection Raised Below

      Plaintiff filed an extensive motion for sanctions shortly after learning of the

conflict of interest, which was that Dr. Ferrara had been hired by Plaintiff’s publisher

and fiduciary to perform a musicological analysis of “Taurus” and “Stairway to

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Heaven” for potential litigation. (Excerpt 1575). This prior report and analysis for

Plaintiff’s publisher was never disclosed by Defendants or Dr. Ferrara.

      However, when Plaintiff asked for disqualification and/or a negative inference

at trial the Court summarily denied the motion without explanation. (Excerpt 927).

      c.     Argument

                 i. Legal Standard

      This Court has the inherent authority to disqualify experts. See Campbell Ind.

v. M/V Gemini, 619 F.2d 24, 27 (9th Cir. 1980). A “court can disqualify an expert

based on the fundamental unfairness such expert's conflict of interest creates.” Pinal

Creek Group v. Newmont Mining Corp., 312 F. Supp. 2d 1212 (D. Ariz. 2004). “The

policy objectives favoring disqualification include preventing conflicts of interest and

maintaining the integrity of the judicial process.” Koch, 85 F.3d at 1182. (quoting

English Feedlot v Norden Labs., Inc., 833 F.Supp. 1498, 1504 (D. Col. 1993)).

Conflicts must be affirmatively disclosed. See Shadow Traffic Network v. Superior

Court, 24 Cal. App. 4th 1067, 1084-85 (Court of Appeal 1994). When looking at

disqualification, there are three main considerations:

              (1) the existence or reasonable expectation of a confidential
             relationship between the movant and the expert; and (2) whether the
             movant in fact disclosed confidential information to the expert.... as a
             third element, the public's interest in preserving judicial integrity and
             fairness as balanced against the party's right to the assistance of
             experts who possess specialized knowledge ...

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Auto-Kaps, Llc v. Clorox Company, Dist. Court, ED New York 2016 (citations

omitted).


      Courts, however, have precluded experts based on conflicts of interest even

when they did not have the ability to disclose confidential information. Sells v.

Wamser, 158 F.R.D. 390 (S.D.Ohio 1994). “Many courts have recognized their

inherent power to disqualify experts on the basis of the expert's past relationship with

an adversary in the litigation.” American Empire Surplus Lines v. Care Centers, 484

F. Supp. 2d 855 (ND Ill. 2007) (precluding expert because “unfair and unseemly to

allow an expert to be used in such a way.”).

                ii. Dr. Ferrara’s Testimony Should Never Have Been Allowed,
                    or a Negative Inference Granted

      The Court should never have allowed the defense expert musicologist, Dr.

Lawrence Ferrara, to testify. Shortly before trial, during Dr. Ferrara’s deposition,

Plaintiff discovered that Dr. Ferrara had previously been hired to analyze “Taurus”

and “Stairway to Heaven” for Plaintiff’s fiduciary and publisher, Hollenbeck Music.

What is more, defense counsel and Dr. Ferrara knew about this conflict and

deliberately attempted to conceal the conflict from Plaintiff, including by violating

their affirmative disclosure obligations under FRCP 26(a), and their discovery

obligations to produce Dr. Ferrara’s prior invoices for work performed and money


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received, and Dr. Ferrara’s prior reports, and the facts and information he relied

upon and did not rely upon.

      During Dr. Ferrara’s deposition the witness was asked if he had ever heard

the song ““Taurus”” before:

      MR. MALOFIY:            Were you familiar with the work "“Taurus”" prior to
                              becoming involved in this litigation?
      DR. FERRARA:            No.
      MR. MALOFIY:            Was your first ‐‐
      DR. FERRARA:            Actually, not no. I was aware of "“Taurus”" before this
                              litigation.
      MR. MALOFIY:            Why is that?
      DR. FERRARA:            I think around three years ago, I was asked to complete
                              an analysis ‐‐ it was preliminary ‐‐ of the "“Taurus”"
                              studio version, not the "“Taurus”" deposit copy, and
                              "“Stairway to Heaven”." And, so, if the question was
                              "“Taurus”," then the answer is yes. Prior to this the
                              "“Taurus”" deposit copy, the answer would be no.
(Excerpt 1626). This was news to Plaintiff’s counsel as such information had not

been disclosed in the Rule 26 disclosures, in any discovery answers, in any of

Ferrara’s expert reports and declaration, nor by defense counsel.

      Plaintiff’s counsel inquired whether Ferrara was retained by Lou Adler, the

owner of Hollenbeck Music and Plaintiff’s fiduciary and publisher. Hollenbeck

administers the “Taurus” copyright on Plaintiff’s behalf. Ferrara stated, “No.”

(Excerpt 1627). Plaintiff, however, as this motion explains, later learned that

Ferrara had indeed been hired by entities working on behalf of Adler as defense

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counsel knew.

      Defense counsel asserted during the deposition that any conflict had been

waived (an impossibility as Plaintiff was not even aware of the conflict before the

deposition and was the only party that could waive any conflict), implying that

defense counsel indeed knew the company who had hired Ferrara:

      MR. MALOFIY:          Did you clear any conflicts prior to being retained in
                            this case?
      MR. ANDERSON:         I already told you any conflict was waived. The
                            question really, Francis, is if you want to keep burning
                            time on this or you want to let him ‐‐
      MR. MALOFIY:          It's a serious, serious issue. The conflict was waived,
                            you said, Mr. Anderson?
      MR. ANDERSON:         Waived.
      MR. MALOFIY:          Waived.
      MR. ANDERSON:         Waived.
      MR. MALOFIY:          By who?
      MR. ANDERSON:         I am as uncomfortable as him.
(Excerpt 1630) (emphasis added).

      Eventually, Dr. Ferrara finally revealed his mystery employer as “Rondor

Music, which I understand is a division of Universal Music Publishing Group.”

(Excerpt 1632) Finally, after nearly an hour of filibustering it was revealed that

defense counsel had in fact communicated with Rondor and Hollenbeck about Dr.

Ferrara’s previously undisclosed conflict of interest. (Excerpt 1635).

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      Rondor/Universal was in fact working for Plaintiff’s publisher, Hollenbeck

Music (Lou Adler’s company). This is known because Hollenbeck Music turned

over documents in discovery indicating that it had recently hired Universal/Rondor

to attempt to make changes to the “Taurus” copyright. (Excerpt 1712).

      Basically, Dr. Ferrara had been previously hired by Plaintiff’s publisher to

assess the success of a lawsuit against Led Zeppelin over “Stairway to Heaven” and

produced a report. Defendants then hired Dr. Ferrara to testify against Plaintiff,

despite him having previously worked for Plaintiff’s publisher and fiduciary, and

concealed all of this from plaintiff--including Ferrara’s prior analysis of “Taurus”

and “Stairway to Heaven”. This unseemly conduct alone should preclude his

testimony as against public policy.

      Dr. Ferrara was paid over $80,000 and is professional expert for the industry.

(Excerpt 1034-35). He hires himself out to the highest bidder, usually the industry.

The fact that Dr. Ferrara never disclosed his prior employment and his prior

invoices, or how much he was paid, or the content of his analysis goes directly to his

biases, the soundness of his opinions, and whether or not there was material for

impeachment within his prior reports for Plaintiff’s publisher. The failure to disclose

this conflict and prior analysis of the very two songs in dispute reflects a lack of

candor with the tribunal.


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      Not only was their an affirmative disclosure obligation of a known conflict

under FRCP 26, and basic lawyerly ethics, but Defendants never disclosed any of

this information despite repeated discovery requests by Plaintiff directly on point:

                   All material and communications you have concerning Lou
            Adler (including by not limited to his entities such as Hollenbeck
            Music and Ode Records) . . . regarding “Stairway to Heaven” . . .
            “Taurus” . . . including after the filing of this lawsuit‐‐‐this includes
            communications between Defendants’ attorneys and agents and
            Lou Adler’s attorneys and agents.
See, e.g., (Excerpt 1744). Note that defense counsel admitted to communications

with Lou Adler’s entities and agents about this case, but failed to produce these

communications. Plaintiff also requested such things from Dr. Ferrara in his

deposition, but they were never disclosed or produced. (Excerpt 1758-59).

      The fact that Dr. Ferrara’s prior analysis of the two songs in dispute was never

disclosed is an extreme violation of Defendants’ discovery obligations that goes to

the heart of this case. Their failure to turn over this information means that a

negative inference must be drawn that the information they withheld would have

been damaging to Defendants’ case and would have been favorable to Plaintiff’s.

      Disqualification, given the manifest unseemliness of Defendants and Dr.

Ferrara’s deception, was warranted. American Empire Surplus Lines, 484 F. Supp.

2d 855. It is entirely possible that Dr. Ferrara concluded in his prior that “Taurus”

and “Stairway to Heaven” were similar in key respects, something which would

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totally undermine his testimony in court. At a minimum, a negative inference

should have been granted.

     Plaintiff notes that although the disqualification analysis should normally

consider an analysis of what confidences there were or could be breached,

Defendants’ conduct, in concealing any and all information related to Dr. Ferrara’s

prior employment with Plaintiff’s publisher and of his prior comparison of

“Taurus” and “Stairway to Heaven”, had made conducting this analysis

impossible.

     Note that when Plaintiff attempted to cross examine Dr. Ferrara on these

issues, he was prevented from doing so by the court on relevance grounds despite

the fact that there was no way to know what was in Dr. Ferrara’s prior analysis

without seeing it:

     MR. MALOFIY:            Sir, in your report, did you ever disclose the fact that
                             you initially looked at the "“Taurus”" sound
                             recording?
     MR. ANDERSON:           Objection.
     THE COURT:              Sustained.
(Excerpt 1044).

     Defendants’ conduct was nothing less than a deliberate effort to perpetrate a

fraud on Plaintiff, one which the court’s failure to entertain the sanctions motion

and request for preclusion ultimately rewarded. The presumption must be that


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Defendants concealed this conflict and prior analysis because it hurt their case.

       The failure to preclude Dr. Ferrara or grant a negative inference requires

reversal.

                                 Conclusion

       For the foregoing reasons, Plaintiff-Appellant respectfully requests that this

Honorable Court reverse, vacate, and remand for a new trial, including striking the

bill of costs. The issues complained of, both when considered individually and as a

whole, demonstrate that there were many serious errors that unduly prejudiced

Plaintiff’s ability to prove substantial similarity.

                                          *****
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          Statement of Related Cases

There are two related cases:

 The district court denied Defendants’ requests for costs and fees and

   Defendants’ appealed at 16-56287.


 In Williams v. Bridgeport Music, (15-56880, 16-55089, 16-55626) there

   are many of the same legal issues in dispute concerning the admissibility

   of sound recordings and their compositions as it relates to the deposit

   copy requirement of the 1909 Act.




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           Statement of Length Compliance

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                              Certificate of Service

          I hereby certify that a true and correct copy of the foregoing Appellant’s Opening
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    Form 8.           Certificate of Compliance Pursuant to 9th Circuit Rules 28-1.1(f),
                      29-2(c)(2) and (3), 32-1, 32-2 or 32-4 for Case Number 16-56057
Note: This form must be signed by the attorney or unrepresented litigant and attached to the end of the brief.
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   This brief complies with the length limits permitted by Ninth Circuit Rule 28-1.1.
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   single brief in response to multiple briefs; or (3)   a party or parties filing a single brief in response to a
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Signature of Attorney or                                                             Date   03/17/2017
Unrepresented Litigant
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("s/" plus typed name is acceptable for electronically-filed documents)


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               United States Court of Appeals
                   For the Ninth Circuit
                              No. 16-56057; 16-56287
                         __________________
                                Skidmore et al.
                          Michael Skidmore, Trustee for the
                              Randy Craig Wolfe Trust
                          Plaintiff-Appellant/Cross Appellee
                                          v.
                              Led Zeppelin et al.
                                Defendants-Appellees
                                         and
                       Warner/Chappell Music, Inc.
                             Defendant, Cross Appellant
                 __________________________
        Skidmore’s Combined Reply Brief and
            Opening Brief Responding to
         Defendant’s Costs and Fees Appeal
      _____________________________________
(Music copyright infringement, on appeal from the final Order dated June 23, 2016
  of the Honorable R. Gary Klausner, of the United States District Court for the
Central District of California. The case was docketed in the Central District at 15-
                                     cv-03462)
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      Introduction and Summary of Arguments
      Plaintiff-Appellant1, Michael Skidmore, submits this Combined Reply Brief

and Opening Brief Responding to Defendant’s Costs and Fees Appeal.

       Part I – is Plaintiff Reply Brief in support of his appeal of the jury verdict in
        favor of Defendants and against Plaintiff.
       Part II – is Plaintiff Response Brief opposing Defendant
        Warner/Chappell’s claim that the trial court erred in denying the
        defendant its attorney’s fees and costs.
      First, Plaintiff Skidmore’s primary argument on appeal is that a recording of

a song, which contains and embodies the composition of the song, is admissible to

prove the protected composition of a musical work under the 1909 Copyright Act.

Plaintiff also argues that nothing in the 1909 Act limits the scope of protected

expression in a musical copyright to sheet music alone. In the underlying case, the

district court limited the substantial similarity comparison to between the

incomplete deposit copy sheet music of “Taurus” and “Stairway to Heaven”—to

the exclusion of all other evidence of the composition in the original, full “Taurus”

album composition which was owned and possessed by Defendant James Patrick

Page in his record collection.




1
 For purposes of clarity, because this Brief is both a Plaintiff-Appellant’s Reply Brief
and a Plaintiff-Cross Appellee’s Response Brief to Defendant-Appellant’s Appeal,
counsel has chosen to primarily identify the parties according to their respective
position in the district court: “Plaintiff” or “Defendant.”
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      Plaintiff’s Reply demonstrates that Defendants’ argument claiming that the

district court was correct to limit the scope of protected expression to only the exact

notes on the deposit copy lead sheet—to the exclusion of all other relevant and

competent evidence such as the “Taurus” album composition and recording—is an

egregious error of substantive and evidentiary law that warrants reversal. There is

no case in 108 years since 1909 Act became law which holds that the deposit copy

lead sheet substantively governs the scope of protected scope of expression in a

musical work (except the Central District of California Williams v. Bridgeport case

in 2014, a ruling which is currently on appeal). Further, there is no case in history

that has held that a recording of a song—which contains a copy of the song’s

composition—cannot be used as evidence to establish the composition of a musical

work under the 1909 Act.

      Plaintiff’s Reply further demonstrates that Defendant’s Response is

fundamentally flawed in alleging that no harm resulted from the use of the

incomplete deposit copy composition versus the complete album composition of

“Taurus” that was kept in defendant Jimmy Page’s record collection. Plaintiff

demonstrated severe prejudice in the opening brief by identifying the key

compositional element shared by “Taurus” and “Stairway to Heaven” (guitar

melody) which only partially appears in the “Taurus” deposit copy lead sheet; by


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presenting recordings of all the compositions at issue to this circuit for comparison;

and by presenting Plaintiff’s expert opinions that the composition of the album

version of “Taurus” is “identical” to “Stairway to Heaven,” while the deposit copy

is merely “substantially similar.”

      Lastly, contrary to Defendants’ silly, unsupported, and blatantly false

argument that Plaintiff is attempting to sue over a “sound recording copyright,”

Plaintiff has never made nor lodged a claim over any “sound recording copyright.”

      Second, Plaintiff correctly argues that the Court’s failure to give an inverse

ratio rule instruction was reversible error—especially in light of the fact that Plaintiff

proved direct access and presented abundant evidence at trial to support this factual

position. It was highly prejudicial that the jury did not know that Plaintiff’s burden

to prove substantial similarity should have been lowered by the amount of access he

could prove. Defendants’ response claims that the court properly declined to give an

inverse ratio instruction because it was necessary for Plaintiff to provide a “high

degree” of access—something Plaintiff did. Plaintiff’s reply details how he proved a

high degree of access with direct and circumstantial evidence, namely demonstrating

that defendant James Patrick Page owns “Taurus” in his record collection.

Furthermore, there is no legal requirement that there must be a “high degree” of

access proven before an inverse ratio instruction is given; it should be given


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whenever there is a triable issue of fact on access and substantial similarity.

      Third, Plaintiff argues that the court failed to instruct the jury on the

protectability of combinations of musical elements, and also misdefined originality

in the jury instructions. Plaintiff argues that these errors seriously prejudiced his case

because the Court erroneously instructed the jury that much of his experts’

testimony on what was protectable in “Taurus”, and similar to “Stairway to

Heaven,” could be disregarded. Defendants disingenuously respond that Plaintiff

waived the issues and that he suffered no harmful error. Plaintiff’s reply clearly

demonstrates that he preserved his claims of error by complying with L.R. 51 and the

Court’s on-the-record verbal instructions. Moreover, Plaintiff detailed the exact

expert testimony and musical elements that were undermined by the Court’s

deficient instructions.

      Plaintiff’s Response in Opposition to Defendant’s Cost and Fees Appeal

      An award or denial of costs and fees is reviewed for an abuse of discretion.

Here, Defendant Warner/Chappell has not identified any valid reasons why the

Court’s decision to deny costs and fees was an abuse of discretion or that any errors,

if committed, constitute harmful error. The trial court denied Defendant’s motion

because this was a “hard-fought” case indisputably “motivated by a desire to

recognize Randy California’s musical contribution.” Supp. Excerpt 7.


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      First, Defendant erroneously and disingenuously claims that the trial court

failed to consider the purpose of the Copyright Act when denying its costs and fees

motion. This contradicts the fact that the Court analyzed every factor under the

Fogerty test (and also took into account additional considerations suggested by

Defendants), which is designed to help courts evaluate whether litigation comported

with the Copyright Act’s goals. Moreover, the trial court’s opinion explicitly stated

that it was rendered “in light of the Copyright Act’s essential goals.”

      Second, the district court was correct in its denial of its award of costs and

fees as the opinion was well reasoned, legally correct, and did not abuse its discretion.

Defendant spuriously argues that Plaintiff’s lawsuit was frivolous and objectively

unreasonable on substantial similarity. The district court’s opinion, however,

explained that Plaintiff’s substantial similarity arguments were reasonable and that

this was the reason the court denied Defendants’ summary judgment motion and

allowed a jury trial in the first place. In addition, Defendants’ waived this issue at

every stage of the litigation. Defendants did not appeal the summary judgment ruling

which they now claim was incorrect, which held that there was a dispute of fact for

the jury on substantial similarity. That summary judgment ruling is law of the case

and cannot be disturbed. Moreover, Defendant never made or developed these




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arguments in its motion for costs and fees; Defendant cannot make an argument to

this Circuit they did not develop below.

      Third, Defendants wrongly claim that the Court somehow erred in weighing

the argument that Plaintiff’s counsel, not Plaintiff, had allegedly committed

litigation misconduct. What Defendant ignores is that the Court counted this factor

in favor of Defendant (which Plaintiff vehemently disagrees with), but still found

that fees were not appropriate. The Supreme Court and Ninth Circuit have explicitly

held that a district court may weigh a broad range of considerations when

determining whether assessing costs and fees are warranted and that there is no

precise formula to be followed. Here, the district court’s opinion methodically steps

through each of Defendant’s arguments and reasonably concludes that an award of

costs and fees does not satisfy the goals of the Copyright Act. There was no abuse of

discretion.

                   Request for Oral Argument
      Plaintiff-Appellant respectfully requests oral argument from this Honorable

Court and affirms that he believes that oral argument would prove helpful in

resolving these appeals and the issues raised herein because they are not only

complicated, but the resulting appellate court decision could affect many

copyrighted works under the 1909 Copyright Act and future litigants.


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      Plaintiff observes that oral argument is scheduled for Williams v. Bridgeport

Music (15-56880) on October 7, 2017. As the deposit copy issue is front-and-center,

and the main issue on appeal in both matters, and because a decision in the Williams

case will have a substantial effect on Plaintiff’s appeal and on copyright law moving

forward, Plaintiff respectfully requests that this Circuit withhold its decision on

Williams until oral argument has been heard on both cases.




                  Part I - Reply Arguments

1.    The 1909 Copyright Act and the Case Law Do Not Limit the Scope of a
      Musical Copyright’s Composition to Written Sheet Music
      a.     Plaintiff’s Opening Argument and Defendants’ Response

      Plaintiff’s opening brief advocated that the 1909 Copyright Act does not limit

the scope of protected musical expression in a work to only written sheet music. Plt.

Brief, at p.28-42. Plaintiff’s brief explained that a musical work under the 1909 Act

first obtained common law copyright protection the moment it was created and then

became a federal copyright once published or registered. Id. at 31. Plaintiff also

provided key background showing that the 1909 Act was enacted in a push by

Congress to expand the protections of musical works beyond sheet music. Id. at p.30-

31.

      The Supreme Court ruled in 1908 that the 1831 Copyright Act only allowed
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an author to protect from copying a musical composition placed in sheet music, not

musical compositions placed on piano rolls. See White-Smith Music Publ’g Co. v.

Apollo Co., 209 U.S. 1, 10-11 (1908) (holding that the only musical expression

protected under 1831 Copyright Act was sheet music and inviting Congress to

expand scope of protection). It should be noted that in 1831 there was no way, other

than sheet music, to fix a musical composition in tangible form, nor was there any

real way to introduce evidence of a song’s musical composition other than sheet

music.2

      Thus, given the advancements in technology since 1831, in 1909 Congress

accepted the Supreme Court’s invitation and made it clear in section 1(e) of the 1909

Copyright Act that an author would be able to protect a musical composition fixed

by mechanical reproduction (like piano roll or record), in addition to sheet music:

             [a musical composition may be fixed in] any system of notation
             or any form of record in which the thought of an author might be
             recorded and from which it may be read or reproduced.
1909 Act, § 1(e).

      This meant the author/owner could now protect compositions contained on

piano rolls and records from copying, as well as sheet music. Goldstein v. California,

412 US 546 (1973) (stating that “under § 1 (e), records and piano rolls were to be


2
  The piano roll was not invented until, at the earliest, 1863, and the
phonograph/gramophone was not invented until 1877.
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considered as ‘copies’ of the original composition they were capable of

reproducing”). Consequently, it necessarily follows that because piano rolls and

recordings are copies of musical compositions, they are evidence of a song’s

composition. See Plt. Brief, at p.37.

      All of this indicates that Congress intended, and the Courts understood, that

the scope of copyright protection in a musical composition was not limited to sheet

music under the 1909 Act. Many, many songs, including “Taurus” and “Stairway

to Heaven”, were composed under the 1909 Act independent of sheet music. Id.

      As an archival and record keeping requirement for songs being copyrighted,

the 1909 Act required a sheet music copy be deposited with the copyright office. 1909

Copyright Act, at §11-12. The Supreme Court stated in 1939 that the deposit copy

requirement under the 1909 Act is not connected to the “subject matter of protected

works” and that “the requirement for deposit is not for the purpose of a permanent

record of copyright publications and . . . such a record is not indispensable to the

existence of the copyright.” See Washingtonian Publ’g Co. v. Pearson, 306 U.S. 30,

39-41 (1939).

      No court has ever held that sections 11-12 of the 1909 Act substantively define

the scope of protected expression in a musical work (except two Central District of

Cali. courts in 2014 (Williams) and 2016 (this case), and both decisions are being


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appealed). Moreover, no court has ever held or observed that the scope of common

law protection a copyright acquired upon creation could be somehow limited by

federal registration. See 1909 Act, §3.

      The district court nevertheless erroneously held that under the 1909 Act only

the written deposit copy controlled the scope of protection of the composition in a

song—to the exclusion of all other evidence of the song’s composition. (Excerpt 73-

74, 1865, 1866-67).

      Plaintiff demonstrated in the opening brief on pages 37-38 that, contrary to the

District Court’s decision, that there are several appellate cases from across the

nation, including the Ninth Circuit, where the Circuit courts have allowed the

protected composition of a song copyrighted under the 1909 Act to be established by

reference to recordings of the song which contain a copy of the underlying musical

composition. The defendants in those cases contended that only the written deposit

lead sheet should be used. See Three Boys Music Corp. v. Bolton, 212 F.3d 477 (9th

Cir. 2000); Bridgeport Music, Inc. v. UMG Recordings, Inc., 585 F.3d 267, 276 (6th

Cir. 2009) (observing that deposit copy sheet music could be disregarded when the

song’s composition was “embedded in the sound recording” and the composition

was created long before the deposit copy lead sheet); see also Pearson, 306 U.S. at

39-41; National Conference of Bar Examiners v. Multistate Legal Studies, 692 F. 2d


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478 (7th Cir. 1982).

      Defendants contend in response, in support of the trial court’s erroneous

decisions, that only the deposit copy sheet music is protectable composition under

the 1909 Act because sections 11-12 state that a “complete” copy of the song should

be submitted to the Copyright Office. Def. Brief, at p.43. Defendants also contend

that the cases presented by Plaintiff showing that sections 11-12 do not prohibit

recordings from being admissible to prove the composition of a song are

distinguishable, specifically Three Boys Music, because they allegedly are only about

jurisdiction. Def. Brief at p.45-46, 50. Defendants further claim that Plaintiff has not

demonstrated that the incomplete composition on the deposit copy differs from the

full album composition of “Taurus” owned by Jimmy Page. Id. at 36.

      b.     Plaintiff’s Reply on Why Recordings of a Song May Be Used to
             Establish the Composition of Songs and Why The 1909 Copyright
             Act Does Not Limit the Protected Composition of a Song to Sheet
             Music

             i.     Defendants’ Response Fails to Explain why Recordings of a
                    Song Cannot be Used to Establish the Composition of the
                    Song Under the 1909 Act

      Plaintiff made the point on page 31 of his opening brief that "Under the 1909

Act, an unpublished work was protected by state common law copyright from the

moment of its creation until it was either published or until it received protection

under the federal copyright scheme." See ABKCO Music, Inc. v. LaVere, 217 F. 3d
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684 (9th Cir. 2000). The full “Taurus” composition was created and in a final

concrete form independent of sheet music in 1966 and was soon after included on

Spirit’s first album (which defendant Page owns). See Excerpt 2515; Excerpt 286;

Audio Exhibits 32-39; Plaintiff’s Brief at p.14. The deposit lead sheet of Taurus was

later created in 1967 when the song was registered with the Copyright Office.

Excerpt 2642.

      There is no indication, anywhere, that the copyright protection an original

composition received under common law, such as a musical composition placed on

a record, was limited or circumscribed by conversion to federal copyright. In fact,

the 1909 Act specifically states that “the copyright provided by this Act shall protect

all the copyrightable component parts of the work copyrighted, and all matter therein

in which copyright is already subsisting, but without extending the duration or scope

such copyright.” See 1909 Act, §3. The very idea that common law copyright could

be shrunk by federal copyright is risible.

      Defendants maintain in their response that section 1(e) only identified new

technical forms in which compositions could be reproduced and protected, not that

it expanded the scope of copyright protection. Def. Brief at, p.38-39. But this misses

the point. When the 1831 Act was enacted, which preceded the 1909 Act, there was

no way to fix or prove a musical composition—other than in or with sheet music.


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      Before the 1909 Act, the Supreme Court had taken the view that mechanical

reproductions like piano rolls “did not constitute a ‘copy’ of a copyrighted musical

composition because they were not written or printed in tangible form.” ABKCO,

217 F. 3d at 688. Specifically, the Supreme Court believed “A musical composition

is an intellectual creation which first exists in the mind of the composer; he may play

it for the first time upon an instrument. It is not susceptible of being copied until it

had been put in a form which others can see and read,” which in its view was only

sheet music not piano rolls. See White-Smith Music, 209 U.S. at 17. Thus, persons

were free to reproduce the rolls and the author could do nothing because only

compositions on sheet music were protected.

      With the 1909 Act, Congress expanded the rights of authors/owners to

prohibit the unauthorized copying of compositions included on records and piano

rolls. Section 1(e) specifically states that an original musical composition can exist in

“any system of notation or any form of record in which the thought of an author

might be recorded and from which it may be read or reproduced,” making it clear

that evidence of the content of a musical composition can and will extend beyond

sheet music. 1909 Act, §1(e) (emphasis added). The 1909 Act thus made it clear that

original compositions of songs could be embodied in mechanical records. See

Goldstein, 412 U.S. at 564 (stating that records and piano rolls were to be considered


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“‘copies’ of the original composition they were capable of reproducing.”).

      By acknowledging technological progression and providing that copies of

musical composition could be embodied in mechanical reproductions like records,

Congress definitively moved copyright law beyond sheet music. Note that many,

many compositions were written under the 1909 Act completely independent of

sheet music, including “Taurus” and “Stairway to Heaven.” UMG Recordings, 585

F.3d at 276. Nothing in the act or case law states that a recording is not evidence of

a song’s composition, nor do they state the scope of composition is limited to sheet

music.

      Logically, evidence of a musical composition can come from anywhere,

especially a mechanical reproduction which contains a copy of the composition.

See Goldstein, 412 U.S. at 564. Indeed, the courts have routinely allowed recordings

of songs, which contain the compositions of the songs, to prove the compositions of

the songs. See Three Boys Music, supra; UMG Recordings, 585 F.3d at 276.3


3
  Defendants attempt to argue that it was proper to preclude the album recording
because it could confuse and mislead the jury under FRE 403. Def. Brief at p.52-53.
But the court legally erred when it precluded any evidence of “Taurus’s”
composition outside the deposit copy as inadmissible; it was not an evidentiary
determination at the court’s discretion. Whether the actual “Taurus” album
recording itself should be played to the jury, as opposed to a re-recording of only the
compositional elements in the “Taurus” album version, is a FRE 403 question to be
addressed on remand. Moreover, the composition of “Taurus” in the recordings
could have been admitted without admitting the actual sound recordings themselves.
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      Defendants are forced to admit that should a deposit copy be lost, then a court

could use a recording to establish the composition of a song. See Def. Brief, at p.54.

Yet, Defendants fail to acknowledge that if a recording is a copy of a song’s

composition in some instances, it must be considered evidence of a song’s

composition in other instances.4 They cannot pick or chose.

                ii. Plaintiff Has Clearly Shown Why Sections 11-12 Do Not
                    Control or Define the Scope of Protected Expression in a
                    Musical Composition

      Defendants argue that archival sections 11-12, which require a “complete”

copy of a song to be submitted to the Copyright Office, control the substantive scope




US v. WR Grace, 504 F.3d 745, 763 (2007) (stating that experts “may rely on
inadmissible evidence in forming an opinion or delivering testimony”).
4
  Defendants claim that the deposit copy is “best evidence” of a song’s composition
and that recordings are secondary evidence. Def. Brief, at p.54. Setting aside that
Defendants cite no case law for this proposition whatsoever, this argument begs the
question in multiple respects. First, nothing in the 1909 Act or the century of
following case law says that the deposit copy is best evidence of a song’s
composition. Many cases contradict such a notion. See Three Boys Music, supra;
UMG Recording, supra; National Conference of Bar Examiners, supra. Second, the
Supreme Court has held that a musical composition fixed in a record under section
1(e) is indeed a copy of a song’s composition, placing it at least on equal status with
the deposit copy. See Goldstein, supra. Third, the deposit copy is usually not
complete as Plaintiff’s expert observed (Excerpt 2516, 1788) and therefore may not
be the best evidence a song’s composition, especially when the song was composed
without sheet music and the defendant did not hear the deposit copy—which is
exactly the situation in this case. Jimmy Page indisputably only had access to the
“Taurus” album recording, which contains the full composition of “Taurus”; he
did not hear or see the incomplete deposit copy sitting in the Copyright Office.
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of copyright protection under the 1909 Act. Def. Brief, at p.43. Defendants argue,

and the District Court held, that because sections 11-12 state that a complete copy of

a song must be submitted, that therefore this is the only protected expression in a

song. Def. Brief, at p.43. However, Defendants never explain how sections 11-12,

which have always been read by the courts as an non-substantive, jurisdictional, and

archival requirement, can be read in a substantive manner.

      First, Defendants have not cited any cases whatsoever where sections 11-12

are treated as having anything other than a jurisdictional and/or archival effect. Plt.

Brief at p.35 n.3. This is a glaring omission. There are no cases (except the lower

court’s decision and the Williams decision in 2016 and 2014) where sections 11-12

are held to have any bearing on the substantive scope of protected expression in a

music composition copyright. In contrast, there are many cases where the deposit

copy has not limited the scope of protected expression in a musical composition. See

Three Boys Music, 212 F.3d at 486-87; Bridgeport Music, Inc., 585 F.3d at 276

(observing that a song’s composition could be “embedded in the sound recording,”

independent of any sheet music); see also Pearson, 306 U.S. at 39-41; National

Conference of Bar Examiners, 692 F. 2d at 487.

      Second, to hold that sections 11-12 define the scope of copyright protection in

a work effectively negates the language in section 1(e). It is a basic premise of


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statutory interpretation that a statute must be read to give effect to all sections the

law. United States v. Menasche, 348 US 528, 538-39 (1955) (“It is our duty ‘to give

effect, if possible, to every clause and word of a statute,’ Montclair v. Ramsdell, 107

U. S. 147, 152, rather than to emasculate an entire section, as the Government's

interpretation requires.”). Section 1(e), taking into account the advances in

technology, states that a copy of original musical composition can exist in “any

system of notation.” Given the advances in technology many musical works were

written and fixed under the 1909 Act independent of sheet music. See, e.g., UMG

Recordings, supra. To limit the scope of composition to a deposit copy contradicts

the basic purpose of section 1(e) to recognize the changing technology.

      The Supreme Court has held that musical compositions, which section 1(e)

authorizes to be mechanically fixed on a record, are protected copies of the song’s

composition. Goldstein, supra. Yet, the District Court’s holding is stating that these

mechanical reproductions are in fact not copies of the compositions because it

believes that the only protected musical composition is on the deposit copy sheet

music. This is an impermissible contradiction.

      If a mechanical reproduction like a piano roll or recording contains a protected

copy of the musical composition at issue, then it inexorably follows that the roll or

recording is also admissible evidence of the protected expression in the musical


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composition.

      c.     The Ninth Circuit and Sixth Circuit Have Previously Ruled That
             Album Recordings May Be Used to Establish the Composition of a
             Song Copyrighted under the 1909 Act

      Plaintiff noted in the opening brief that the Ninth Circuit has already de facto

ruled that when a music composition copyright was challenged over an incomplete

deposit copy that recordings may be used to establish the composition of the song.

Three Boys Music, 212 F.3d at 486-87.5 Other circuits have also made similar rulings.

UMG Recordings, 585 F.3d at 276 (observing that a deposit lead sheet does not

control scope of protected expression when the song’s composition was “embedded

in the sound recording” independent of any sheet music).

      Defendants, and the lower court, claim that because the defendant in Three

Boys Music made no objection to recordings being used to establish the composition



5
  Defendants claim that Plaintiff wants an amalgam of recorded versions of
“Taurus” admitted to prove the song’s composition. Def. Brief, at p.42. But this is
not true; all of these recordings show that “Taurus” has just one real composition.
Plaintiff wants to use the album composition, which Jimmy Page admitted he owned,
plus several other live recordings, to prove to the jury what the protected
composition of “Taurus” was, i.e., those parts of the song that appear consistently
every time the song is played. See Newton v. Diamond, 204 F. Supp. 2d 1244, 1259
(C.D. Cal. 2002); Plaintiff Brief at p.14, 29 (stating that recordings show “Taurus”
in concrete and final form in early 1967, before deposit sheet music created and
submitted to Copyright Office); Excerpt 2515 (stating that early 1967 live recordings
of “Taurus” show composition already finalized; that composition was later fixed in
the album version).
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of the songs, and because the case was focused on jurisdiction, that the result must

be different in this case. Def. Brief, at p.50; Excerpt 132. But this conclusory

assertion is never developed—because it does not make sense.

      First, Defendants tellingly ignore UMG Recordings, which explicitly

addressed and easily rejected Defendants’ position that the deposit sheet music

limits or defines the scope of protected expression in a musical composition

copyright.

      Second, the defendant in Three Boys Music posed exactly the same

objection/argument Defendants now raise:

             Bolton and Goldmark argue that in 1964 the Isley Brothers
             deposited sheet music ("deposit copy") of "Love is a Wonderful
             Thing" that differed from the recorded version of the song.
             Furthermore, they claimed that the deposit copy does not
             include the majority of the musical elements that were part of
             the infringement claim.
See Three Boys, 212 F.3d at 486 (emphasis added). The Court observed that:

             Although the 1909 Copyright Act requires the owner to deposit
             a ``complete copy'' of the work with the copyright office, our
             definition of a ``complete copy'' is broad and deferential:
             ``Absent intent to defraud and prejudice, inaccuracies in
             copyright registrations do not bar actions for infringement.''
             Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th
             Cir.1984) (citations omitted).
Id. at 486-87.




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      The Ninth Circuit then allowed the recording of “Love is a Wonderful

Thing” to be admitted as evidence of the musical composition of the song; this

recording was used by the expert musicologists on both sides to compare the songs.

The fact of the matter is that in over 100 years of application of the 1909 Act, no one

has seriously believed that sections 11-12 can restrict the substantial similarity

comparison despite several defendants attempting to unsuccessfully raise the issue.

      Setting aside that Three Boys Music is more proof that the deposit copy

requirement has never been contemplated as substantive as opposed to jurisdictional

by litigants or the courts, why should the jurisdictional analysis of the completeness

of the deposit copy differ from the substantive analysis? Why should a recording of

a song’s composition not be used as evidence to establish the song’s composition?

      Plaintiff argued this to the district court at summary judgment and in the

opening brief. Excerpt 2437 (stating “If the differences [between deposit copy and

recorded version of “Taurus”] do not result in prejudice and are not the result of

fraudulent intent, then the consideration of the composition in the sound recording

is appropriate. Here, there is no prejudice and no fraud.” [citation omitted]); Plt.

Brief at p.35 n.3 (stating “regardless whether the requirement is jurisdictional, a

precondition, or substantive, it is a distinction without a difference). Defendants

have never explained why the deposit copy analysis in Three Boys Music should not


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be applied here.

       If there was no prejudice to Defendants—and Defendants have presented no

evidence they would be prejudiced in any way by the consideration of the

composition in the album recording of “Taurus” (which Jimmy Paged owned) as

opposed to a deposit copy Page admittedly never knew existed—then the

compositions as reflected on the “Taurus” album recording should have been

admitted after a finding that Defendants suffered no prejudice.

       Defendants also argue that Three Boys Music differs because the plaintiff’s

expert in that case testified that some of the elements in the recorded composition

were embodied the deposit copy; Defendants claim Plaintiff has not presented such

evidence. Def. Brief, at p.50. Defendants ignore that Plaintiff’s experts in this case

presented that same exact opinion to the Court repeatedly, (see, e.g., Excerpt 2122-

23, 2099, 1788, 2516), but were nevertheless precluded from offering any testimony

about anything other than the exact notes on the deposit copy. (Excerpt 73, 613-14,

635, 736). Plaintiff explicitly asked the district court to allow such testimony, and

raised this issue in his opening brief. Plt. Brief, at p.39.




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      d.     Plaintiff and Future Litigants Will Suffer Severe Consequences if
             the Lower Court’s Decision Restricting the Substantial Similarity
             Comparison is Affirmed

      Entirely undisputed by Defendants is that under the district court’s ruling no

recording could ever be admitted as part of a 1909 Copyright Act case to establish a

song’s composition. This means that every music infringement case would only

analyze a dusty deposit copy that no one had ever heard, instead of the actual song

the defendants listened to and allegedly copied. The comparison would be reduced

to something artificial and pointless. This consequence illustrates the absurdity of

restricting the comparison of 1909 Act musical composition to only the deposit copy

transcription.

      Moreover, if this was truly the law for 108 years, then why in Three Boys

Music and UMG Recordings did the comparison utilize recordings? If this is the law,

then why in 108 years of case law is there no indication that any litigant argued and

no court held that a recording of song’s composition is inadmissible to prove a song’s

composition in a music copyright case?

      The answer is because it is ridiculous to believe that a recording of a song,

which is a copy of the composition of a song, cannot be used to prove the composition

of a song. The extreme rigidity in the lower court’s opinion was not even adopted by




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the Williams court, the only other court in history to tie (erroneously) the scope of

copyright protection to the deposit copy.

2.    The Court Should have Permitted Plaintiff to Present Expert Testimony
      that the Composition in the “Taurus” Album Recording was Embodied
      in the Deposit Sheet Music Composition of “Taurus,” as the Plaintiff
      was Allowed to Do in Williams

      Plaintiff explicitly asked the district court, if it was going to find that sections

11-12 were substantive, to adopt the approach of the Williams court (Blurred Lines).

(Excerpt 2102-04).

      The Williams court—the only other court in history to apply the deposit copy

requirement substantively—found that the recordings of the composition released

to the public were in fact evidence that could establish the composition of the song,

as long as experts testified that the compositions in the recordings were connected

to and embodied in the deposit copy. Williams v. Bridgeport, Order Denying Post-

Trial Motions, 13-cv-6004 (Doc. No. 423), at p7. (7/14/2015) (“I think [the Gaye

Parties’ expert] testimony is going to have to be based on the deposit copy. It's not

to say they can't have listened to the sound recording as part of their analysis. They

simply can't present to the jury an opinion that says, ‘[b]ecause I listened to the

sound recording, I've reached this conclusion.’”). Namely, that evidence consisted

of testimony by the plaintiff’s experts that the compositional elements in the sound

recording were embodied in the deposit copy, even if not with every note.
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      As Plaintiff argued in his opening brief, he should have been allowed to present

such testimony in accordance with Williams—if the district court was going to hold

that the deposit copy requirement was substantive. See Plaintiff’s Brief at p.30, 40.

Plaintiff’s experts opined that compositional expression from the “Taurus” Album

recording was embodied in the deposit sheet music, (Excerpt 2122-23, 2099, 734-

36), but were nevertheless precluded from offering any testimony about anything

other than the exact notes on the deposit copy. Excerpt 735-36 (the Court stated when

Plaintiff’s expert tried to play the album composition of “Taurus” embodied on the

deposit lead sheet, “You can play notes of the deposit copy only” and that any and

all notes not on the deposit copy “are not protected”); Excerpt 73, 613-14, 635.

      Defendants’ only response in their opening brief is to weakly claim that the

Williams’ court’s opinion is “suspect” and that Plaintiff did not present any such

expert evidence. Def. 50-51. However, Plaintiff did present such expert evidence

(Excerpts 2122-23, 2099, 2109-10, 1788), and indeed even submitted arguments to

the court explicitly using such evidence. (Excerpt 2115-16). Dr. Alexander Stewart

stated that lead sheets are usually incomplete, “the ‘missing’ notes [in the deposit

copy] are not really missing and can be easily referenced in the numerous recordings

of [“Taurus”],” and “any competent performer might be expected to fill in the

missing parts.” See Excerpt 1788.


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      Moreover, Defendants’ statement that the Williams’s court’s opinion is

“suspect” lacks self-awareness. The position advocated for by Defendants, and

accepted by the lower court in this case (that all evidence of a song’s composition

other than the deposit copy must be excluded), has never been endorsed by a court

in the 108 years since the 1909 Act became law.

3.    Plaintiff Demonstrated in His Opening Brief Through Expert Testimony,
      Expert Reports, and Audio Exhibits that the Album Composition of
      “Taurus” was “Identical” to “Stairway to Heaven” Whereas the
      Deposit Copy was Merely “Substantially Similar”
      Defendants argue that Plaintiff has not provided evidence to this court that

the album recording of “Taurus” and the deposit copy differed compositionally and

that Plaintiff has not shown that any prejudice was suffered by excluding the full

composition of “Taurus” present in the album recording. This is not only

erroneous, because Plaintiff took great care to preserve this issue, but it also fails to

take into account that the District Court refused to allow Plaintiff to place such

evidence on the record when it held that only the exact notes of the deposit copy

were admissible.

      First, Plaintiff identified the exact compositional element omitted by the

deposit copy, the guitar melody, in his opening brief: “Plaintiff’s experts opined that

all pertinent elements of ‘Taurus,’ especially the guitar melody central to the

case, are represented on the deposit copy and those compositional elements are also

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present in the ‘“Taurus”’ sound recording.” Plaintiff’s Brief, at p.39 (emphasis

added) (citing to Dr. Stewart’s report at Excerpt 2122-23). The guitar melody only

partially appears on the deposit copy. Dr. Stewart observed, in the report cited by

Plaintiff’s opening brief, that defense expert Dr. Ferrara agreed with him that only

half the notes in the guitar melody appear on the deposit copy of “Taurus”. Excerpt

2123.6 This report alone was cited at least five times in Plaintiff’s opening brief.

      Second, in Plaintiff’s opening brief he provided this Circuit with the deposit

copy of “Taurus,” a recording of the deposit copy being played on guitar, a recording

of the composition in the album version of “Taurus”, and the composition in the

album version of “Stairway to Heaven”. See Plaintiff’s Brief at p.14, 17 (citing Audio

Exhibits 7-11 [“Taurus”/Stairway Comparison], 40-44 [same but temp synced], and

32-39 [Ash Grove Concerts of “Taurus”]);7 see also Trial Exhibit 527V; Audio



6
  Dr. Alexander Stewart also submitted a different report, which in Part I analyzed
the deposit copy of “Taurus” versus “Stairway to Heaven” (See Excerpt 1776), and
then in Part II analyzed the composition in the “Taurus” album recording/deposit
copy versus “Stairway to Heaven”. (See Excerpt 1788). Stewart explicitly analyzed
the compositional differences between each version of “Taurus”, namely the
“prominent guitar melody in section A that is only partially represented in the
‘“Taurus”’ deposit copy lead sheet.” See Excerpt 1788. Stewart’s conclusion
regarding the “Taurus” album version’s composition was that “During the first 18
notes [the] basic melodic sequence is virtually the same” as compared to “Stairway
to Heaven”, and that the songs are so striking similar it precludes “the possibility of
coincidence or independent creation.” (See Excerpt 1789, 1791). He did not offer
such a strong opinion in his conclusion regarding the deposit copy. See Excerpt 1787.

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Exhibit 12, 22, 40-44. These exhibits were physically transmitted to the Circuit

Court. This Circuit can listen to the songs for themselves and easily determine that

the deposit copy of “Taurus” is far more dissimilar to “Stairway to Heaven” than

the album version of “Taurus” which is identical. See the fourth point in this section

for an even more detailed explanation.

      Third, Plaintiff also identified for this Circuit the reports of Plaintiff’s experts

which explicitly stated that the “Taurus” album composition and “Stairway to

Heaven” were identical, (Excerpts 2515, 2359, 2192), an opinion they never stated

concerning the deposit copy. See Plaintiff’s Brief, at p.17 (citing Excerpt 2412, 2504,

2180, 2199, 2231). Furthermore, Plaintiff’s expert Brian Bricklin took defense expert

Mathes’s performance of the compositions in the ““Taurus”” album version and

his performance of the composition in the “Stairway to Heaven” album version and

overlaid them on top of each other. Mr. Bricklin observed that the two compositions,

played by the defense expert, are indistinguishable and are the same “underlying

composition.” See Plaintiff’s Brief, at p.41 (Excerpt 2192, Audio Exhibits 45-47

[Submitted by Motion to Transmit Physical Exhibits]).8 Again, this is not the case


8
 Defendants’ response claims that Plaintiff’s expert said that the deposit copy was
more similar to Stairway than the album version. Def. Brief at p.57. This is nonsense
and takes one sentence of an extensive report out of context. The expert said the
deposit copy contained certain elements that strengthen the claim of copying, not
that the “Taurus” album composition was less similar to Stairway than the
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with the deposit copy. The fact that Plaintiff could not show the jury that the true

and full composition of “Taurus” is identical to “Stairway to Heaven”, and was

instead forced to use the less similar, incomplete deposit copy, was devastatingly

prejudicial.

      Fourth, the Trial Court erroneously precluded the Plaintiff from playing for

the jury the album composition recording of Taurus in comparison of Stairway to

Heaven. Plaintiff’s experts submitted many re-recordings at summary judgment

comparing the Taurus album composition to Stairway to Heaven which were

precluded by the Court’s orders. See 2521-25; 2181; Transmitted Audio Exhibits.

      The relevant sections to compare of the Stairway to Heaven and Taurus album

recordings, which clearly indicate the strikingly similar musical compositions, are

the first 25 seconds of Stairway to Heaven (Audio Exhibit 7) as compared Taurus

(Audio Exhibit 8) starting at 45 seconds to 1 minute, 13 seconds). See Excerpt 2505-

06 (Stewart comparing musical expressions in Audio Exhibits 7 and 8); Excerpt

2182, 2191 (Bricklin comparing musical expression in Audio Exhibits 7 and 8).

Plaintiff was not allowed show this comparison to the jury and this seriously

prejudiced and undermined Plaintiff’s case.



incomplete deposit copy. The report explicitly notes that that if the album
composition is used for the comparison instead of the deposit copy, “Taurus” is
strikingly similar to “Stairway to Heaven”. (Excerpt 1789, 1791).
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       Audio Exhibit 7: Stairway to Heaven (0-25 seconds)
       Audio Exhibit 8: Taurus (45 seconds – 1 minute, 13 seconds)

       The Trial Court also refused to allow Plaintiff to use demonstrative Audio

Exhibits which isolated the relevant musical expression of the acoustic guitar melody

in both Stairway to Heaven and the Taurus album composition so that a comparison

of the relevant expression could be conducted by the experts and the jury.

       Audio Exhibit 9 is a re-creation of the isolated guitar melody and relevant

musical expression of Stairway to Heaven. Audio Exhibit 10 is a similar re-creation

of the isolated guitar melody and relevant musical expression in Taurus. Audio

Exhibit 11 is Audio Exhibit 9 and 10 and it isolates the musical expression at issue in

both songs—the guitar melody—and plays them together for comparison purposes.

This comparison shows that it is without question that the musical expression at

issue—the guitar melody—was substantially similar, strikingly similar, and are

identical. Plaintiff was seriously prejudiced in the Court not allowing Plaintiff to play

this for the jury.

       Other similar comparisons which Plaintiff was precluded from playing are

Audio Exhibits 40-44, all similarly comparing the relevant expression at issue which

was isolated for the benefit of the jury.

       Audio Exhibit 9: 8 measures of the acoustic guitar of Stairway, repeated.
       Audio Exhibit 10: 8 measures of the acoustic guitar of Taurus, repeated.
       Audio Exhibit 11: Audio Exhibit 9 and 10 played together.

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      The Trial Court also refused to allow Plaintiff from introducing any of the

isolated acoustic guitar re-recordings of either Stairway to Heaven (Audio Exhibit

12) or Taurus album recordings (Audio Exhibit 22). These tracks were highly

relevant because they isolated the relevant guitar passage in question. Plaintiff was

severely prejudiced in that the jury was not afforded the opportunity to compare the

musical expression at issue in isolation:

       Audio Exhibit 12: Acoustic Guitar [Stairway Re-Recording]
       Audio Exhibit 22: Acoustic Guitar [Taurus Re-Recording]
      Fifth, the Court itself held that using the composition of the album recording

at trial was highly prejudicial and should be precluded, an irrefutable indication that

the album composition of “Taurus” was far more similar to “Stairway to Heaven”

than the deposit copy of “Taurus”. See Excerpt 605. Moreover, Defendants would

not have fought so hard to preclude the “Taurus” album version if it did not contain

more similarity to “Stairway to Heaven” than the deposit copy.

      The notion that Plaintiff has not given this Circuit enough basis in the record

to conclude that restricting the comparison to the “Taurus” deposit copy was

reversible, harmful error beggars belief.

4.    Plaintiff Has Never Attempted to Claim a Sound Recording Copyright
      Exists or was Copied; Defendants’ Argument to the Contrary is
      Nonsensical
      Defendants make the straw man argument that the 1909 Act did not permit
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sound recordings to be copyrighted. Def. Brief at, p.37. Defendants also argue

Plaintiff’s appeal must fail because Congress did not “extend the right of copyright

to the mechanical reproductions themselves,” which would more or less be what is

known today as a sound recording copyright under the 1976 Act. Def. Brief at, p.39.

         But Plaintiff does not dispute that the mechanical reproductions themselves,

such as sound recordings, are not protectable under the 1909 Act. Plaintiff is focused

on the musical compositions embodied in the recordings. Defendants are arguing

against a straw man. Plaintiff’s sole argument has always been that the composition

of songs under the 1909 Act can be established by referring to recordings in which

that composition is embodied, and that the composition of the song is not limited by

sections 11-12. Indeed, the Supreme Court has long acknowledged that section 1(e)

of the 1909 Act’s purpose was to make it clear that copies of original musical

composition could exist in mechanical recordings. See Goldstein, supra.

Furthermore, many songs under the 1909 Act, like “Taurus” and “Stairway to

Heaven”, were composed on the guitar and recorded well before deposit lead sheets

were created and submitted for a subsequent registration. See UMG Recordings,

supra.

         The inescapable conclusion avoided by Defendants is that if a record is capable

of containing original musical composition, and a song can be composed independent


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of sheet music, then the protected musical composition of a song indeed extends

beyond only the sheet music deposited with the copyright office.

         The 1909 Act in no way prohibited the use of recordings to prove the protected

compositional elements of a song, nor have Defendants identified a single case from

1909 onwards which precludes the use of recordings to prove the composition of a

copyright under the 1909 Act. The composition of a song are simply those elements

of the song that always appear each time the song is played. Newton v. Diamond,

supra.

         Defendants are ignoring that every recording of a song contains the song’s

underlying composition. Merely using a recording to prove the composition of a song

is not the same as claiming that the sound recording itself is copyrighted or has been

infringed.

5.       Plaintiff Proved a High Degree of Access at Trial and Requested an
         Inverse Ratio Rule Instruction; The Lower Court Erroneously Refused to
         Give the Instruction and Caused Plaintiff Severe Prejudice
         Defendants claim that the District Court did not have to give an inverse ratio

instruction because Plaintiff had not presented any evidence of a “high degree” of

access. Not only is the contention that Plaintiff did not present a high degree of

access inaccurate—Plaintiff presented undisputed evidence of direct access—but

Defendants have to torture the case law to arrive at the conclusion that an inverse


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ratio instruction is only given when there is a “high degree” of access.

      a.     The Jury Found that Defendants had Access to “Taurus” Because
             Plaintiff Proved a High Degree of Access with both Direct and
             Circumstantial Evidence
      There was undisputed evidence of a high degree of access in the record. The

jury found that there was access—over Defendants’ vehement (if not very credible)

denials. Why did the jury find Defendants had access to “Taurus?”

      First, there was direct access: at trial it came out that defendant Page owned

or possessed five Spirit albums, including the one that contained “Taurus”. Excerpt

495-97. Second, not only did Page own the critical album, but Led Zeppelin covered

a Spirit song named Fresh Garbage, which was off the same side of the Spirit album

that also had “Taurus” on it. Excerpt 537.

      Third, Spirit was the only rock band that Led Zeppelin ever covered. Excerpts

1230-31. Fourth, Led Zeppelin opened for Spirit during their first US show on

December 26, 1968, in Denver. Excerpt 309. Mark Andes testified that Spirit played

“Taurus” at that show. Excerpt 404-05. Yet, defendant Page incredibly claimed he

was never aware that Spirit played that show—despite the fact that Led Zeppelin

was covering Spirit’s song at the time. Excerpt 554-55 (“I didn’t know they were on

the bill.”). Fifth, Mr. Page, however, told the Richmond News Leader in 1969, just

a few months after the Denver show, that Led Zeppelin had played with Spirit on


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Led Zeppelin’s first US tour:

             Page reflected on Zeppelin’s success. “It’s kind of funny. On our
             first tour around, we played second fiddle to other groups. Last
             time we were the second group and Spirit was the Third. Now
             we’ve each gone up one notch.”
(Trial Exhibit 100158). Defendant Page’s testimony that he did not know Spirit was

at the Denver show does not appear to have been candid.

      Sixth, there were several other moments that called into question defendant

Page’s candor, such as where he categorically told the jury that he had never seen

the band Spirit play a live show. Excerpt 531 (Q: “You don’t remember seeing Spirit

live?” A: “I didn’t see Spirit live.”). Defendant Page was clear that this was not a

question of memory. But, again, Page’s past words from an April 1970 interview—

before “Stairway to Heaven” was written—showed that Page had in fact attended

many Spirit shows:

             Spirit do some really nice things on albums. They give a really
             nice atmosphere when they play and I always enjoy seeing them.
(Trial Exhibit 159). Seventh, Page again reaffirmed this in a 1972 interview when he

said, “I saw Spirit a couple of times and thought they were very good” and that they

struck him on an “emotional level.” (Trial Exhibit 157). Eighth, this is not to

mention that an eyewitness, former Spirit bass player Larry Knight, testified at trial

that Page attended a Spirit show in 1973, had spoken to him at the after party, and

that Page had also met Randy Wolfe at that party. Excerpt 711-12.
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      Ninth, Defendant Plant’s testimony was also less than candid regarding his

familiarity with Spirit. He claimed he did not remember attending a Spirit show in

1970 in Birmingham, England, but also claimed that he would have been in the back

of the club not paying attention to the music with friends. Excerpt 1212-1216. Yet, an

eyewitness came forward, Michael Ware, who testified that he saw Robert Plant in

the front row of the Spirit show enjoying himself immensely. Tenth, this is not to

mention that Mark Andes has a vivid and distinct memory of playing snooker and

hanging out with Plant and many of the members of Spirit that night after the show.

Excerpt 415. After the show, Mr. Plant left the bar and was involved in a serious car

accident, which fixed that night in Mr. Andes’s memory. Excerpt 418.

      Plainly, the jury found that there was access because of the direct access in the

record: Jimmy Page admitted that he owned the album and song in question,

“Taurus,” in his record collection. This alone establishes a high degree of access.

      b.     There is No Case Which Limits the Applicability of an Inverse
             Ratio Rule Jury Instruction to Cases with “High Degrees” of
             Access
      As a matter of law, the inverse ratio instruction is a basic component of

copyright law and was required to be given. Defendants claim it should only be given

in cases of high degrees of access and cite to just one case, Rice v. Fox Broadcasting

Co., 330 F. 3d 1170 (9th Cir. 2003), for this rule. See Def. Brief, at p.60. Yet, Rice


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does not stand for this proposition.

       First, Rice was a decision of this Circuit reviewing the dismissal of a dramatic

work copyright case at summary judgment. It did not deal with jury instructions for

a music copyright case after the trial court had already held there were triable issues

of fact for the jury. Second, Rice held that, even construing all facts in the plaintiff’s

favor, that the only evidence of access was “purely” speculative and inferential. See

Rice, 330 F. 3d at 1179. The plaintiff invoked the inverse ratio rule to try to save the

case. This Circuit held that “Rice's evidence as to proof of access is insufficient to

trigger the inverse ratio rule.” Id. at 1178. In rejecting Rice’s argument, this Circuit

held that the rule was not “triggered” not because a “high degree” of access was

lacking, but because there was no evidence of access even when construing every fact

in the plaintiff’s favor. Id. at 1178-79.

       A holding only applies to those circumstances before the court issuing the

opinion; the nostrum that the Ninth Circuit held in Rice that a jury instruction on

the inverse ratio rule is only proper when high access is present—when there was no

evidence of access present in Rice and the case was dismissed at summary

judgment—is a borderline frivolous position.

       The failure to give an inverse ratio instruction in this case prevented the jury

from properly conducting the substantial similarity comparison. When there is a


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dispute of fact on access and substantial similarity, this is an appropriate jury

instruction. Either on an individual basis, or in combination with the other incorrect

or omitted jury instructions, the failure to give this instruction constituted highly

prejudicial reversible error.

6.    Plaintiff Explicitly Complied with Central District L.R. 51, the Prescribed
      Method for Preserving Exceptions to Jury Instructions, and the Trial
      Court Acknowledged that All Exceptions and Objections were Preserved;
      Defendants’ Argument that Plaintiff Waived these Objections are
      Disingenuous
      Defendants have generally claimed that Plaintiff failed to preserve claims of

error for several erroneous or omitted jury instructions. Def. Brief at p.63-64 (stating

that Plaintiff is attempting to “sandbag” the trial court). Plaintiff addresses the

general waiver argument by Defendants in this section, and then addresses the

specific claims of waiver in the following sections.

      Defendants claim that Plaintiff was required to lodge an oral objection to these

instructions after the Court finalized the instructions—even though Plaintiff had

lodged written objections and proposed instructions. Excerpt 1898-1982, 1983-2063.

In doing so, Plaintiff followed the exact instructions provided by the Central District

of California in L.R. 51 to comply with FRCP 51 “preserving a claim or error,” and

also the Court’s oral instructions at trial.9


 9
   The district court local rules require that the parties confer before submitting
 jury instructions. See L.R. 51-1. The parties came up with a list of joint jury
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      First, Plaintiff served and filed his proposed jury instructions (Excerpts 1898-

1982) and written objections to Defendants’ proposed instructions (Excerpts 1983-

2062) pursuant to L.R. 51-1 and L.R. 51-5. This method for preserving claims of

error, provided for by the Central District of California Local Rules, is well known

by defense counsel.

      Second, the District Court made it explicitly clear when orally delivering the

instructions to the parties on the record that it had considered all proposed

instructions and objections and that it would not entertain any oral argument or

objections:

              THE COURT: Counsel, I'm going to be talking about the
              instructions that the Court is going to be giving, and a little
              preparation on this so that you'll understand. This is not to
              discuss with counsel what instructions are going to be given
              and which aren't. Both sides have fully briefed this on the
              instructions, their objections, their replies, et cetera, that I
              am confident that I can just come out and give the

 instructions they agreed on. For those instructions that the parties did not agree
 on, Plaintiff submitted proposed jury instructions and Defendants submitted
 objections pursuant to L.R. 51-1 (stating “each party shall submit separately those
 proposed instructions as to which all parties do not agree”). Excerpt 1898-1982.
 Pursuant to L.R. 51-1 and 5, Defendants also submitted proposed instructions and
 Plaintiff submitted objections. Excerpt 1898-1982, 1983-2063. The objections
 submitted by Plaintiff were submitted pursuant to L.R. 51-5, which states
 “Objections shall be filed and served on or before the first day of trial unless the
 Court permits oral objections.” L.R. 51 specifically provides that the submission
 of proposed instructions and written objections is the correct process for
 “preserving a claim of error.” Moreover, the court did not allow oral objections.
 Excerpt 1284-85.
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             instructions, but I want to let you know what they are so you can
             use them in your [closing] argument.
See Excerpt 1284-85 (emphasis added). How can Defendants make such a plainly

disingenuous waiver argument to this Circuit? They know for a fact that the Court

had assured the parties on the record that it would not allow oral objections, that

there was no waiver, and that the Court had fully considered the written L.R. 51

documents.

      There was plainly no waiver because Plaintiff explicitly complied with the

Court’s instructions for preserving errors; such a claim is belied by the record.

7.    Plaintiff Did Not Waive Any Claim of Error Regarding the Court’s
      Failure to Instruct the Jury that Combinations and Arrangements of
      Musical Elements are Copyrightable; This Erroneous Omission was
      Highly Prejudicial
      Defendants claim in their response brief that Plaintiff never preserved a claim

of error that the Court should have instructed the jury that combinations of

unprotectable musical elements are themselves protectable. Def. Brief, at p.30-31,

63. Defendants’ argument is false and is designed to mislead this Circuit.

      Plaintiff made this argument to the Court repeatedly in his proposed

instructions (and also objections to Defendants’ instructions):

                          PLT. JURY INSTRUCTION NO. 35
                    SUBSTANTIAL SIMILARITY (MODIFIED)
             ....

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              The first test is an objective one called the extrinsic test. Here,
              the analyses and conclusions of the expert witnesses may be of
              assistance to you. There is no uniform set of factors for you to
              analyze. Music is not capable of ready classification into only five
              or six constituent elements; music is comprised of a large array
              of elements, some combination of which is protectable by
              copyright. A combination of individually otherwise
              unprotected elements can be infringed upon. . . . There is no
              one magical combination of these factors that will automatically
              substantiate a musical infringement suit; each allegation of
              infringement will be unique. So long as Plaintiff can demonstrate,
              through expert testimony that addresses some or all of these
              copyrighted elements and supports its employment of them, that
              the similarity is substantial and to protected elements of the
              copyrighted work, the objective test is satisfied.
See, e.g., Excerpt 1956-57 (emphases added); see also Excerpts 1948, 1961, 1963,

1968 (“Plt. Jury Instruction No. 38 Combination of Unprotectable Elements”),

1970, 1973,

      As Plaintiff’s opening brief observed, Defendants had actually also requested

a similar instruction on combinations of unprotectable elements, see Excerpt 2032.10

Plaintiff objected to Defendants’ proposed instruction because it did not go far

enough in describing the protectability of combinations of musical elements as

delineated by Swirsky v. Carey, 376 F.3d 841, 849 (9th Cir. 2004). See Excerpt 2033.

      Defendants replied to the objection and agreed with Plaintiff that “since



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  The correct description was included in Plaintiff’s proposed instruction at Excerpt
1956-57). Thus, Plaintiff made doubly sure in both his proposed instructions and in
his objections that the Court was well aware of his position.
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plaintiff relies on selection and arrangement it is crucial that the jury be

instructed” on the protectability of combinations of musical elements (albeit with

Defendants’ defective version). See Excerpt 2034. Yet, Defendants now

disingenuously argue in their brief that “Skidmore Neither Claimed nor Presented

Evidence of a Copyrightable Selection and Arrangement.” Def. Brief, at p.64.

      Moreover, the failure to give this instruction was harmful, reversible error.

This instruction provides the conceptual basis for a jury to determine what

expression is protected and what is not protected. All music is an arrangement of

protected and unprotected elements which, in combination, can be protected.

Swirsky, supra. Without this instruction, the jury cannot even begin making the

predicate determination about what constitutes protected expression before then

conducting the extrinsic substantial similarity comparison to determine if protected

expression was copied. The Court’s instruction not only failed to tell the jury how to

do its job, but it also implicitly told the jury that combinations of elements are not

protectable thereby negating much Plaintiff’s expert’s testimony.

      Defendants’ response brief repeatedly claims that Plaintiff introduced no

evidence that protectable combinations and arrangements were copied, but this

conclusory assertion is wrong given that Dr. Stewart testified extensively that a

protectable arrangement in “Taurus” was copied by “Stairway to Heaven” (as


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explained in the opening brief):

             Plaintiff’s expert’s opinion were substantially based on the fact
             that the arrangement of protectable and unprotectable elements
             is afforded copyright protection. (Excerpt 748, 763, 781-82, 834-
             36). Dr. Alexander Stewart specifically opined that there were as
             a combination of five elements in “Taurus” that were
             protectable and had been copied in “Stairway to Heaven”
See Plaintiff Brief, at 58. The brief then went on to explicitly list the five elements

which comprised Dr. Stewart’s opinion.

      The Ninth Circuit states “The question, then, is whether, viewing the jury

instructions as a whole, the trial judge gave adequate instructions on each element of

the case to insure that the jury fully understood the issues.” Los Angeles Memorial

Coliseum Com'n v. NFL, 726 F. 2d 1381, 1398 (9th Cir. 1984). It is without question

that if the jury does not know how to determine what expression is protectable, and

thus does not know how to conduct the extrinsic substantial similarity test, that the

Court could not have given adequate instructions on the extrinsic substantial

similarity test—the key element in any copyright case. This error was especially

prejudicial when considered with the failure to give the inverse ratio instruction and

the erroneous definition of originality.

      The failure to give this instruction, which was requested by all parties, was

therefore reversible error both individually and in combination with the other jury

instruction errors.

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8.    The Originality Instruction Given by the Court was Inadequate, Not
      Legally Correct, and Severely Harmed Plaintiff’s Case; Plaintiff Did Not
      Waive this Objection as Defendants Erroneously Claim
      a.     Plaintiff Suffered Severe Harm Due to the Incorrect Instruction on
             Originality
      Defendants’ response brief conclusorily asserts that Plaintiff suffered no harm

from the incorrect originality instruction, but does not develop this assertion in

anyway. Def. Brief at p.70. As Plaintiff’s opening brief argued, this instruction was

highly prejudicial because originality was hotly contested during the trial. Plt. Brief,

at 59-65. For instance, Plaintiff’s experts, including Dr. Stewart, argued that Randy

Wolfe’s particular use of a descending chromatic scale in “Taurus” was original

(Excerpt 753, 786-87), while defense expert Ferrara argued that it was not because

types of descending chromatic scales appeared elsewhere in the prior art (Excerpt

963-64). Notably, no evidence was introduced by Defendants that Randy Wolfe had

copied any of the musical expression in “Taurus” from anything in the prior art.

Thus, it was undisputed as a matter of law (regardless of Ferrara’s statements) that

Randy Wolfe’s expression in “Taurus” was original because it was not copied.

      However, despite there being no facts in evidence to dispute that “Taurus”

was original uncopied expression, the Defense/Court instruction on originality

erroneously told the jury that the descending chromatic scale, as a matter of law, was

not original because types of descending chromatic scales have appeared in the prior


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art. It is hard to imagine a more direct and obvious example of prejudicial error

emanating from an incorrect jury instruction.

      The Ninth Circuit states “The question, then, is whether, viewing the jury

instructions as a whole, the trial judge gave adequate instructions on each element of

the case to insure that the jury fully understood the issues.” Los Angeles Memorial

Coliseum, 726 F. 2d at 1398. Here, the Court failed to accurately explain to the jury

when expression is “original” and “protectable,” thus preventing the jury from

accurately conducting the extrinsic test. Note that, in conjunction with the failure to

give an instruction on combination and arrangement, the court’s jury instructions

made it impossible for the jury to adequately analyze the evidence and determine

what was protectable expression in “Taurus” and what was not. The court’s errors,

moreover, always skewed toward divesting “Taurus” of protection for the

expression contained in the song, thereby heavily damaging Plaintiff’s case.

      Plainly, the errors made by failing to include an inverse ratio burden

instruction, failing to include a combination and arrangement instruction, and

misstating originality made it impossible for the jury to conduct their task correctly.

      b.     Plaintiff Did Not Waive any Objection to the Erroneous Originality
             Instruction and In Fact Explicitly Preserved that Objection in
             Writing
      Defendants’ claim of wavier is based solely on its erroneous contention that


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Plaintiff, after already submitting proposed instructions and objecting to

Defendants’ proposed instruction that was adopted by the court, was required to yet

again object orally. As noted above, Plaintiff complied with L.R. 51’s instructions on

how to preserve a claim of error for jury instructions and the District Court explicitly

stated that all written proposed instructions and objections had been considered and

that oral objections would not be permitted. See Excerpt 1284-85.

      Defendants made the following unsupported modifications to the standard

instruction: they added language which read “any elements from prior works or the

public domain are not considered original parts and not protected by copyright” and

they deleted language which read “the ‘original’ part of a work need not be new or

novel.” Excerpt 2029.

      In the written proposed instructions and objections Plaintiff asked the court

to correctly instruct the jury on originality, (Excerpt 1946), and Plaintiff also

specifically objected to Defendants’ “unsupported modifications” of the originality

instruction (which were adopted by the Court). (Excerpt 2030). As can be seen from

Plaintiff’s written objection to Defendants’ Proposed Instruction No. 28,

reproduced here in full, Plaintiff objected explicitly to the exact modification and

deletion made by Defendants and adopted by the Court:

             The modifications to this instruction are highly confusing,
             unduly prejudicial, and even contradict part of the standard

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             instruction which Defendants have struck though at the
             bottom. Namely, the contention that “any elements from
             prior works or the public domain are not considered original
             parts and not protected by copyright” would lead a jury to
             believe that parts of song that are in some way generally
             similar to prior art cannot be accorded protection. This
             narrow interpretation is, of course, not accurate. Feist
             Publications, Inc. v. Rural Telephone Service Co., Inc., 499 U.S.
             340, 345-46 (1991). All that is required is that the work cannot
             have been copied and that it has to have some minimal creativity.
             Id. The Ninth Circuit has held
                    In this circuit, the definition of originality is broad, and
                    originality means "little more than a prohibition of actual
                    copying." Three Boys, 212 F.3d at 489(quoting North Coast
                    Indus. v. Jason Maxwell, Inc., 972 F.2d 1031, 1033(9th
                    Cir.1992)).
             Swirsky v. Carey, 376 F.3d 841, 851 (9th Cir. 2004). Even then, if
             a work incorporates elements from the public domain or prior art
             and uses them uniquely in combination with other elements it
             would still be afforded protection. Swirsky, 376 F.3d at 849.
             Plaintiff’s instruction No. 32 is far more faithful to the law and
             less confusing than Defendants’ unsupportable modifications
             and should be favored.
See Excerpt 2030 (bold added). The notion that Plaintiff’s objection was not before

the Court, or that the court was sandbagged in any way, is a falsehood. Plaintiff

explicitly complied with L.R. 51 and the Court’s verbal instructions at trial.

      Defendants attempt to claim that the District Court’s language in the disputed

instruction was actually legally correct because, in their view, it is accurate to state

that: “elements from prior works or the public domain are not considered original

parts and not protected by copyright.” Def. Brief at p.69-70. But this is the whole

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point of Plaintiff’s claim of error: this is not the legal definition of originality, which

focuses only on whether the work was created independently. This addition would

leave jurors hopelessly confused about how to address musical elements used in prior

works but that were not copied. It is certain that the erroneous addition would lead

any reasonable juror to wrongly conclude that much original expression was not

protected merely because it may have appeared in the prior art.

      Compounding this error, Defendants and the court removed a key part of the

standard instruction which reads: “the ‘original’ part of a work need not be new or

novel.” Plaintiff’s objection notes that removing this sentence is unjustifiable,

especially with the erroneous addition. Defendants removed this sentence solely

because it contradicted the erroneous addition by Defendants.

      That the Court chose to give the jury this legally unsupportable modified

instruction, which directly contradicts the standard instruction on originality, is

plain reversible error.

9.     During Jury Deliberations the Jury’s Final Question was to Hear
       Plaintiff’s Audio of “Taurus”—The Court Ordered An Irrelevant
       Version of “Taurus” To Be Played, Which Seriously Prejudiced Plaintiff
       By Ending the Case; Plaintiff Specifically Objected and Did Not Waive
       this Error
       During deliberations, the jury’s final question before rendering a verdict in

favor of Defendants, was to hear: “plaintiff’s audio of ‘Taurus’ guitar.” Excerpt


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1405. During the trial Plaintiff’s guitar expert, Kevin Hanson, had played the bass

clef of “Taurus” many times and this was plainly the version being requested by the

jury. See Excerpt 738, 743, 757, 758, 1066; Trial Exhibit 527V.

      Plaintiff explicitly argued to the court that the jury obviously meant the bass

clef version which they had heard many times. (Excerpt 1405-10) (“The “Taurus”

deposit that we played over and over in court was 527V, and that was Mr. Hanson

playing the “Taurus” deposit copy bass clef, and that’s what we used in this court

as an audio exhibit through the trial and also the comparison.”). Defendants,

however, argued that the jury wanted to hear a version of the “Taurus” deposit copy

that Hanson had never addressed in his testimony at trial and that had been played

one time for a fact witness on the first day of trial for a couple of seconds. See Trial

Exhibit 525V. Plaintiff’s counsel forgot that this exhibit had even been used.

      The Court should have never let the 525V version be played, and it should

have disregarded Defendants’ arguments, because this version was not relevant to

the substantial similarity comparison or the jury’s question. Plaintiff’s expert Kevin

Hanson testified that the “Taurus” deposit copy as written would never have been

played with the treble11 and bass clef together (as on 525V), and that the bass and


11
  The bass clef was the relevant guitar melody being compared to “Stairway to
Heaven”. The treble clef was a harpsichord accompaniment never meant to be
played on guitar with the bass clef.
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treble clefs would have to be played separately as on 527V, something that was not

even disputed by Defendants’ experts. See Excerpt 753-54. The bass clef on 527V is

the guitar melody and compositional expression alleged to have been infringed by

“Stairway to Heaven”. The 527V version obscures, distorts, and confuses for the

jury the relevant guitar melody comparison at issue.

      The Court asked the jury what version it wanted to hear and disregarded one

juror stating that the jury wanted to hear the correct bass clef version, in favor of the

other juror stating it wanted to hear the other version. The Court played the

erroneous exhibit 527V. Excerpt 1411. Plaintiff did everything he could to preserve

this error, explaining repeatedly that 525V was not part of the comparison, but the

Court played the wrong version over Plaintiff’s objection. At the very least the Court

should have also played the version that Plaintiff advocated for and one juror asked

for. There was no waiver as Defendants are claiming.

      Defendants advocated for a version of “Taurus” which was not analyzed by

the experts for the jury, which did not compare the relevant guitar melody at issue,

and which is barely even possible to play on guitar in the first place. After the

incorrect version of “Taurus” was played for the jury, they immediately came back

within minutes and returned a defense verdict. The prejudice to Plaintiff’s case

caused by playing this version cannot be overstated. It effectively ended the case


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within minutes.

       Plaintiff notes that should the Court reverse the jury verdict on another basis,

this claim of error would be moot.

10.    The Ten-Hour Time Limit Placed on Plaintiff Severely Hindered His
       Ability to Prove Substantial Similarity and Abused the Court’s
       Discretion; This Objection was Explicitly Preserved and Not Waived
       Defendants attempt to claim that Plaintiff did not timely object to the time

limits imposed by the Court, Def. Brief at p.73-74, but this is a frivolous argument,

the same as Defendants’ argument that Plaintiff failed to preserve objections to the

erroneous jury instructions. The Court itself acknowledged that Plaintiff preserved

this objection at trial:

       MR. KULIK: Your Honor, just for the record, you have been very, very clear
                  and we all understand exactly what you're saying. But for the
                  record, obviously, we have to interpose our objection.
       THE COURT:          I understand.
       MR. KULIK: We don't think ten hours, including cross-examination, in a
                  case like this is fair or reasonable.
       THE COURT:   I understand that, counsel, and that position is on the
                record and I appreciate that you have to put that on the
                record.
See Excerpt 850 (emphasis added).12


12
   Defendants claim that Plaintiff should have objected at the pre-trial conference
when the time limits were first announced. However, at this point the motions in
limine were not decided, the logistics of witness availability and testimony had not
been determined, and the elements and defenses in dispute had not been finalized; it
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      Defendants further maintain that Plaintiff’s counsel—when the Court was

castigating Plaintiff’s counsel for going over the ten hour time limit—agreed that the

time limits were “fair.” Def. Brief at p.73-74. This is an absurd falsehood, devoid of

context, which ignores the Court’s explicit statement (just a minute or two before

the quote highlighted by Defendants) that the objection was in fact preserved:

             THE COURT:          And I know there is an objection and I want to give
                                 -- counsel, I want to give you the chance to put your
                                 objection on the record.
             MR. MALOFIY: The objection is that when this case opened up,
                          there was many issues to be covered because there
                          was an issue of access, which was hotly disputed.
                          There was the issue of ownership. There was also
                          the issue of the validity of the Trust, unclean hands,
                          and those issues made it absolutely necessary to
                          spend time on that, to establish that the trustee was
                          proper, that the Trust was valid, that the ownership
                          was owned by the Trust. . . . It's our position that
                          ten hours is very difficult to put on a complicated
                          case, and we're doing the best we can. . . . The case-
                          in-chief, we did get in in ten hours. I'm doing the
                          best we can.
See Excerpt 1057-59. This objection was not made in a vacuum, but followed and

built on Mr. Kulik’s objection to the Court’s time limits earlier in the trial. See




would have been impossible for Plaintiff to make an informed objection at this point
in time. Furthermore, Defendants have presented no case law to this Circuit
establishing that time limits must be objected to at a pre-trial conference. Requiring
plaintiff to object to a time limit, before being given even a moment to evaluate the
adequacy of the limit, has no basis in logic or law.
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Excerpt 850.

      The truth is that Plaintiff’s counsel was supplicating himself before the Court,

asking for any additional time to cross examine defense witnesses, so that

Defendants’ case in chief would not go in unrebutted—an alarming notion to be sure.

Thus, when the Court gave Plaintiff a meagre ten minutes to cross examine each

witness in this complicated, contested trial Plaintiff counsel’s only recourse was to

state “that’s fair” so he could get the time. However, this statement was only made

given that the Court has already acknowledged that Plaintiff had preserved his

vigorous objection to the time limits. It should be noted that the Court did not permit

Plaintiff any actual time to finish cross examining the main defense expert witness,

Dr. Ferrara, on substantial similarity. See Excerpt 1065.

      Plaintiff took great care to preserve this argument at all stages, as

acknowledged by the lower court at all stages. The complexity of this case, and what

plaintiff needed to prove, makes 10 hours of total trial time manifestly unreasonable

and the minor additional time provided inflexible. The Court’s restriction of cross

examination of Lawrence Ferrara (with whom Plaintiff was not provided with

sufficient time to cross examine), the defenses’ expert witnesses, and the categorical

summary refusal to allow expert rebuttal testimony, are particularly egregious errors

which severely harmed Plaintiff’s case.


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11.   Dr. Lawrence Ferrara’s Testimony Should Have Been Precluded for
      Failing to Disclose that He Had Been Previously Hired by Plaintiff’s
      Publisher to Compare “Taurus” and “Stairway to Heaven”
      Defendants claim that Plaintiff failed to preserve this objection to Dr.

Ferrara’s testimony because the court struck the motion for sanctions on timeliness

grounds.13 Def. Brief, at p.77.

      Again, Defendants disingenuously ignore the lower court’s own words which

make clear the objection was preserved. The lower court was very clear at trial that

the motion to preclude Dr. Ferrara’s testimony was in fact before the court and that

he was “overruling” plaintiff’s objections to Ferrara testifying and as to a negative

inference:

      THE COURT:    I don't know who the next witness will be. Let's find out.
      MR. ANDERSON: Dr. Lawrence Ferrara.
      THE COURT:    Okay. And you want what, Counsel?
      MR. MALOFIY:  We filed an extensive sanctions motion against
                    defendants and Dr. Ferrara.
      MR. ANDERSON: Your Honor --
      MR. MALOFIY:  -- for being --
      THE COURT:    Okay. Okay. Counsel, I understand, and I have your
                    motion. It's not something that should be coming in in
                    front of the jury.
      MR. MALOFIY:  I'm sorry.
      THE COURT:    And your objection is to his testifying?
13
  Plaintiff notes that the Court’s attempt to procedurally strike his initial motion for
sanctions was based on timeliness, because the motion was filed after the motion
deadline. Yet, the issues described in the motion only arose after the motion deadline
and thus it was impossible to file the motion before the deadline.
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      MR. MALOFIY:           Yes.
      THE COURT:             Overruled.
      MR. MALOFIY:           As to a negative inference.
      THE COURT:             Overruled.

See Excerpt 927.

         On the merits of the issue, it is undisputed that Dr. Ferrara previously

compared “Stairway to Heaven” and “Taurus,” a fact which was never previously

disclosed in discovery by Defendants nor was any documentation turned over

concerning this revelation—despite numerous and voluminous applicable requests.

This is a monumental and deliberate omission.

      Defendants have never produced a single piece of evidence regarding this

evaluation, involving Ferrara’s retention, consultation, or recommendations. This is

extremely troubling. Furthermore, Defendants also colluded during the litigation to

attempt to falsely change the “Taurus” copyright to revoke Plaintiff’s ownership,

and hid the fact that Dr. Ferrara had a conflict of interest as described in Plaintiff’s

appeal. See Supp. Excerpts 37-38. This attempt to falsely change the copyright, while

litigation was pending, was illegal. Id.

      Defendants attempt to argue that Ferrara stated that he gave his consultation

“by telephone” and that there are no written records, but their citation of Excerpt

1632-33 does not establish such a fact. Ferrara only stated, in vague and ambiguous

terms, that “most often” he usually only gives a preliminary analysis over the

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telephone. See Excerpt 1633. However, despite a request from Plaintiff’s counsel to

“let’s not talk about most scenarios” and instead to talk about the scenario “Before

us right now,” Ferrara did not specify his actions in this case. Id. Moreover, when

Plaintiff’s counsel pressed Ferrara if there were written communications concerning

his prior undisclosed analysis of “Taurus” and “Stairway to Heaven” he coyly

stated, “I don’t recall,” indicating that they most likely exist and were not produced.

Excerpt 1634 (Q: “Do you have any communications by and between this individual

about your analysis?” A. “No that I recall not -- I just don’t recall.”).

      Plaintiff notes that Defendants disingenuously attempt to claim that Plaintiff’s

publisher, Hollenbeck Music, never consulted Dr. Ferrara about “Stairway to

Heaven” and “Taurus,” and that instead a company named Rondor (a division of

Universal Music) did so. Def. Brief, at p.78. What Defendants omit, as is their wont

and habit, is that Hollenbeck Music had retained Universal to administer its

copyright interests, even filing documents with the copyright office concerning

“Taurus.” See Excerpts 1711-12 (copyright form stating that Universal Music is

acting as an agent for Hollenbeck Music with respect to “Taurus”).

      The bottom line is that Defendants’ expert previously analyzed the songs in

question, at the behest of Plaintiff’s publisher, but never provided or disclosed any

documents concerning this interaction. The failure to disclose this conflict of


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interest, and the failure to comply with discovery requests, is highly prejudicial and

should have resulted in sanctions against Ferrara and Defendants including Ferrara

preclusion. The fact that the Court summarily brushed aside Defendants’

unconscionable litigation tactics is reversible error.




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     Part II - Plaintiff’s Response Brief to
      Defendant’s Costs and Fees Appeal
      Defendant Warner/Chappell’s argument that the Court’s decision denying

costs and fees should be reversed is based on three meritless contentions: (1) that the

Court did not consider “whether its ruling furthered the purposes of the Copyright

Act,” (2) that Plaintiff’s lawsuit was unreasonable because the expression at issue

was allegedly in the public domain, and (3) that the Court did not give enough weight

to the allegations that Plaintiff committed litigation misconduct.

      Defendant’s conclusory arguments all fail; indeed, this appeal is plainly

frivolous and the Court did not abuse its discretion in denying costs and fees. Perfect

10, Inc. v. Giganews, Inc., 847 F.3d 657, 665 (9th Cir. 2017) (stating that district

court only abuses its discretion when decision “based on inaccurate view of the law

or a clearly erroneous finding of fact”). The trial court denied Defendant’s motion

because this was a “hard-fought” case indisputably “motivated by a desire to

recognize Randy California’s musical contribution.” Supp. Excerpt 7.

1.    Defendant Erroneously and Disingenuously Claims the Trial Court
      Failed to Consider the Purpose of the Copyright Act when Denying their
      Costs and Fees Motion
      The trial court explicitly considered the purpose of the Copyright Act in

denying Defendant’s costs and fees motion, contrary to Defendants’ argument in

this appeal.
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      A hallmark of Defendants’ waiver arguments in the substantive appeal is their

predilection for conclusorily asserting a claim of error was waived by Plaintiff, while

omitting from their brief any mention that the trial court had in fact explicitly stated

on the record that Plaintiff’s objection was preserved. This is, obviously, not

legitimate argumentation and wastes Plaintiff and this Circuit’s time.

      Defendant now continues to use such illegitimate argumentation in its costs

and fees appeal. The factors in Fogerty were explicitly created and meant to help the

trial courts evaluate whether an award of fees would advance the purposes of the

Copyright Act. See Fogerty v. Fantasy, Inc., 510 US 517, 526 (1994) (stating that

Supreme Court’s factors based upon “the policies served by the Copyright Act”).

Yet, at the very beginning of Defendant’s opening appellate brief they state:

             The District Court—without considering whether its ruling
             furthered the purposes of the Copyright Act—identified the
             following Fogerty factors: “(1) ‘the degree of success obtained on
             the claim’; (2) ‘frivolousness’; (3) ‘motivation’; (4) ‘objective
             reasonableness of factual and legal arguments’; and (5) ‘need for
             compensation and deterrence.’”
See Def. Opening Brief, at p.83 (emphasis added).

      First, this argument is invalid because, as noted, the factors in Fogerty were

explicitly created and meant to help the trial courts evaluate whether an award of

fees would advance the purposes of the Copyright Act. The district court undertook

a detailed look at the Fogerty factors, and other considerations at Defendants’

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request, yet, in its discretion, did not find that costs and fees were warranted for the

purposes of the Copyright Act.

      Second, contrary to Defendant’s argument, the trial court explicitly stated

that the entire opinion on costs and fees had taken into account the goals of the

Copyright Act:

             “Viewing ‘all the circumstances of [this] case on their own
             terms, in light of the Copyright Act’s essential goals,’ this Court
             concludes that attorney’s fees are not appropriate.”
Supp. Excerpt 7 (emphasis added) (quoting Kirtsaeng v. John Wiley & Sons, Inc.,

136 S. Ct. 1979, 1989 (2016)). Defendant’s argument that the Court’s opinion

ignored and did not consider the goals of the Copyright Act is wrong and should be

rejected.

2.    The District Court’s Opinion was Correct and Did Not Abuse Its
      Discretion
      a.     Legal Standard
      “The Supreme Court has adopted the ‘evenhanded’ approach to the award

of attorney’s fees in copyright cases.” Berkla v. Corel Corp., 302 F.3d 909, 922 (9th

Cir. 2002) (quoting Fogerty v. Fantasy, Inc., 510 US 517, 534 (1994)). “Prevailing

plaintiffs and prevailing defendants are to be treated alike, but attorney’s fees are to

be awarded to prevailing parties only as a matter of the court’s discretion.” Fogerty,

510 U.S. at 534; see also Seltzer v. Green Day, 725 F.3d 1170, 1180 (9th Cir. 1980)


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(citing Fogerty, 510 U.S. at 533) (noting that “the Supreme Court rejected the so-

called British Rule where the loser pays; rather, attorney’s fees are left up to the

discretion of the district court”).

      In exercising their discretion, “courts deciding whether to award attorney’s

fees can look to five non-exclusive factors: (1) the degree of success obtained; (2)

frivolousness; (3) motivation; (4) the objective unreasonableness of the losing

party’s factual and legal arguments; and (5) the need, in particular circumstances, to

advance considerations of compensation and deterrence.” Seltzer, 725 F.3d at 1180-

81. These five “Lieb factors” are nonexclusive.14 Fantasy, Inc. v. Fogerty, 94 F.3d

553, 558 (9th Cir. 1996). “[C]ourts may not rely on the Lieb factors if they are not

‘faithful to the purposes of the Copyright Act.’ Faithfulness to the purposes of the

Copyright Act is, therefore, the pivotal criterion.” Id. at 558. “The primary objective

of the Copyright Act is to encourage the production of original literary, artistic, and

musical expression for the good of the public.” Fogerty, 510 U.S. at 524.

       “Granting attorneys’ fees is disfavored when a plaintiff pursues an action in

good faith in an unsettled area of law and the parties have alike financial resources.”15


14
   The Lieb (or Fogerty) factors are found in Lieb v. Topstone Indus., 788 F.2d 151,
156 (3d. Cir. 1986).
15
   Defendant is a multi-billion dollar entertainment company while Plaintiff is a
charitable trust that provides what little funds it has to buy instruments for school
children.
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Perfect 10, Inc. v. Visa Int’l Ass’n, Inc., 2005 WL 2007932 at *4 (N.D. Cal. Aug. 12,

2005) (emphasis added) (citing Lotus Development Corp. v. Borland International,

140 F.3d 70, 75 (1st Cir. 1998)).

      In Seltzer, the Ninth Circuit vacated the district court’s award of fees to the

prevailing defendant where the plaintiff was not objectively unreasonable, and it was

a “close and difficult case.” 725 F.3d at 1181. Frivolousness, bad faith motivation,

and objective unreasonableness are important factors. Courts consistently award

fees where the losing party’s contentions were frivolous or objectively

unreasonable16 and deny fees where the losing party’s contentions were not frivolous

or objectively unreasonable.17

      b.     Application - The District Court’s Costs and Fees Opinion was
             Well Reasoned, Legally Correct, and Did Not Abuse Its Discretion
      The district court’s opinion was detailed and well-reasoned. There is no

reason to disturb that opinion and find that the Court abused its discretion. The

Court took into account the non-exclusive Fogerty factors, and all other factors and

considerations suggested by Defendant. Those considerations were: degree of

success, frivolousness, motivation, objective reasonableness of factual and legal


16
   See, e.g., Inhale, Inc. v. Starbuzz Tobacco, Inc., 75 F.3d 1038, 1042-43 (9th Cir.
2014) (awarding fees where the plaintiff’s claims were frivolous).
17
   See, e.g., Perfect 10, Inc. v. Ccbill LLC, 488 F.3d 1102, 1120 (9th Cir. 2007)
(affirming denial of fees where the plaintiff’s claims were not objectively
unreasonable or frivolous).
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arguments, the need for compensation and deterrence, and also alleged litigation

misconduct.

        The court found that:

              Overall, two factors (litigation misconduct and degree of success)
              swing solidly in Defendant’s direction, and a third factor (need
              for compensation) slightly favors Defendant. On the other hand,
              three factors (motivation, frivolousness, and objective
              reasonableness) weigh strongly in Plaintiff’s favor.
Court Opinion, at p.4.

        The court stated, regarding the lack of frivolousness and unreasonableness,

that:

              Plaintiff survived a motion for summary judgment, meaning that
              this Court considered the merits of the claim and determined that
              sufficient evidence existed to proceed to trial. . . . Accordingly,
              because Plaintiff’s claim was not frivolous or objectively
              unreasonable, these two factors militate against an award of
              attorney’s fees.
See Court Opinion, at p.2. Note that these two factors are arguably the most

important as they speak directly to whether the goals of the Copyright Act were

served by the litigation. The Court stated as to motivation that there was no evidence

of improper motive:

              Throughout the course of litigation, Plaintiff has maintained that
              the purpose of the lawsuit was to secure credit for Randy
              California, the author of “Taurus”, whose musical composition
              was allegedly stolen by Defendants. . . .
              Defendant, however, has failed to provide any evidence that

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               Plaintiff harbored nefarious motives in bringing this suit. . . .
               Therefore, the motivation factor weighs in favor of Plaintiff and
               militates against granting fees.
See Court Opinion at p.3 (emphasis added).

      Thus, after weighing all the considerations that it was asked to by

Defendants, the district court found that an award of fees would not be

appropriate:

               Once the media hype and tangential distractions are stripped
               away, what remains is an objectively reasonable claim
               motivated by a desire to recognize Randy California’s
               musical contribution. . . . Viewing “all the circumstances of
               [this] case on their own terms, in light of the Copyright Act’s
               essential goals,” this Court concludes that attorney’s fees are not
               appropriate. Kirtsaeng, 136 S. Ct. at 1989.
See Court Opinion at p.5.

      Defendants have raised no reason in this appeal explaining how the district

court could have possibly abused its discretion.

3.    Defendants Spuriously Argue that the Trial Court Erred Because, In
      their Mind, the Musical Expression in “Taurus” was Unprotected and
      the Lawsuit was Unreasonable; This Argument Fails Because Defendants
      Failed to Preserve this Claim of Error and are Improperly Asking this
      Circuit to Resolve a Dispute of Fact between Musical Experts
      Defendants argue in their opening brief that Plaintiff’s song, “Taurus,” only

consists of unprotected expression. Def. Brief, at p.84-86. Defendants therefore

argue that Plaintiff’s lawsuit is unreasonable and that the Court’s opinion denying

costs and fees, which found that Plaintiff’s lawsuit was reasonable, should be
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reversed. These arguments are factually and legally incorrect, fail to take into

account the novel issues of law present, and have been, in any case, waived.

      That a party lost does not, in itself, show that its claim was objectively

unreasonable. Seltzer, 725 F.3d at 1181. Rather, “a claim is objectively unreasonable

when the party advancing it ‘should have known from the outset that its chances of

success in the case were slim to none.’” Giganews, Inc., 2015 WL 1746484 at *11

(emphasis added) (quoting SOFA Entm’t, Inc. v. Dodger Prods., Inc., 709 F.3d 1273,

1280 (9th Cir. 2013)). In Seltzer, the Ninth Circuit held that the plaintiff was not

objectively unreasonable where it was a close and difficult case, and the defendant’s

transformative fair use “was far from obvious.” Id. (“There is simply no reason to

believe that Seltzer ‘should have known from the outset that [his] chance of success

in this case was slim to none[.]’”) (citing SOFA Entm’t, 709 F.3d at 1280).

             a.    The Court Properly Found that there was a Dispute of Fact
                   Between the Opposing Experts Over the Protectability of
                   “Taurus” and its Substantial Similarity to “Stairway to
                   Heaven”
      Plaintiff’s expert musicologist Dr. Alexander Stewart (and all of Plaintiff’s

experts) testified that “Taurus” consists of five elements which individually and in

combination constituted protected expression; he testified that this protected

expression was copied in “Stairway to Heaven”. See Excerpt 834-36. Dr. Stewart

also testified that the unique combination of musical elements in “Taurus” is found

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nowhere in the prior art as of 1971 except in “Taurus” and “Stairway to Heaven”.

Id. The defense expert, Dr. Lawrence, disagreed and thought that “Taurus”’s

expression was not protected.

      The district court, having evaluated Plaintiff’s expert’s and defense expert’s

contentions at summary judgment, at motions in limine, and at trial, repeatedly

rejected the defense argument that there was no triable issue of fact for the jury on

substantial similarity. The district court explicitly noted this in its opinion denying

costs and fees, observing “the jury did not determine that Plaintiff’s claim

impermissibly relied on public domain elements or performance aspects of the

musical composition.” Supp. Excerpt 4.18

      Defendant now comes to this Circuit essentially asking it to evaluate and

credit its expert Dr. Ferrara over Dr. Stewart (without even developing the

argument) on substantial similarity and whether Dr. Stewart’s opinion has merit. It

is simply not the role of an appellate court to make findings of fact such as this. This

issue was a dispute of fact for the jury, as the district court held repeatedly. There

was no abuse of discretion in the trial court finding that this lawsuit was reasonable


18
   Defendants try to claim that because summary judgment was granted for three
defendants that therefore a fee award is appropriate. Def. Brief, at p.85. The
dismissal of these three defendants does not affect the overall reasonableness of the
lawsuit or the other factors, they did not ask for costs and fees, and, in any case, such
a contention was not argued below and is waived.
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and not frivolous given there were legitimate disputes of fact on substantial

similarity.

       Defendants also ridiculously argue “as a matter of law, the jury’s verdict that

the works are not extrinsically substantially similar necessarily means it found

Skidmore’s claimed similarities are not protected expression.” See Def. Brief at

p.84. This does not make sense. The jury’s verdict did not state that Skidmore’s

claimed similarities were not protected expression; it stated that that the expression

Plaintiff claimed was copied was not similar enough under the extrinsic test

(Plaintiff, of course, contends in his appeal the Court improperly instructed the jury

on what to compare and how to perform the test).

              b. Defendants Ignore that There Were Novel Issues of Law At Play
                 Which Precluded a Finding that Plaintiff’s Lawsuit was
                 Unreasonable or Frivolous
       Defendants ignore that novel issues of law were at play which substantially

affected this case, and which warranted denying fees. “A claim is objectively

unreasonable when the party advancing it ‘should have known from the outset that

its chances of success in the case were slim to none.’” Giganews, Inc., 2015 WL

1746484 at *11 (emphasis added) (quoting SOFA, 709 F.3d at 1280).

       There is no indication whatsoever that Plaintiff should have known from the

outset that he would not prevail on substantial similarity, much less that his chances


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were slim to none. Indeed, the Court concluded in denying summary judgment that

reasonable minds could differ on the subject—even when restricting the substantial

similarity comparison to strictly the notes on the deposit transcription of “Taurus”.

See Excerpt 2144; Supp. Excerpt 4, 7.

      Plaintiff also notes that the Court’s rulings on the scope of protected

expression with respect to the deposit copy are completely novel; these holdings are

new issues that have not been significantly litigated.19 Plaintiff reasonably relied on

the Williams v. Bridgeport Music case decided in the Central District of California

in 2014, see Excerpt 2115-16, which held that it was permissible to look at the

composition contained within the recording of a song as long as it was represented

in some way in the deposit copy. See Williams v. Bridgeport Music, 13-cv-6004

(April 12, 2016) (ECF No. 554), at p.5.20 The Blurred Lines court allowed the experts

to interpret the deposit copy and create re-recordings of the composition in the

album recording; those re-recordings focused only on the protectable compositional

elements in the album recordings which were represented/embodied in the deposit




19
   Indeed, prior courts have permitted the sound recordings to be played in cases
applying the 1909 Act.
20
    Plaintiff it should be noted always made clear that his argument regard the
Williams case was made in the alternative given that his argument that the deposit
copy does not control the scope of the musical composition under the 1909 Act was
denied.
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copy (excluding performance elements). Id. These re-recordings were admissible in

the Williams case and resulted in a verdict for the claimant. It should be noted that

Plaintiff tried to introduce such re-recordings in this case but they were ruled

inadmissible.

      The lower court did not agree with the Williams court, and instead restricted

the comparison to solely the exact notes in the deposit copy of “Taurus.” Excerpt

734-35. The lower court’s ruling was the only time in history that a court has

precluded recordings of the song at issue from being played in music copyright

infringement case. Indeed, Plaintiff’s substantive appeal argues this limitation is

plain reversible error.

      Setting aside Plaintiff’s disagreement with that ruling, there was no way for

Plaintiff to know that this would be the ruling of the Court on that critical issue when

this suit was filed. SOFA Entm’t., 709 F.3d at 1280 (stating objective

unreasonableness is determined if a party knew that at the “outset that its chances

of success in the case were slim to none”).

      Plaintiff also had no way of knowing that the Court would select the jury

instructions that it did, which had a large effect on the outcome of the case. The

Court, for instance, completely excluded any instruction on the inverse ratio rule, on

the protectability of combinations and arrangements of musical elements, and


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misdefined originality. See Plaintiff Brief, at p.53, 55, 59 [incorporated here by

reference]

      Defendants’ claims of frivolousness and objective unreasonableness are

baseless and use hindsight to make it seem like their prevailing in this case on

substantial similarity was inevitable. The fact of the matter is that there is nothing in

the record that shows that Plaintiff “should have known from the outset that its

chances of success in the case were slim to none.” SOFA Entm’t., 709 F.3d at 1280.

             c. Defendant     Waived     any   Reasonableness/Frivolousness
                Argument by Failing to Appeal the Underlying Rulings, Failing
                to Develop this Point in the Costs and Fees Motion, and By
                Failing to Develop this Argument in its Opening Brief
      Defendant has waived every aspect of the reasonableness and frivolousness

argument many times over.

      First, Defendant is essentially arguing that there is no evidence to support a

substantial similarity comparison, that summary judgment should have been granted

in their favor, and that therefore this lawsuit was unreasonable. Def. Brief, at p.86

(“Summary judgment should have been granted to all defendants.”). But the Court

ruled that there was a triable issue of fact on substantial similarity and rejected their

summary judgment motion. See generally Excerpt 117.

      Because Defendant never appealed that summary judgment order, it is law of

the case and cannot be disputed here. FRAP 3(c)(1)(B) (requiring that a notice of

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appeal “designate the judgment, order, or part therefore being appealed”). The

notice of appeal only states:

             PLEASE TAKE NOTICE that defendant Warner/Chappell
             Music, Inc., hereby appeals to the United States Court of
             Appeals for the Ninth Circuit from the Order (Document 312)
             entered in this action on August 8, 2016, denying defendant
             Warner/Chappell Music, Inc.’s Motion for Award of
             Attorneys’ Fees and Motion for Award of Additional Costs.
             A copy of the foregoing Order and the Representation Statement
             required by Circuit Rule 3-2 are attached to this Notice of
             Appeal.
See Def. Notice of Appeal (first emphasis in original); see also Smith v. Barry, 502

U.S. 244, 248, 112 S.Ct. 678, 116 L.Ed.2d 678 (1992) (notice afforded by a document

determines the document’s sufficiency as a notice of appeal).

      Defendant also failed to even raise in their costs and fees motion in the lower

court that the summary judgment order was erroneous, which is a waiver of the issue.

Chambers v. Mississippi, 410 US 284, 304 (1973) (stating “questions not raised in

the trial court cannot be raised for the first time on appeal”).

      As the Court itself noted in its opinion denying costs and fees:

             Defendant maintains that the lawsuit was frivolous and
             objectively unreasonable from its inception because Plaintiff
             “relied on public domain material and performance elements not
             protected by the “Taurus” copyright.” (Def.’s Reply ISO Mot.
             Atty. Fees 8:10-11, ECF No. 306.) The Court disagrees. Plaintiff
             survived a motion for summary judgment, meaning that this
             Court considered the merits of the claim and determined that
             sufficient evidence existed to proceed to trial.

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Supp. Excerpt 4 (emphasis added). The Trial Court told Defendant it would have to

appeal the summary opinion and other adverse orders on this issue which are the law

of the case—even then, Defendant did not do so.

      As far as this costs and fees appeal is concerned, the summary judgment order

is final and cannot be disturbed.

      Second, Defendant waived this argument because their underlying motion for

costs and fees only conclusorily applied this unprotectability argument in a single

sentence; in addition, as noted above, that motion did not challenge the summary

judgment and trial orders of the district court. See Def. Fees Brief at p.13-14;

Kensington Rock Island Ltd. Partnership v. American Eagle Historic Partners, 921

F.2d 122, 124-25, n. 1 (7th Cir.1990) (holding that “[a]rguments raised in the District

Court in a ‘perfunctory and underdeveloped ... manner' are waived on appeal,"

where the party’s "argument to the District Court on this issue consisted of a single,

poorly worded statement"”).

      Defendant cannot now argue the district court failed to take into account

arguments that Defendants never properly raised below. Chambers, 410 US at 304

(stating “questions not raised in the trial court cannot be raised for the first time on

appeal”).

      Third, this argument was further waived because Defendant’s opening brief


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fails to develop its argument on unprotectability and why, exactly, the court’s

summary judgment opinion was wrong. Smith v. Marsh, 194 F.3d 1045, 1052 (9th

Cir. 1999) ("[O]n appeal, arguments not raised by a party in its opening brief are

deemed waived.").

      By claiming that Plaintiff’s expert’s opinion was unreasonable and frivolous,

yet failing to actually develop why, Defendant has waived the issue.

4.    Defendant’s Litigation Misconduct Argument Does Not Make Sense

      Defendant bases a large part of its fee request, and appeal, on alleged litigation

misconduct that they think Plaintiff committed. Plaintiff denies that any litigation

misconduct occurred and also notes that Plaintiff himself was in any case blameless

as Defendants made the accusations against his attorneys, not him. Plaintiff refers

this Circuit to his brief opposing costs and fees which details his side of the story.

See Supp. Excerpts 38-44. Plaintiff notes that no sanctions were ordered, and that

Defendants acted in a thoroughly underhanded manner which far eclipsed anything

they accused Plaintiff’s counsel of.21




21
  Plaintiff refers this Circuit to his underlying brief opposing the costs and fees
motion where he details how Defendants frivolously contested access and
ownership. See Supp. Excerpts 29-33. Furthermore, Defendants also colluded
during the litigation to attempt to falsely change the “Taurus” copyright to revoke
Plaintiff’s ownership, and hid the fact that Dr. Ferrara had a conflict of interest as
described in Plaintiff’s appeal. See Supp. Excerpts 37-38. The district court did not
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      However, crucially, the district court counted this factor in Defendant’s favor,

but still found against awarding costs and fees. In light of the fact that the Court duly

considered everything placed before it by Defendant, there is simply no reason to

believe that any abuse of discretion took place on the part of the trial judge.

      Defendant, lacking any real basis for an appeal on this issue, complains that

the trial judge treated “litigation misconduct” as a “sixth Fogerty factor,” when

according to Defendants it should have somehow been considered as an

“independent basis.” See Def. Brief, at p.89.

      However, Defendant cites no case law to support their confusing position and

its argument in fact contradicts the Kirtsaeng case they rely on. The Supreme Court

has held that the five Fogerty Factors are non-exclusive guidelines and that a trial

court has “broad discretion” to “take into account a range of considerations.”

Kirtsaeng, 136 S. Ct. at 1985, 1988-89. One of those considerations is litigation

misconduct:

              For example, a court may order fee-shifting because of a party's
              litigation misconduct, whatever the reasonableness of his claims
              or defenses. See, e.g., Viva Video, Inc. v. Cabrera, 9 Fed.Appx.
              77, 80 (C.A.2 2001). . . . Although objective reasonableness
              carries significant weight, courts must view all the
              circumstances of a case on their own terms, in light of the
              Copyright Act's essential goals.

mention or consider this evidence in denying the fees, although it is further support
for denial of fees.
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Id. at 1988-89 (emphasis added).

      Contrary to Defendant’s position, the Supreme Court could not have been

clearer in Kirtsaeng that the considerations in Fogerty, including alleged

misconduct, are to be considered in relation to each other “in light of the Copyright

Act’s essential goals.” Id. at 1989. Moreover, “There is no precise rule or formula

for making these determinations, but instead equitable discretion should be exercised

in light of the considerations we have identified.” See Fogerty, 510 US at 534

(quotation marks omitted). No one consideration is to be dispositive, contrary to

Defendant’s argument. Defendant’s position, that the district court somehow

erroneously evaluated litigation misconduct under Kirtsaeng by evaluating all the

considerations, is baseless.

      Moreover, even if the alleged misconduct had been somehow been considered

incorrectly, Defendant does not establish or explain how such an alleged error would

have changed the Court’s cost and fees decision. Defendant’s failure to establish

harmful error constitutes a waiver of this critical issue. See Chaidez v. US, 133 S. Ct.

1103, 1108 (2013) (stating failure to allege or establish prejudice requires denial of

appeal); Monotype Corp. PLC v. Int’l Typeface Corp., 43 F.3d 443, 451 (9th Cir.

1994) (stating that litigant must establish that lower decision harmed it); FRCP 61.




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                               Conclusion

      For the foregoing reasons, Plaintiff-Appellant respectfully requests that this

Honorable Court reverse and vacate the judgment, and remand for a new trial; and

also strike the judgment for the bill of costs. The issues complained of, both when

considered individually, and as a whole, demonstrate that there were many serious

errors that unduly prejudiced Plaintiff’s ability to prove substantial similarity.

Plaintiff-Appellee also respectfully requests that the cost and fees appeal by

Defendant Warner/Chappell be denied as moot if Plaintiff’s appeal is successful—

or that the appeal be denied as meritless.

                                        *****
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           Statement of Related Cases

There is one related case:

 In Williams v. Bridgeport Music, (15-56880, 16-55089, 16-55626) there

   are many of the same legal issues in dispute concerning the admissibility

   of sound recordings and their compositions as it relates to the deposit

   copy requirement of the 1909 Act.




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           Statement of Length Compliance

See attached form.




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                           Certificate of Service

       I hereby certify that a true and correct copy of the foregoing Appellant’s Combined
Reply Brief and Opening Brief Responding to Defendant’s Costs and Fees
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                                                  *****



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